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               Structured Data File
             HIGHLY CONFIDENTIAL
TYSON FRESH MEATS
BOXED PORK (DIV 31) AND PORK VARIETY MEATS (DIV 32)
                                                                                                    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 3 of 10
INCLUDES BOTH ORIGINAL BILLING AND CREDIT AND REBILLS
FISCAL 2015 ‐ YTD F2022 THRU APRIL
WEIGHT (LBS) AND FOB $$
         FOB $$ ARE THE GROSS INVOICED DOLLARS LESS ACCRUALS AND REBATES AND LESS EXPENSED FREIGHT (NOT THE REVENUE RATE THAT WE CHARGED THE CUSTOMER BUT THE ACTUAL EXPENSED FREIGHT)
Boxed Pork and Pork variety meats 2005 ‐ ytd 2022 export vs domestic sales

                                          PRIMAL GROUP       Values
                                          BELLIES                                      HAMS                                JOWLS                             LOINS                               MISC                                PICNICS                              RIBS                                 SHOULDER                              VMEATS                              Total WEIGHT                   Total FOB $$              Total FOB_PRICE
YEAR     GROUP          EXPCOUNTRYNAME    WEIGHT             FOB $$         FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT FOB $$           FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE    WEIGHT      FOB $$       FOB_PRICE
   2005 DOMESTIC        #N/A                     462,451,986 $444,378,623       $96.09 574,602,183 $552,600,352     $96.17 24,389,398 $9,426,343      $38.65 399,101,132 $638,972,273    $160.10 543,479,277 $243,257,266     $44.76 202,103,178 $172,774,254      $85.49 136,503,178 $196,350,448     $143.84 237,611,743 $225,041,095       $94.71 213,630,056 $48,345,313      $22.63                2,793,872,130            $2,531,145,968             $90.60
         DOMESTIC Total                          462,451,986 $444,378,623       $96.09 574,602,183 $552,600,352     $96.17 24,389,398 $9,426,343      $38.65 399,101,132 $638,972,273    $160.10 543,479,277 $243,257,266     $44.76 202,103,178 $172,774,254      $85.49 136,503,178 $196,350,448     $143.84 237,611,743 $225,041,095       $94.71 213,630,056 $48,345,313      $22.63                2,793,872,130            $2,531,145,968             $90.60
           EXPORT       AUSTRALIA                                                          209,223     $279,767    $133.72                                                                                                                                                                                                                                                                                    209,223                  $279,767            $133.72
                        CANADA                     2,133,578     $2,346,216    $109.97 8,162,328 $7,987,241         $97.85                                    26,650,385 $47,868,291     $179.62     501,623     $266,194     $53.07 1,166,835 $1,141,635          $97.84 2,676,118 $5,316,889         $198.68     201,206     $193,342       $96.09 5,962,609 $2,480,064         $41.59                   47,454,682               $67,599,873            $142.45
                        CHINA                            629           ‐$46     ‐$7.37                                                                             7,622      $10,561    $138.55 12,639,809 $3,638,935        $28.79                                                                                10,974      $11,483      $104.64 30,341,499 $19,205,935       $63.30                   43,000,533               $22,866,868             $53.18
                        DOMINICAN REP                123,752       $108,988     $88.07                                                                                                                                                                                                                                                                                                                        123,752                  $108,988             $88.07
                        EL SALVADOR                                                         40,320      $24,998     $62.00                                                                                                                                                                                                                                                                                     40,320                   $24,998             $62.00
                        GUAM                          13,807        $41,883    $303.35      13,302      $13,542    $101.81                                       167,455     $204,898    $122.36                                           29,231      $24,791     $84.81      135,644     $170,047    $125.36      49,726      $49,889      $100.33                                                          409,165                  $505,050            $123.43
                        GUATEMALA                     41,394        $38,082     $92.00                                                                                                                                                    161,220     $126,560     $78.50                                                                                                                                     202,614                  $164,643             $81.26
                        HONDURAS                                                            20,507      $13,535     $66.00     12,800      $5,760     $45.00 1,328,318       $880,832     $66.31      82,320      $53,206     $64.63                                                                                                                      40,320      $12,298     $30.50                    1,484,265                  $965,629             $65.06
                        HONG KONG                                                                                                                                177,263     $438,225    $247.22      96,960      $21,360     $22.03                                            60,491     $165,819    $274.12                                         1,156,695     $530,266     $45.84                    1,491,409                $1,155,671             $77.49
                        JAPAN                      8,585,344    $20,141,378    $234.60      72,261     $104,851    $145.10    832,841 $1,862,395     $223.62 47,237,512 $87,014,807      $184.21     163,258     $170,920    $104.69 65,536,955 $64,403,960        $98.27       86,153     $218,277    $253.36 9,860,350 $15,974,340         $162.01 6,084,807 $6,333,062        $104.08                  138,459,481              $196,223,989            $141.72
                        MEXICO                     7,666,898     $6,290,156     $82.04 148,318,567 $102,769,051     $69.29 8,999,606 $3,535,127       $39.28 2,725,597 $5,698,673        $209.08 12,550,264 $3,828,839        $30.51 13,573,944 $10,244,602        $75.47 8,760,077 $4,885,147          $55.77 1,117,415       $981,865       $87.87 26,380,318 $14,071,512       $53.34                  230,092,686              $152,304,974             $66.19
                        ROMANIA                                                          1,681,868 $1,309,718       $77.87                                                                         1,544,929 $1,103,944       $71.46                                                                                                                                                                        3,226,797                $2,413,663             $74.80
                        RUSSIA                                                             845,402     $619,911     $73.33                                                                                                                951,780     $744,308     $78.20                                                                                211,680      $73,860     $34.89                    2,008,862                $1,438,079             $71.59
                        SINGAPORE                                                                                                                                                                                                          51,960      $41,724     $80.30           60        ‐$229   ‐$381.87                                                45        ‐$357   ‐$793.58                       52,065                   $41,138             $79.01
                        SLOVENIA                                                                                                                                                                                                                                                                                                                         724,280     $264,994     $36.59                      724,280                  $264,994             $36.59
                        SOUTH KOREA                  647,947     $1,329,428    $205.18      52,585      $32,921     $62.61     40,325     $91,129    $225.99     337,117     $466,370    $138.34 3,110,280       $699,592     $22.49      563,059     $487,789     $86.63      880,891     $657,090     $74.59 6,698,568 $6,774,285          $101.13     834,060     $967,694    $116.02                   13,164,832               $11,506,299             $87.40
                        TAIWAN                                                             203,190      $38,954     $19.17     91,946    $205,264    $223.24     105,474     $156,726    $148.59 1,054,348       $363,045     $34.43 1,592,760 $1,354,584          $85.05 1,761,383        $862,677     $48.98 1,602,481 $1,280,019           $79.88 4,966,753 $3,136,327         $63.15                   11,378,335                $7,397,596             $65.01
         EXPORT Total                             19,213,349    $30,296,085    $157.68 159,619,553 $113,194,490     $70.92 9,977,518 $5,699,676       $57.13 78,736,743 $142,739,383     $181.29 31,743,791 $10,146,035       $31.96 83,627,744 $78,569,955        $93.95 14,360,818 $12,275,717        $85.48 19,540,720 $25,265,223        $129.30 76,703,066 $47,075,655       $61.37                  493,523,301              $465,262,218             $94.27
2005 Total                                       481,665,335 $474,674,708       $98.55 734,221,736 $665,794,842     $90.68 34,366,916 $15,126,018     $44.01 477,837,875 $781,711,656    $163.59 575,223,068 $253,403,302     $44.05 285,730,922 $251,344,209      $87.97 150,863,996 $208,626,165     $138.29 257,152,463 $250,306,318       $97.34 290,333,122 $95,420,968      $32.87                3,287,395,432            $2,996,408,186             $91.15
   2006 DOMESTIC        #N/A                     456,048,137 $426,434,331       $93.51 545,250,037 $486,570,476     $89.24 22,154,472 $7,044,192      $31.80 371,981,956 $555,606,587    $149.36 542,322,588 $191,050,100     $35.23 208,265,774 $149,685,221      $71.87 132,054,211 $176,216,305     $133.44 224,956,130 $204,273,364       $90.81 204,160,040 $40,508,905      $19.84                2,707,193,345            $2,237,389,481             $82.65
         DOMESTIC Total                          456,048,137 $426,434,331       $93.51 545,250,037 $486,570,476     $89.24 22,154,472 $7,044,192      $31.80 371,981,956 $555,606,587    $149.36 542,322,588 $191,050,100     $35.23 208,265,774 $149,685,221      $71.87 132,054,211 $176,216,305     $133.44 224,956,130 $204,273,364       $90.81 204,160,040 $40,508,905      $19.84                2,707,193,345            $2,237,389,481             $82.65
           EXPORT       AMERICAS                                                             3,840       $1,114     $29.00                                                                                                                 17,940       $5,202     $29.00                                                                                                                                      21,780                    $6,316             $29.00
                        AUSTRALIA                                                          210,250     $204,374     $97.21                                                                                                                                                                                                                                                                                    210,250                  $204,374             $97.21
                        BULGARIA                                                           525,000     $374,895     $71.41                                                                                                                                                                                                                                                                                    525,000                  $374,895             $71.41
                        CANADA                       767,104       $806,998    $105.20 6,330,576 $6,251,373         $98.75                                    31,304,068 $54,741,870     $174.87     414,080     $131,954     $31.87 2,812,893 $2,330,670          $82.86 3,009,622 $4,986,823         $165.70     202,484     $170,155       $84.03 7,577,700 $2,154,787         $28.44                   52,418,527               $71,574,629            $136.54
                        CHILE                                                                                                                                      8,562      $29,181    $340.81                                                                                                                                                                                                                8,562                   $29,181            $340.81
                        CHINA                                                                                                     214        $469    $218.96      39,374      $44,806    $113.80 12,100,200 $3,243,111        $26.80       41,370      $38,888     $94.00       42,192      $22,192     $52.60      14,860      $14,299       $96.22 16,268,106 $13,223,242       $81.28                   28,506,316               $16,587,006             $58.19
                        COLOMBIA                                                            13,980       $8,442     $60.39                                                                                                                                                                                          40,132      $33,068       $82.40                                                           54,112                   $41,511             $76.71
                        DOMINICAN REP                 40,060        $18,628     $46.50     108,540      $58,945     $54.31                                                                           102,000      $49,662     $48.69       50,700      $32,022     $63.16                                                                                 41,160       $7,061     $17.16                      342,460                  $166,317             $48.57
                        EL SALVADOR                                                                                            83,550     $23,913     $28.62                                                                              159,000     $100,238     $63.04                                                                                                                                     242,550                  $124,151             $51.19
                        GUAM                          17,388        $51,717    $297.43      18,561      $17,508     $94.33                                       239,424     $248,534    $103.81                                           32,335      $21,999     $68.03      202,125     $218,222    $107.96      65,850      $59,866       $90.91                                                          575,683                  $617,845            $107.32
                        GUATEMALA                     41,199        $35,019     $85.00      81,360      $42,948     $52.79                                                                                                                                                                                                                                                                                    122,559                   $77,967             $63.62
                        HAITI                                                                                                                                                                         47,970       $8,643     $18.02                                                                                                                                                                           47,970                    $8,643             $18.02
                        HONDURAS                                                           120,960      $80,640     $66.67     41,600     $12,064     $29.00 2,431,358 $1,638,255         $67.38                                                                                41,100      $29,592     $72.00                                                                                              2,635,018                $1,760,551             $66.81
                        HONG KONG                                                                                               2,083      $4,089    $196.31     186,152     $315,442    $169.45    ‐107,930     ‐$31,018     $28.74        6,660       $4,915     $73.80       70,897      $35,981     $50.75      14,690      $13,863       $94.37     304,012     $194,095     $63.84                      476,564                  $537,367            $112.76
                        JAPAN                     11,927,125    $24,548,948    $205.82      82,502      $84,644    $102.60    459,216 $1,026,229     $223.47 50,737,893 $86,111,774      $169.72 14,645,018 $13,417,942       $91.62 31,799,363 $23,690,824        $74.50       45,540     $114,921    $252.35 12,316,069 $19,175,765        $155.70 6,036,705 $4,638,818         $76.84                  128,049,432              $172,809,864            $134.96
                        MACAU                                                              235,097     $217,087     $92.34                                                                                                                                                                                                                                                                                    235,097                  $217,087             $92.34
                        MEXICO                    13,390,779     $9,806,701     $73.23 182,401,941 $116,941,772     $64.11 12,078,722 $3,665,359      $30.35 3,201,912 $4,806,557        $150.12 10,179,405 $3,109,877        $30.55 19,026,724 $11,718,885        $61.59 10,023,476 $6,143,898         $61.30     853,817     $776,090       $90.90 36,275,741 $18,077,117       $49.83                  287,432,517              $175,046,257             $60.90
                        PHILIPPINES                                                                                                                                                                                                                                                                                                                      163,430      $65,978     $40.37                      163,430                   $65,978             $40.37
                        ROMANIA                                                          1,790,558 $1,091,942       $60.98                                                                                                                                                                                                                                                                                  1,790,558                $1,091,942             $60.98
                        RUSSIA                                                           3,043,092 $2,674,164       $87.88                                                                           344,460     $198,729     $57.69      764,760     $535,526     $70.03                                                                                349,541     $516,535    $147.78                    4,501,853                $3,924,953             $87.19
                        SINGAPORE                                                                                                                                     45         ‐$57   ‐$125.78          81        ‐$122   ‐$150.79      207,000     $163,032     $78.76                                               42         ‐$68     ‐$160.79         165        ‐$526   ‐$319.06                      207,333                  $162,259             $78.26
                        SLOVENIA                                                                                                                                                                                                                                                                                                                         116,290      $44,379     $38.16                      116,290                   $44,379             $38.16
                        SOUTH KOREA                2,209,517     $4,351,235    $196.93      40,669      $41,966    $103.19                                       430,833     $440,647    $102.28 5,958,526 $1,471,248         $24.69 5,138,616 $3,548,341          $69.05      328,754     $479,787    $145.94 13,971,832 $13,022,814         $93.21     515,445     $657,450    $127.55                   28,594,192               $24,013,490             $83.98
                        TAIWAN                                                             207,960      $32,638     $15.69     52,249    $116,114    $222.23     231,926     $296,634    $127.90     749,261     $236,641     $31.58 2,722,740 $1,784,275          $65.53 1,900,207        $701,947     $36.94 1,892,338 $1,327,342           $70.14 7,128,645 $4,669,227         $65.50                   14,885,326                $9,164,820             $61.57
                        VIETNAM                                                                                                                                      139         $196    $141.06                                                                                    10          $26    $257.00          31          $55      $177.00                                                              180                      $277            $153.69
         EXPORT Total                             28,393,172    $39,619,246    $139.54 195,214,887 $128,124,452     $65.63 12,717,634 $4,848,236      $38.12 88,811,686 $148,673,839     $167.40 44,433,071 $21,836,667       $49.15 62,780,101 $43,974,817        $70.05 15,663,923 $12,733,387        $81.29 29,372,145 $34,593,250        $117.78 74,776,940 $44,248,162       $59.17                  552,163,559              $478,652,057             $86.69
2006 Total                                       484,441,309 $466,053,577       $96.20 740,464,924 $614,694,929     $83.01 34,872,106 $11,892,428     $34.10 460,793,642 $704,280,426    $152.84 586,755,659 $212,886,767     $36.28 271,045,875 $193,660,038      $71.45 147,718,134 $188,949,692     $127.91 254,328,275 $238,866,615       $93.92 278,936,980 $84,757,068      $30.39                3,259,356,904            $2,716,041,538             $83.33
   2007 DOMESTIC        #N/A                     473,295,414 $472,956,593       $99.93 581,433,301 $515,718,315     $88.70 22,098,879 $8,247,253      $37.32 372,877,428 $556,554,687    $149.26 559,051,547 $214,303,038     $38.33 208,876,123 $149,516,544      $71.58 137,775,618 $182,125,913     $132.19 239,836,082 $221,513,467       $92.36 213,159,068 $45,669,630      $21.43                2,808,403,459            $2,366,605,440             $84.27
         DOMESTIC Total                          473,295,414 $472,956,593       $99.93 581,433,301 $515,718,315     $88.70 22,098,879 $8,247,253      $37.32 372,877,428 $556,554,687    $149.26 559,051,547 $214,303,038     $38.33 208,876,123 $149,516,544      $71.58 137,775,618 $182,125,913     $132.19 239,836,082 $221,513,467       $92.36 213,159,068 $45,669,630      $21.43                2,808,403,459            $2,366,605,440             $84.27
           EXPORT       ASIA                                                                                                                                                                                                                                                                                                                             255,320      $97,860     $38.33                      255,320                   $97,860             $38.33
                        CANADA                       758,209       $819,017    $108.02 8,140,697 $8,929,445        $109.69                                    37,486,491 $65,160,879     $173.82     226,372     $112,757     $49.81 1,894,780 $1,616,238          $85.30 3,420,170 $5,555,222         $162.43     365,248     $325,440       $89.10 5,727,720 $2,185,445         $38.16                   58,019,687               $84,704,444            $145.99
                        CHINA                                                                                                                                                                     14,576,321 $5,145,018       $35.30                                            52,014      $29,284     $56.30                                        25,399,868 $17,822,775      $70.17                   40,028,203               $22,997,078             $57.45
                        DOMINICAN REP                                                                                                                                                                153,060      $92,763     $60.61                                                                                                                                                                          153,060                   $92,763             $60.61
                        GUAM                          18,653        $57,606    $308.82       6,106       $5,257     $86.10                                       253,767     $270,696    $106.67                                           29,241      $21,138     $72.29      234,352     $242,863    $103.63      80,928      $73,570       $90.91                                                          623,047                  $671,129            $107.72
                        GUATEMALA                                                           41,348      $33,208     $80.31                                        37,807      $24,196     $64.00                                                                                                                                                                                                               79,155                   $57,405             $72.52
                        HAITI                                                                                                                                                                        182,301      $36,466     $20.00                                                                                                                                                                          182,301                   $36,466             $20.00
                        HONDURAS                                                            61,200      $34,272     $56.00                                     2,198,619 $1,436,109       $65.32                                           82,320      $74,508     $90.51       39,303      $14,542     $37.00      39,997      $38,797       $97.00     466,780     $125,662     $26.92                    2,888,219                $1,723,890             $59.69
                        HONG KONG                                                           52,376      $36,471     $69.63     11,023     $24,547    $222.69     360,228     $590,885    $164.03 2,295,549       $981,897     $42.77        6,000       $5,344     $89.06 1,204,049        $540,451     $44.89      33,823      $36,811      $108.83 5,325,620 $3,613,293         $67.85                    9,288,668                $5,829,699             $62.76
                        JAPAN                     12,620,487    $23,421,270    $185.58     722,966     $970,024    $134.17    301,435    $670,370    $222.39 67,008,712 $114,208,616     $170.44 27,278,092 $26,689,238       $97.84 30,957,570 $26,085,178        $84.26       20,056      $49,686    $247.74 12,925,170 $19,445,044        $150.44 2,034,884 $2,150,454        $105.68                  153,869,370              $213,689,881            $138.88
                        KAZAKHSTAN                                                                                                                                                                                                                                                                                                                        38,000      $51,294    $134.98                       38,000                   $51,294            $134.98
                        MACAU                                                               82,362      $90,185    $109.50                                                                                                                                                      51,970      $26,944     $51.84                                                                                                134,332                  $117,129             $87.19
                        MALAYSIA                                                                                                                                                                                                                                                                                                                          49,200      $34,331     $69.78                       49,200                   $34,331             $69.78
                        MEXICO                     9,047,339     $7,435,472     $82.18 161,564,576 $101,307,960     $62.70 12,350,442 $4,676,961      $37.87 2,084,952 $3,379,831        $162.11 9,170,636 $3,532,599         $38.52 14,415,111 $8,502,340         $58.98 9,128,406 $5,350,054          $58.61 2,377,081 $2,222,750           $93.51 34,343,322 $19,279,497       $56.14                  254,481,865              $155,687,464             $61.18
                        MOLDOVA                                                                                                                                                                        1,102       $1,014     $92.00                                                                                                                                                                            1,102                    $1,014             $92.00
                        NEW ZEALAND                                                                                                                                                                                                                                                                                                                       37,423      $62,179    $166.15                       37,423                   $62,179            $166.15
                        PANAMA                                                                                                                                                                                                             82,238      $61,243     $74.47                                                                                                                                      82,238                   $61,243             $74.47
                        PHILIPPINES                                                                                                                                5,245       $3,644     $69.48                                          327,879     $294,560     $89.84                                           51,804      $47,711       $92.10                                                          384,928                  $345,915             $89.86
                        RUSSIA                                                           2,955,572 $2,217,582       $75.03                                                                                                                                                                                                                                                                                  2,955,572                $2,217,582             $75.03
                        SOUTH KOREA                1,914,651     $4,020,114    $209.97       1,970       $1,564     $79.38                                       384,350     $392,468    $102.11 3,567,594       $928,853     $26.04 1,526,282        $942,351     $61.74      222,212     $277,056    $124.68 17,471,303 $18,040,017        $103.26     657,795     $705,356    $107.23                   25,746,157               $25,307,778             $98.30
                        TAIWAN                                                                                                  2,171      $1,231     $56.68       2,214       $1,244     $56.18     360,048     $128,728     $35.75 1,246,470        $828,215     $66.44      780,342     $362,000     $46.39     751,397     $719,668       $95.78 6,424,550 $3,155,108         $49.11                    9,567,192                $5,196,193             $54.31
                        VIETNAM                                                                                                                                                                                                                                                                                                                              105        ‐$343   ‐$326.48                          105                     ‐$343           ‐$326.48
         EXPORT Total                             24,359,339    $35,753,479    $146.78 173,629,172 $113,625,969     $65.44 12,665,071 $5,373,108      $42.42 109,822,383 $185,468,568    $168.88 57,811,075 $37,649,333       $65.12 50,567,891 $38,431,115        $76.00 15,152,874 $12,448,102        $82.15 34,096,751 $40,949,809        $120.10 80,760,587 $49,282,912       $61.02                  558,865,144              $518,982,394             $92.86
2007 Total                                       497,654,753 $508,710,072      $102.22 755,062,473 $629,344,283     $83.35 34,763,950 $13,620,362     $39.18 482,699,812 $742,023,256    $153.72 616,862,622 $251,952,371     $40.84 259,444,013 $187,947,659      $72.44 152,928,493 $194,574,015     $127.23 273,932,834 $262,463,275       $95.81 293,919,654 $94,952,541      $32.31                3,367,268,603            $2,885,587,834             $85.70
   2008 DOMESTIC        UNITED STATES                                                    1,070,559     $761,636     $71.14                                                                                                                                                                                                                                                                                  1,070,559                  $761,636             $71.14
                        #N/A                     497,278,956 $437,000,163       $87.88 575,637,198 $499,945,632     $86.85 22,030,428 $9,835,107      $44.64 408,888,547 $616,412,205    $150.75 587,650,862 $248,356,353     $42.26 190,476,171 $145,319,952      $76.29 146,612,255 $185,864,431     $126.77 262,059,106 $230,846,654       $88.09 239,865,298 $55,005,175      $22.93                2,930,498,821            $2,428,585,671             $82.87
         DOMESTIC Total                          497,278,956 $437,000,163       $87.88 576,707,757 $500,707,268     $86.82 22,030,428 $9,835,107      $44.64 408,888,547 $616,412,205    $150.75 587,650,862 $248,356,353     $42.26 190,476,171 $145,319,952      $76.29 146,612,255 $185,864,431     $126.77 262,059,106 $230,846,654       $88.09 239,865,298 $55,005,175      $22.93                2,931,569,380            $2,429,347,307             $82.87
           EXPORT       ALBANIA                                                          1,032,840     $750,672     $72.68                                                                                                                 54,960      $56,214    $102.28                                                                                                                                   1,087,800                  $806,886             $74.18
                        ANGOLA                                                             ‐42,327     ‐$25,781     $60.91                                                                           678,030     $261,028     $38.50                                                                                                                                                                          635,703                  $235,246             $37.01
                        ARMENIA                                                                                                                                                                                                            54,990      $60,645    $110.28                                                                                                                                      54,990                   $60,645            $110.28
                        ASIA                                                                                                                                                                                                                                                                                                                             125,740      $74,800     $59.49                      125,740                   $74,800             $59.49
                        CAMEROON                                                                                                                                                                     105,960      $47,434     $44.77                                                                                                                                                                          105,960                   $47,434             $44.77
                        CANADA                     1,345,003     $1,476,352    $109.77 10,296,707 $11,113,686      $107.93                                    46,507,085 $80,821,745     $173.78 2,179,988       $848,456     $38.92 2,186,418 $2,014,485          $92.14 6,182,348 $8,848,739         $143.13 1,096,189       $949,526       $86.62 6,228,090 $3,613,432         $58.02                   76,021,829              $109,686,421            $144.28
                        CHILE                                                                                                                                     58,786     $160,218    $272.54                                                                                                                                                                                                               58,786                  $160,218            $272.54
                        CHINA                                                                                                                                                                      5,321,668 $2,156,380       $40.52                                                                                                                  21,528,032 $20,575,649      $95.58                   26,849,700               $22,732,029             $84.66
                        COLOMBIA                      54,413        $50,604     $93.00                                         42,000     $14,280     $34.00                                                                                                                                                                                                                                                   96,413                   $64,884             $67.30
                        DOMINICAN REP                                                       81,115      $58,130     $71.66                                        25,997      $38,575    $148.38     376,140     $283,507     $75.37        3,315       $3,838    $115.78                                            8,896       $9,325      $104.82                                                          495,463                  $393,374             $79.40
                        ECUADOR                       53,513        $42,707     $79.81                                                                                                                                                                                                                                                                                                                         53,513                   $42,707             $79.81
                        EGYPT                                                                                                                                                                                                                                                     ‐344        ‐$669    $194.48                                                                                                   ‐344                     ‐$669            $194.48
                        EL SALVADOR                                                                                                                               40,028      $38,627     $96.50                                                                                                                                                                                                               40,028                   $38,627             $96.50
                        GERMANY                                                             ‐2,171        ‐$407     $18.74                                                                                                                                                                                                                                                                                     ‐2,171                     ‐$407             $18.74
                        GUAM                          17,956        $53,149    $295.99       6,096       $5,459     $89.54                                       276,737     $267,460     $96.65                                           30,635      $22,085     $72.09      254,125     $230,340     $90.64     102,757      $86,278       $83.96                                                          688,306                  $664,771             $96.58
                        GUATEMALA                    160,900       $153,659     $95.50     209,441     $116,084     $55.43                                                                            81,540      $43,624     $53.50       40,800      $24,888     $61.00                                                                                                                                     492,681                  $338,255             $68.66
                        HONDURAS                                                                                                                                 930,816     $596,566     $64.09      81,540      $23,646     $29.00      154,530     $136,617     $88.41        8,519       $9,030    $106.00                                                                                              1,175,405                  $765,859             $65.16
                        HONG KONG                                                        1,365,853     $780,358     $57.13    105,811     $46,135     $43.60     455,993     $750,260    $164.53 34,499,720 $16,077,730       $46.60 2,338,980 $1,722,826          $73.66 2,798,506 $1,426,448          $50.97     430,470     $333,683       $77.52 20,376,335 $13,889,452       $68.16                   62,371,668               $35,026,892             $56.16
                        JAPAN                     13,279,469    $21,889,979    $164.84 1,404,484 $1,892,352        $134.74    161,375    $357,926    $221.80 59,253,350 $104,800,332     $176.87 38,561,964 $40,023,261      $103.79 46,534,929 $43,325,421        $93.10       15,081      $35,377    $234.59 13,142,564 $18,454,169        $140.42 3,870,177 $4,344,667        $112.26                  176,223,392              $235,123,484            $133.42
                        KAZAKHSTAN                                                       1,342,345 $1,213,440       $90.40                                       108,114     $164,594    $152.24     371,460     $275,470     $74.16      109,920      $83,941     $76.37                                        1,788,485 $1,565,278         $87.52                                                        3,720,324                $3,302,722             $88.78
                        MACEDONIA‐FYROM                                                    269,310     $237,028     $88.01                                        39,821      $69,228    $173.85                                           54,840      $35,385     $64.52                                                                                                                                     363,971                  $341,641             $93.87
                        MEXICO                    12,535,767    $10,212,142     $81.46 167,957,290 $108,996,826     $64.90 11,815,975 $5,065,000      $42.87 3,357,274 $5,010,553        $149.24 12,249,647 $5,390,793        $44.01 12,000,108 $7,559,083         $62.99 11,263,245 $6,950,350         $61.71 2,843,314 $2,447,765           $86.09 30,625,748 $22,099,872       $72.16                  264,648,368              $173,732,384             $65.65
                        MOLDOVA                                                            646,647     $738,319    $114.18                                                                                                                548,550     $592,752    $108.06                                                                                                                                   1,195,197                $1,331,071            $111.37
                        NEW ZEALAND                                                                                                                                                                                                        54,000      $58,999    $109.26                                                                                                                                      54,000                   $58,999            $109.26
                        PANAMA                        82,286        $80,221     $97.49                                                                                                                                                                                                                                                                                                                         82,286                   $80,221             $97.49
                        PHILIPPINES                                                                                                                                                                                                     2,878,350 $2,427,678       $84.34       51,940      $34,726     $66.86                                           208,560      $23,426     $11.23                    3,138,850                $2,485,829             $79.20
                        PUERTO RICO                                                                                                                                                                                                                                                                                 72,357      $66,495       $91.90                                                           72,357                   $66,495             $91.90
                        RUSSIA                                                          18,403,451 $18,021,769      $97.93                                     8,065,772 $12,500,154     $154.98     923,880     $823,394     $89.12 2,424,560 $2,809,598         $115.88                                        3,079,759 $3,461,412        $112.39 1,344,540 $1,362,568        $101.34                   34,241,962               $38,978,894            $113.83
                        SINGAPORE                                                            7,005       $6,628     $94.61      2,911      $5,116    $175.76     307,609     $461,628    $150.07                                          270,660     $270,625     $99.99       11,014       $7,336     $66.61     168,242     $204,576      $121.60                                                          767,441                  $955,908            $124.56
                        SOUTH KOREA                2,914,466     $5,660,320    $194.21         882         $716     $81.23                                       271,231     $275,758    $101.67 3,782,730 $1,177,746         $31.13      795,977     $489,408     $61.49 1,075,365        $577,320     $53.69 18,835,462 $16,372,789         $86.93 1,104,090 $1,523,487        $137.99                   28,780,203               $26,077,545             $90.61
                        ST. LUCIA                     26,443        $26,240     $99.23                                                                                                                                                                                                                                                                                                                         26,443                   $26,240             $99.23
                                          PRIMAL GROUP
                                          BELLIES
                                                             Values
                                                                                          HAMS
                                                                                                         CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 4 of 10
                                                                                                                            JOWLS                                    LOINS                                    MISC                                    PICNICS                                RIBS                                   SHOULDER                                  VMEATS                                   Total WEIGHT                   Total FOB $$              Total FOB_PRICE
YEAR   GROUP            EXPCOUNTRYNAME    WEIGHT             FOB $$             FOB_PRICE WEIGHT     FOB $$       FOB_PRICE WEIGHT         FOB $$          FOB_PRICE WEIGHT         FOB $$          FOB_PRICE WEIGHT         FOB $$         FOB_PRICE WEIGHT        FOB $$         FOB_PRICE WEIGHT        FOB $$         FOB_PRICE WEIGHT   FOB $$            FOB_PRICE      WEIGHT        FOB $$         FOB_PRICE
   2008 EXPORT          SURINAME                                                              14,040       $8,457    $60.23                                                                                                                                                                                                                                                                                                                  14,040                    $8,457            $60.23
                        TAIWAN                                                                                                                                                                                   1,842,983      $786,660       $42.68                                           142,830        $81,620       $57.14    924,390     $837,440          $90.59     4,949,395     $3,670,377      $74.16                      7,859,598                $5,376,097            $68.40
                        TRINIDAD                   70,704             $67,751      $95.82                                                                                                                                                                                                                                                                                                                                                    70,704                   $67,751            $95.82
                        UKRAINE                                                               213,645     $179,612     $84.07                                             53,202        $90,206       $169.56 1,207,620       $995,440         $82.43     544,080     $416,953        $76.63                                            206,576     $251,767        $121.88                                                               2,225,122                $1,933,978            $86.92
                        VIETNAM                                                               104,760      $64,674     $61.73                                                                                     310,139     $168,352         $54.28 3,139,800 $2,517,236            $80.17     161,428     $131,604        $81.53                                                                                                       3,716,127                $2,881,866            $77.55
         EXPORT Total                           30,540,921      $39,713,124       $130.03 203,311,414 $144,158,021     $70.91 12,128,072 $5,488,457           $45.25 119,751,813 $206,045,903         $172.06 102,575,009 $69,382,920          $67.64 74,220,402 $64,628,674          $87.08 21,964,055 $18,332,221          $83.46 42,699,461 $45,040,504          $105.48 90,360,707 $71,177,730            $78.77                    697,551,854              $663,967,553            $95.19
2008 Total                                     527,819,877     $476,713,287        $90.32 780,019,171 $644,865,289     $82.67 34,158,500 $15,323,564          $44.86 528,640,360 $822,458,108         $155.58 690,225,871 $317,739,273         $46.03 264,696,573 $209,948,626        $79.32 168,576,310 $204,196,653       $121.13 304,758,567 $275,887,157         $90.53 330,226,005 $126,182,904          $38.21                  3,629,121,234            $3,093,314,860            $85.24
   2009 DOMESTIC        UNITED STATES               48,984          $37,910        $77.39     635,863     $352,762     $55.48    185,554     $55,076          $29.68 1,132,932 $1,385,772             $122.32 1,038,184       $365,036         $35.16 2,297,518 $1,646,962            $71.68     647,978     $680,599       $105.03 1,913,657 $1,487,952             $77.75     374,670     $220,824          $58.94                      8,275,341                $6,232,893            $75.32
                        #N/A                   503,911,409     $422,618,467        $83.87 593,036,542 $433,894,995     $73.16 24,468,084 $7,765,300           $31.74 403,840,420 $579,689,665         $143.54 642,333,346 $218,557,040         $34.03 188,075,578 $126,351,378        $67.18 159,229,133 $184,255,371       $115.72 272,653,698 $221,103,972         $81.09 258,227,651 $73,829,148           $28.59                  3,045,775,861            $2,268,065,338            $74.47
         DOMESTIC Total                        503,960,393     $422,656,378        $83.87 593,672,405 $434,247,757     $73.15 24,653,638 $7,820,377           $31.72 404,973,352 $581,075,437         $143.48 643,371,530 $218,922,076         $34.03 190,373,096 $127,998,340        $67.24 159,877,111 $184,935,970       $115.67 274,567,356 $222,591,924         $81.07 258,602,321 $74,049,972           $28.63                  3,054,051,201            $2,274,298,231            $74.47
           EXPORT       ALBANIA                                                             1,056,120     $716,903     $67.88                                                                                                                             477,420     $443,434        $92.88                                            101,451      $85,621         $84.40                                                               1,634,991                $1,245,958            $76.21
                        ANGOLA                                                                                                                                                                                   1,829,341      $614,750       $33.60                                                                                                                                                                                     1,829,341                  $614,750            $33.60
                        ARMENIA                                                                                                                                                                                                                           111,180      $85,019        $76.47                                                                                                                                                111,180                   $85,019            $76.47
                        ASIA                                                                                                                                              57,793       $101,211       $175.13                                                                                                                                                                                                                                57,793                  $101,211           $175.13
                        BAHAMAS                                                                                                                                                                                   218,082       $122,440       $56.14                                                                                                                              42,480        $63,830     $150.26                        260,562                  $186,270            $71.49
                        BELGIUM                                                                                                                                                                                                                                                                                                                                                   159,608      $567,751      $355.72                        159,608                  $567,751           $355.72
                        CANADA                   2,014,671       $1,940,032        $96.30    9,205,502   $8,238,356    $89.49      2,000            $800      $40.00 49,002,319 $78,097,608           $159.38    1,812,002      $424,121       $23.41   2,441,963     $2,296,094      $94.03   6,040,418     $7,865,533     $130.22    425,070     $374,198          $88.03     5,383,462     $2,505,603      $46.54                     76,327,407              $101,742,345           $133.30
                        CHILE                                                                                                                                            31,699     $96,172           $303.39                                                                                                                                                                                                                                31,699                   $96,172           $303.39
                        CHINA                                                                                                                                                                                   16,745,149     $6,827,554      $40.77                                                                                                                          14,590,303 $17,988,030        $123.29                     31,335,452               $24,815,584            $79.19
                        COLOMBIA                   40,959             $25,216      $61.57                                                                                                                                                                                                                                                                                                                                                    40,959                   $25,216            $61.57
                        DOMINICAN REP                                                           88,479      $61,283    $69.26                                             77,663       $108,536       $139.75      51,960        $38,230       $73.58     80,788        $55,734       $68.99                                                                                                                                                298,890                  $263,783            $88.25
                        EL SALVADOR                                                             25,200      $16,623    $65.96                                                                                                                                                                                                                                                                                                                25,200                   $16,623            $65.96
                        GERMANY                                                                132,053      $71,493    $54.14                                            100,460       $140,785       $140.14                                                                                                                                                                                                                               232,513                  $212,278            $91.30
                        GUAM                       25,280             $74,265     $293.77        3,502       $3,607   $102.98                                            324,904       $315,903        $97.23                                             25,025     $17,375          $69.43    322,487       $281,979       $87.44    117,664      $92,789          $78.86                                                                 818,862                  $785,918            $95.98
                        GUATEMALA                                                               40,672      $21,963    $54.00                                                                                    204,900   $122,377            $59.73    121,140     $83,351          $68.81                                                                                                                                                366,712                  $227,690            $62.09
                        HONDURAS                                                                26,921      $15,357    $57.04                                         1,361,461    $922,028            $67.72                                            565,825   $472,334           $83.48      58,233       $56,661       $97.30                                                                                                       2,012,439                $1,466,379            $72.87
                        HONG KONG                  106,562          $46,355        $43.50      268,268    $172,048     $64.13    42,350       $23,121         $54.60    219,910    $455,240           $207.01 32,302,302 $12,570,572           $38.92    309,750   $260,954           $84.25   1,827,815      $993,058       $54.33    145,558    $124,562           $85.58 26,149,049 $24,218,096            $92.62                     61,371,562               $38,864,006            $63.33
                        JAPAN                   16,254,618      $27,237,953       $167.57    1,450,030   $1,461,020   $100.76   214,421      $498,832        $232.64 59,265,648 $104,173,465          $175.77 58,046,050 $60,094,613          $103.53 50,082,331 $40,892,141          $81.65      74,679       $81,437      $109.05 11,025,346 $15,425,329          $139.91 5,707,822 $7,157,820             $125.40                    202,120,944              $257,022,610           $127.16
                        KAZAKHSTAN                                                             484,084    $389,917     $80.55                                           106,881    $173,028           $161.89    823,840   $609,917            $74.03    371,760   $323,085           $86.91                                         2,122,770 $2,002,539            $94.34                                                               3,909,334                $3,498,486            $89.49
                        MACEDONIA‐FYROM                                                                                          53,500       $16,385         $30.63     13,021      $17,127          $131.54                                                                                                                                                                  105,120     $50,541            $48.08                        171,641                   $84,054            $48.97
                        MALAYSIA                                                                                                                                                                                                                                                                                                                                                53,550     $48,630            $90.81                         53,550                   $48,630            $90.81
                        MEXICO                  12,309,756       $7,550,931        $61.34 145,077,512 $80,253,966      $55.32 8,811,263 $3,061,158            $34.74    2,924,568     $3,244,266      $110.93 11,489,293       $4,700,135      $40.91   8,032,429     $4,723,970      $58.81   8,535,663     $5,384,398      $63.08   1,782,245   $1,484,195         $83.28 30,569,424 $18,748,826            $61.33                    229,532,152              $129,151,845            $56.27
                        MOLDOVA                                                              ‐322,558   ‐$414,747     $128.58                                             ‐54,371       ‐$81,192      $149.33                                                ‐600          ‐$654     $109.01                                                                                                                                               ‐377,529                 ‐$496,593           $131.54
                        NEW ZEALAND                                                                                                                                                                                                                       103,980      $107,727      $103.60                                                                                                                                                103,980                  $107,727           $103.60
                        PANAMA                     54,708             $43,271      $79.09                                                                                                                                                                                                                                                                                                                                                    54,708                   $43,271            $79.09
                        PHILIPPINES                                                             82,229     $37,002     $45.00                                             21,392        $17,856        $83.47     104,160        $80,261       $77.06   1,998,000     $1,570,321      $78.59                                             38,409      $34,080         $88.73                                                               2,244,190                $1,739,521            $77.51
                        PUERTO RICO                                                             26,787     $14,983     $55.93                                                                                                                             494,940      $382,891       $77.36                                            629,621    $492,433          $78.21       71,820        $60,629       $84.42                      1,223,168                  $950,936            $77.74
                        RUSSIA                                                              18,699,880 $14,265,213     $76.29                                           1,205,912     $1,791,015      $148.52     681,320       $442,263       $64.91   3,792,800     $3,562,277      $93.92                                          1,670,028   $1,815,280        $108.70      212,550       $107,943       $50.78                     26,262,491               $21,983,991            $83.71
                        SINGAPORE                                                              282,748   $201,224      $71.17      6,055      $14,130        $233.37        2,506         $3,395      $135.48                                             269,280      $281,827      $104.66                                             36,174      $34,582         $95.60                                                                 596,762                  $535,158            $89.68
                        SOUTH AFRICA                                                                                                                                                                               606,300      $317,175       $52.31     106,080        $64,481      $60.79                                                                                                                                                712,380                  $381,656            $53.57
                        SOUTH KOREA              1,652,701       $2,899,614       $175.45                                                                                237,405       $245,296       $103.32    1,596,820      $529,397       $33.15     801,251      $569,202       $71.04    211,844       $245,450      $115.86 17,241,438 $15,391,963           $89.27    108,000         $124,426      $115.21                     21,849,458               $20,005,348            $91.56
                        TAIWAN                       8,809           $5,054        $57.37                                         36,454      $31,550         $86.55                                             1,464,593      $860,127       $58.73   2,233,800     $1,888,491      $84.54    663,750       $277,886       $41.87    116,353   $126,673           $108.87 11,517,585        $5,228,504      $45.40                     16,041,344                $8,418,284            $52.48
                        THAILAND                                                                                                                                                                                                                                                                                                                                                76,510           $26,496      $34.63                         76,510                   $26,496            $34.63
                        UKRAINE                                                                                                                                                0             ‐$11                 300,420       $219,130       $72.94                                                                                        1      ‐$52,497 ‐$4,374,760.00                                                                 300,421                  $166,622            $55.46
                        UNKNOWN COUNTRY                                                       256,759     $124,983     $48.68                                                                                                                                                                                                                                                                                                               256,759                  $124,983            $48.68
                        URUGUAY                                                                                                                                                                                    66,000      $41,418         $62.75                                                                                                                                                                                        66,000                   $41,418            $62.75
                        VIETNAM                                                                                                                                                                                   614,970     $239,378         $38.93                                                                                                                         1,065,160     $457,942          $42.99                      1,680,130                  $697,320            $41.50
         EXPORT Total                           32,468,063      $39,822,691       $122.65 176,884,186 $105,651,194     $59.73 9,166,041 $3,645,977            $39.78 114,899,170 $189,821,728         $165.21 128,957,501 $88,853,858          $68.90 72,419,142 $58,080,052          $80.20 17,734,890 $15,186,401          $85.63 35,452,126 $37,431,748          $105.58 95,812,443 $77,355,068            $80.74                    683,793,562              $615,848,716            $90.06
2009 Total                                     536,428,456     $462,479,069        $86.21 770,556,592 $539,898,951     $70.07 33,819,679 $11,466,354          $33.90 519,872,522 $770,897,165         $148.29 772,329,031 $307,775,934         $39.85 262,792,238 $186,078,392        $70.81 177,612,001 $200,122,371       $112.67 310,019,482 $260,023,671         $83.87 354,414,764 $151,405,040          $42.72                  3,737,844,763            $2,890,146,947            $77.32
   2010 DOMESTIC        UNITED STATES              176,438         $154,183        $87.39 36,890,304 $47,326,115      $128.29    378,321    $187,557          $49.58 3,055,649 $3,598,933             $117.78 1,858,337 $1,071,360             $57.65 2,326,626 $2,025,118            $87.04 1,270,919 $1,456,886           $114.63 3,370,758 $2,791,658             $82.82 1,293,330       $987,413          $76.35                     50,620,681               $59,599,223           $117.74
                        #N/A                   489,766,599     $571,712,730       $116.73 496,544,040 $509,520,946    $102.61 21,255,792 $10,006,514          $47.08 393,616,025 $606,395,230         $154.06 608,237,556 $304,340,740         $50.04 197,120,159 $169,132,153        $85.80 149,274,884 $199,535,413       $133.67 261,002,744 $243,212,885         $93.18 295,580,847 $100,601,957          $34.04                  2,912,398,645            $2,714,458,568            $93.20
         DOMESTIC Total                        489,943,037     $571,866,913       $116.72 533,434,344 $556,847,061    $104.39 21,634,113 $10,194,071          $47.12 396,671,674 $609,994,164         $153.78 610,095,893 $305,412,100         $50.06 199,446,784 $171,157,272        $85.82 150,545,803 $200,992,299       $133.51 264,373,502 $246,004,543         $93.05 296,874,177 $101,589,370          $34.22                  2,963,019,326            $2,774,057,791            $93.62
           EXPORT       ALBANIA                                                             1,819,515 $1,286,256       $70.69     54,000     $18,360          $34.00                                                                                      321,600     $334,753       $104.09                                                                                    589,320     $553,366          $93.90                      2,784,435                $2,192,735            $78.75
                        ANGOLA                                                                                                                                                                                   4,146,510     $1,302,802      $31.42                                                                                                                                                                                     4,146,510                $1,302,802            $31.42
                        ARMENIA                                                                106,624      $90,011    $84.42                                                                                                                                                                                                                                                    161,280       $135,171       $83.81                        267,904                  $225,182            $84.05
                        AUSTRALIA                                                            5,631,625   $7,120,984   $126.45                                             469,843   $508,846          $108.30                                             763,020      $737,370       $96.64                                                                                                                                              6,864,488                $8,367,201           $121.89
                        CANADA                   5,860,679       $7,636,077       $130.29    6,483,331   $8,093,378   $124.83                                          48,518,878 $85,183,960         $175.57    6,461,015     $1,283,458      $19.86   2,612,911     $2,665,131     $102.00   3,915,307     $5,555,500     $141.89    223,013     $212,896          $95.46     6,465,855     $2,611,759      $40.39                     80,540,988              $113,242,159           $140.60
                        CHILE                                                                   55,945      $61,546   $110.01                                              11,740     $34,646         $295.12                                                                                                                                                                      54,960        $11,045      $20.10                        122,645                  $107,237            $87.44
                        CHINA                                                                                                                                                                                    5,408,568     $1,793,432      $33.16                                                                                                                           3,577,127     $4,561,019     $127.51                      8,985,695                $6,354,451            $70.72
                        COLOMBIA                  166,705         $202,946        $121.74                                          5,000       $1,509         $30.17                                                                                                                                                                                                                                                                        171,705                  $204,455           $119.07
                        COSTA RICA                                                            384,990     $336,068     $87.29                                                                                                                             39,300     $41,658         $106.00                                                                                                                                                424,290                  $377,726            $89.03
                        DOMINICAN REP                                                         139,937     $154,321    $110.28                                            407,544       $490,468       $120.35     453,960       $355,690       $78.35      7,408      $9,514         $128.44     51,005        $89,590      $175.65                                                                                                       1,059,853                $1,099,585           $103.75
                        GUAM                       17,898             $58,680     $327.85         799       $1,157    $144.74                                            337,826       $410,741       $121.58                                             27,173     $23,275          $85.66    306,996       $358,809      $116.88      92,603     $93,833         $101.33                                                                 783,295                  $946,495           $120.83
                        GUATEMALA                  81,964             $45,080      $55.00                                                                                                                                                                122,310   $130,088          $106.36                                                                                                                                                204,274                  $175,167            $85.75
                        HONDURAS                                                               142,019    $122,541     $86.28                                         1,116,264    $737,133            $66.04                                            375,390   $366,828           $97.72     302,374      $279,289       $92.37      80,552     $82,184         $102.03                                                               2,016,599                $1,587,976            $78.75
                        HONG KONG                  429,754        $173,902         $40.47      674,717    $454,577     $67.37                                           576,720 $1,051,630            $182.35 40,766,285 $16,857,583           $41.35    214,200   $230,155          $107.45   3,379,115     $2,275,452      $67.34     675,279   $643,124           $95.24 30,482,657 $26,138,226            $85.75                     77,198,726               $47,824,648            $61.95
                        JAPAN                   17,863,636      $36,299,764       $203.20    2,026,103   $2,945,336   $145.37       524        $2,249        $429.00 59,318,315 $105,031,961          $177.06 42,105,984 $44,680,713          $106.11 72,446,399 $72,749,733         $100.42      21,538        $38,537     $178.93   8,967,927 $12,439,145         $138.71 4,624,913 $5,504,887             $119.03                    207,375,339              $279,692,324           $134.87
                        KAZAKHSTAN                                                                                                                                                                                                                                                                                                    1,652,777 $1,712,263          $103.60 1,249,920 $1,098,837              $87.91                      2,902,697                $2,811,100            $96.84
                        MACEDONIA‐FYROM                                                                                                                                  332,738       $340,977       $102.48                                            105,960        $83,587       $78.89                                            217,130    $204,679          $94.27    161,280   $145,574             $90.26                        817,108                  $774,817            $94.82
                        MALAYSIA                                                                                                                                                                                                                                                                                                                                                54,000     $55,405           $102.60                         54,000                   $55,405           $102.60
                        MEXICO                  11,941,988       $9,723,215        $81.42 188,159,247 $143,465,692     $76.25 3,921,941 $1,836,168            $46.82    2,354,925     $2,771,282      $117.68 15,176,517       $5,766,894      $38.00   5,057,740     $4,448,244      $87.95   9,410,318     $7,724,012      $82.08    889,707     $811,862          $91.25 34,370,990 $22,417,009            $65.22                    271,283,373              $198,964,378            $73.34
                        MOLDOVA                                                                                                                                                                                                                                                                                                                                                212,760   $275,074            $129.29                        212,760                  $275,074           $129.29
                        NEW ZEALAND                                                           107,136     $143,348    $133.80                                                                                                                            161,910       $137,625       $85.00                                                                                                                                                269,046                  $280,973           $104.43
                        NICARAGUA                                                              94,533      $66,918     $70.79                                             19,764        $37,595       $190.22        2,440        $1,210       $49.57                                             41,408       $61,912      $149.52                                                                                                         158,145                  $167,634           $106.00
                        PANAMA                    181,721         $156,044         $85.87                                                                                                                                                                                                                                                 3,925       $3,288         $83.77                                                                 185,646                  $159,331            $85.83
                        PERU                                                                                                                                                                                                                               39,990        $44,364     $110.94                                                                                      50,820        $12,372       $24.35                         90,810                   $56,736            $62.48
                        PHILIPPINES                                                            168,348   $113,090      $67.18                                             639,609      $439,453        $68.71                                           1,172,160     $1,196,951     $102.11    158,940       $117,706       $74.06     104,039    $114,773         $110.32       51,300        $10,922       $21.29                      2,294,396                $1,992,895            $86.86
                        PUERTO RICO                                                            884,394   $571,753      $64.65                                             300,997      $352,672       $117.17                                             128,589      $132,516      $103.05    770,596      $1,018,797     $132.21   4,045,108   $3,500,817         $86.54       65,280        $68,391      $104.77                      6,194,965                $5,644,947            $91.12
                        RUSSIA                                                              26,076,502 $30,464,864    $116.83                                           3,115,154     $4,807,040      $154.31                                           4,770,420     $5,338,881     $111.92                                          2,852,657   $3,012,180        $105.59      110,520        $91,765       $83.03                     36,925,253               $43,714,731           $118.39
                        SINGAPORE                                                                                                                                           2,600          $233         $8.94                                             643,110      $670,519      $104.26    103,995        $85,283       $82.01                                                                                                         749,705                  $756,035           $100.84
                        SOUTH KOREA               262,631         $489,295        $186.31                                                                                 263,430      $320,026       $121.48    1,158,380      $334,191       $28.85     536,513       $413,767      $77.12    224,332       $275,197      $122.67 15,140,979 $13,977,462           $92.32    194,040         $187,071       $96.41                     17,780,304               $15,997,009            $89.97
                        TAIWAN                                                                258,300     $250,986     $97.17                                             158,357      $210,148       $132.71    1,697,699      $730,126       $43.01   1,554,360     $1,305,169      $83.97    826,841       $361,598       $43.73    473,621   $535,545           $113.07 10,239,044        $5,040,464      $49.23                     15,208,223                $8,434,036            $55.46
                        THAILAND                                                                                                                                                                                                                                                                                                                                               121,655           $49,110      $40.37                        121,655                   $49,110            $40.37
                        TRINIDAD                                                                                                                                                                                   18,000         $5,146       $28.59                                                                                                                                                                                        18,000                    $5,146            $28.59
                        UKRAINE                                                                                                                                                                                                                                                                                                        121,459     $101,748          $83.77                                                                 121,459                  $101,748            $83.77
                        URUGUAY                                                                                                                                                                                                                            54,300      $57,147       $105.24                                                                                                                                                 54,300                   $57,147           $105.24
                        VIETNAM                                                                                                                                            9,995      $22,754         $227.65     623,442     $328,502         $52.69                                                                                                                         1,001,959     $643,683          $64.24                      1,635,396                  $994,939            $60.84
         EXPORT Total                           36,806,974      $54,785,002       $148.84 233,214,068 $195,742,829     $83.93 3,981,465 $1,858,286            $46.67 117,954,699 $202,751,565         $171.89 118,018,800 $73,439,748          $62.23 91,154,763 $91,117,275          $99.96 19,512,765 $18,241,682          $93.49 35,540,775 $37,445,799          $105.36 93,839,680 $69,611,149            $74.18                    750,023,988              $744,993,336            $99.33
2010 Total                                     526,750,011     $626,651,915       $118.97 766,648,411 $752,589,890     $98.17 25,615,578 $12,052,357          $47.05 514,626,373 $812,745,729         $157.93 728,114,693 $378,851,848         $52.03 290,601,547 $262,274,547        $90.25 170,058,567 $219,233,981       $128.92 299,914,277 $283,450,342         $94.51 390,713,856 $171,200,519          $43.82                  3,713,043,314            $3,519,051,127            $94.78
   2011 DOMESTIC        UNITED STATES               30,826          $44,070       $142.96 14,524,199 $17,103,664      $117.76    289,115    $139,354          $48.20 1,069,835 $1,760,820             $164.59 1,599,095 $1,062,786             $66.46 1,718,662 $1,824,732           $106.17     620,022     $912,350       $147.15 1,634,162 $1,889,109            $115.60 1,170,362 $1,198,970             $102.44                     22,656,278               $25,935,854           $114.48
                        #N/A                   529,253,026     $715,617,040       $135.21 515,448,977 $580,195,396    $112.56 15,910,010 $8,765,843           $55.10 389,073,601 $676,376,674         $173.84 653,009,378 $389,973,286         $59.72 213,265,911 $224,527,998       $105.28 162,627,711 $251,314,725       $154.53 256,300,249 $300,987,918        $117.44 324,246,998 $117,294,154          $36.17                  3,059,135,862            $3,265,053,034           $106.73
         DOMESTIC Total                        529,283,852     $715,661,110       $135.21 529,973,176 $597,299,061    $112.70 16,199,125 $8,905,196           $54.97 390,143,436 $678,137,493         $173.82 654,608,473 $391,036,072         $59.74 214,984,573 $226,352,730       $105.29 163,247,733 $252,227,075       $154.51 257,934,411 $302,877,027        $117.42 325,417,360 $118,493,124          $36.41                  3,081,792,140            $3,290,988,887           $106.79
           EXPORT       ALBANIA                                                               936,873     $946,497    $101.03                                                                                                                             164,790     $186,317       $113.06                                                                                    108,000     $108,412         $100.38                      1,209,663                $1,241,226           $102.61
                        AMERICAS                     3,502             $6,128     $175.00                                                                                  3,865         $5,361       $138.72                                              20,400      $25,195       $123.51       3,370       $5,022       $149.04      38,635     $44,046         $114.00                                                                  69,771                   $85,753           $122.91
                        ANGOLA                                                                                                                                            53,984        $39,108        $72.44    1,917,330      $792,763       $41.35                                                                                                                                                                                     1,971,314                  $831,871            $42.20
                        AUSTRALIA                                                            9,369,838 $12,750,061    $136.08                                                                                                                                                                                                                                                                                                             9,369,838               $12,750,061           $136.08
                        CANADA                   2,304,572       $3,508,833       $152.26    7,440,903 $8,967,578     $120.52    40,300       $24,180         $60.00 46,702,406 $90,041,625           $192.80    4,442,908      $984,368       $22.16   1,476,008     $1,907,904     $129.26   4,051,252     $6,910,448     $170.58    469,590     $526,868         $112.20     3,333,832     $1,561,986      $46.85                     70,261,771              $114,433,789           $162.87
                        CHILE                                                                2,483,305 $2,997,857     $120.72                                                                                                                                                                     53,326        $79,873     $149.78                                                                                                       2,536,631                $3,077,730           $121.33
                        CHINA                                                                                                                                                                                   23,704,297 $13,421,568         $56.62                                                                                                                          15,699,063 $15,313,992         $97.55                     39,403,360               $28,735,560            $72.93
                        COLOMBIA                  369,404         $461,537        $124.94     163,997     $204,345    $124.60                                            630,616      $1,100,529      $174.52                                             46,080        $56,678      $123.00       5,594        $8,930      $159.63                                                ‐1,620       ‐$859         $53.00                      1,214,070                $1,831,160           $150.83
                        COSTA RICA                                                             63,945      $88,156    $137.86                                            112,377       $146,375       $130.25                                             20,490        $22,129      $108.00                                                                                       20,460      $4,092         $20.00                        217,272                  $260,752           $120.01
                        DOMINICAN REP                                                         765,186     $944,870    $123.48                                            394,984       $548,508       $138.87     432,900       $389,655       $90.01    116,410       $132,207      $113.57      56,615       $99,533      $175.81                                                                                                       1,766,095                $2,114,774           $119.74
                        ECUADOR                                                               815,698     $719,135     $88.16                                                                                                                             53,160        $56,572      $106.42                                                                                                                                                868,858                  $775,707            $89.28
                        EL SALVADOR                                                                                                                                                                                                                                                                                                      39,839     $45,953         $115.34                                                                  39,839                   $45,953           $115.34
                        GUAM                       17,801             $61,850     $347.45         244        $480     $196.79                                            345,716       $471,065       $136.26                                              42,388        $43,752   $103.22      304,893       $421,575      $138.27      67,022     $83,083         $123.96                                                                 778,065                $1,081,804           $139.04
                        GUATEMALA                  40,852             $50,740     $124.20     166,992     $139,003     $83.24                                                                                     55,590     $41,141           $74.01     188,730      $214,634    $113.73                                                                                                                                                  452,164                  $445,517            $98.53
                        HONDURAS                   20,568             $30,441     $148.00     310,808     $286,966     $92.33       ‐510        ‐$283         $55.40  2,305,164 $1,930,200             $83.73     56,640     $30,619           $54.06   1,200,073     $1,318,107   $109.84       281,088      $347,229      $123.53                                                                                                       4,173,830                $3,943,280            $94.48
                        HONG KONG                                                             909,809     $928,452    $102.05                                         1,810,361 $2,401,180            $132.64 35,227,591 $21,358,604           $60.63        ‐540        $25,138 ‐$4,655.12    4,765,662     $4,439,686      $93.16    459,659     $590,217         $128.40 23,014,115 $22,751,082            $98.86                     66,186,657               $52,494,360            $79.31
                        INDONESIA                                                                                                                                         1,053       $1,173          $111.41                                                                                        264          $385      $145.91                                                                                                           1,316                    $1,557           $118.32
                        JAPAN                   19,098,963      $46,228,205       $242.05    1,728,845   $2,480,324   $143.47    14,710       $63,107        $429.00 74,605,497 $138,481,125          $185.62 37,240,556 $51,021,728          $137.01 62,953,831 $74,857,948         $118.91      21,697        $37,761     $174.04   9,946,035 $17,358,511         $174.53     5,440,175     $6,995,256     $128.59                    211,050,308              $337,523,964           $159.93
                        KAZAKHSTAN                                                                                                                                                                                                                                                                                                    2,552,495 $3,170,923          $124.23                                                               2,552,495                $3,170,923           $124.23
                        KOSOVO                                                                                                                                                                                                                                                                                                                                                    54,000        $53,307       $98.72                         54,000                   $53,307            $98.72
                        MACEDONIA‐FYROM                                                                                                                                   95,019       $104,149       $109.61                                                                                                                                                                                                                                95,019                  $104,149           $109.61
                        MALAYSIA                                                                                                                                                                                                                                                                                                                                               214,605   $215,989            $100.64                        214,605                  $215,989           $100.64
                        MEXICO                   7,247,855       $9,532,769       $131.53 191,957,243 $159,603,023     $83.15 3,271,155 $1,530,997            $46.80    1,669,117     $2,023,746      $121.25    9,988,203     $4,859,016      $48.65   2,070,910     $2,252,668     $108.78   5,807,739     $4,476,543      $77.08    766,448     $913,240         $119.15 26,434,135 $19,323,353            $73.10                    249,212,805              $204,515,356            $82.06
                        NEW ZEALAND                                                           105,483    $124,766     $118.28                                                                                                                              51,300        $65,127     $126.95                                                                                                                                                156,783                  $189,893           $121.12
                        NICARAGUA                    7,780            $10,272     $132.05     204,184    $174,403      $85.41                                             77,022       $108,874       $141.36      21,330        $10,476       $49.11                                             95,623      $123,685      $129.35                                                                                                         405,938                  $427,711           $105.36
                        PANAMA                                                                                                                                                                                    107,220        $64,219       $59.89    106,710       $115,737      $108.46                                                                                                                                                213,930                  $179,956            $84.12
                                         PRIMAL GROUP
                                         BELLIES
                                                            Values
                                                                                          HAMS
                                                                                                           CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 5 of 10
                                                                                                                                  JOWLS                               LOINS                                   MISC                                 PICNICS                              RIBS                                 SHOULDER                              VMEATS                              Total WEIGHT                   Total FOB $$              Total FOB_PRICE
YEAR    GROUP           EXPCOUNTRYNAME   WEIGHT             FOB $$              FOB_PRICE WEIGHT         FOB $$         FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT         FOB $$         FOB_PRICE WEIGHT         FOB $$      FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE    WEIGHT      FOB $$       FOB_PRICE
                        PERU                                                                                                                                                                                                                             67,950      $74,823    $110.11                                                                                 54,000      $24,754     $45.84                      121,950                   $99,577            $81.65
                        PHILIPPINES                                                           109,777        $83,803       $76.34                                          53,984        $36,185       $67.03                                           270,660     $342,442    $126.52                                                                                                                                     434,421                  $462,430           $106.45
                        PUERTO RICO                                                           246,812       $200,023       $81.04                                         769,947       $936,954      $121.69      71,340        $37,498    $52.56 2,122,166 $2,357,968         $111.11 1,620,156 $2,347,228         $144.88 5,925,804 $6,411,377          $108.19     392,010     $399,356    $101.87                   11,148,233               $12,690,405           $113.83
                        REP OF CONGO                                                                                                                                                                              109,110        $59,476    $54.51                                                                                                                                                                          109,110                   $59,476            $54.51
                        RUSSIA                                                              34,586,705 $45,094,242        $130.38                                        6,910,286 $11,906,332        $172.30                                         9,549,749 $12,427,565     $130.13                                        4,503,030 $5,976,639        $132.72                                                       55,549,770               $75,404,778           $135.74
                        SINGAPORE                                                               52,204     $54,585        $104.56                                          175,952   $203,689         $115.76       52,350       $18,359    $35.07      517,140     $558,431    $107.98        7,764      $13,484    $173.68      39,957      $50,450      $126.26     108,000     $121,847    $112.82                      953,366                $1,020,845           $107.08
                        SOUTH KOREA             1,668,762       $3,957,009        $237.12    2,535,299 $3,529,323         $139.21                                          976,550 $1,571,296         $160.90    1,163,100      $521,985     $44.88 4,090,214 $4,823,343        $117.92      577,577     $879,215    $152.22 35,194,321 $42,485,980        $120.72     148,380     $176,186    $118.74                   46,354,204               $57,944,337           $125.00
                        TAIWAN                        985            $586          $59.48    1,246,545 $1,348,158         $108.15                                          385,391   $559,015         $145.05      584,018      $368,572    $63.11 1,541,910 $1,850,324         $120.00 1,122,417        $559,380     $49.84      62,194      $88,398      $142.13 17,868,378 $9,252,190        $51.78                   22,811,838               $14,026,623            $61.49
                        THAILAND                                                                                                                                                                                                                                                                                                                                     1,280,216     $595,436     $46.51                    1,280,216                  $595,436            $46.51
                        TRINIDAD                  48,710             $66,977      $137.50                                                                                                                          13,980         $4,995    $35.73                                                                                                                                                                           62,690                   $71,972           $114.81
                        UKRAINE                                                                                                                                           107,245       $189,046      $176.28                                                                                                                                                                                                               107,245                  $189,046           $176.28
                        URUGUAY                                                               161,578       $221,268      $136.94                                                                                                                                                                                                58,114     $60,265       $103.70                                                           219,692                  $281,532           $128.15
                        VIETNAM                                                                                                                                                50         $115        $229.58                                           158,880     $166,743     $104.95                                                                            6,478,030 $2,462,663       $38.02                     6,636,960                $2,629,522            $39.62
         EXPORT Total                          30,829,753      $63,915,346        $207.32 256,362,272 $241,887,318         $94.35 3,325,655 $1,618,002         $48.65 138,186,586 $252,805,648        $182.95 115,188,462 $93,985,041        $81.59 86,829,409 $103,881,753      $119.64 18,775,034 $20,749,978     $110.52 60,123,141 $77,805,949        $129.41 100,645,779 $79,359,043      $78.85                   810,266,091              $936,008,077           $115.52
2011 Total                                    560,113,605     $779,576,456        $139.18 786,335,448 $839,186,379        $106.72 19,524,780 $10,523,198       $53.90 528,330,022 $930,943,142        $176.20 769,796,935 $485,021,112       $63.01 301,813,983 $330,234,482     $109.42 182,022,767 $272,977,053   $149.97 318,057,552 $380,682,975      $119.69 426,063,140 $197,852,167     $46.44                 3,892,058,232            $4,226,996,965           $108.61
   2012 DOMESTIC        UNITED STATES             437,167         $624,710        $142.90 17,251,550 $18,644,838          $108.08 1,118,441     $564,564       $50.48 4,295,852 $6,212,453            $144.62 5,769,639 $2,791,559           $48.38 3,239,878 $3,181,876          $98.21 2,338,978 $3,341,561       $142.86 3,272,824 $3,669,212          $112.11 1,391,295 $1,660,988        $119.38                    39,115,624               $40,691,762           $104.03
                        #N/A                  540,871,798     $717,772,670        $132.71 476,425,685 $508,132,614        $106.66 8,654,605 $4,582,437         $52.95 404,930,412 $690,638,001        $170.56 689,585,586 $374,084,767       $54.25 215,740,274 $204,692,593      $94.88 148,075,672 $236,104,684   $159.45 253,160,713 $295,655,697      $116.79 322,312,662 $106,477,264     $33.04                 3,059,757,407            $3,138,140,727           $102.56
         DOMESTIC Total                       541,308,964     $718,397,380        $132.71 493,677,234 $526,777,452        $106.70 9,773,046 $5,147,001         $52.67 409,226,264 $696,850,454        $170.28 695,355,226 $376,876,326       $54.20 218,980,152 $207,874,469      $94.93 150,414,651 $239,446,246   $159.19 256,433,537 $299,324,909      $116.73 323,703,957 $108,138,252     $33.41                 3,098,873,031            $3,178,832,488           $102.58
           EXPORT       ALBANIA                                                             1,439,783 $1,196,208           $83.08                                                                                                                       836,714     $812,688      $97.13                                                                              646,860     $427,289     $66.06                     2,923,357                $2,436,185            $83.34
                        ANGOLA                                                                109,442     $102,897         $94.02                                                                                 108,000        $68,426     $63.36                                          105,311      $84,421    $80.16                                                                                                 322,753                  $255,744            $79.24
                        ARMENIA                                                                54,060      $46,156         $85.38                                                                                                                                                                                                                                                                                            54,060                   $46,156            $85.38
                        AUSTRALIA                                                          13,842,352 $17,948,189         $129.66                                          107,962    $157,269        $145.67                                                                                                                                                                                                            13,950,314               $18,105,457           $129.79
                        CANADA                    93,697             $89,111       $95.11 6,531,027 $7,661,506            $117.31                                       49,498,479 $95,021,998        $191.97    2,805,822      $869,047      $30.97    1,735,603   $1,884,704   $108.59   5,445,903   $9,478,271   $174.04    673,724     $791,004       $117.41    6,741,720   $3,857,192    $57.21                    73,525,975              $119,652,832           $162.74
                        CHILE                                                               2,081,431 $2,320,067          $111.46                                           49,703     $52,473        $105.57                                              29,700      $38,311   $128.99     515,533    $786,063    $152.48     29,289      $38,179       $130.36                                                         2,705,656                $3,235,093           $119.57
                        CHINA                                                                 415,797     $417,968        $100.52                                                                               34,659,922 $24,269,778        $70.02                                                                                                                15,353,760 $16,469,935    $107.27                    50,429,478               $41,157,681            $81.61
                        COLOMBIA                 154,515         $179,401         $116.11     904,552 $1,054,536          $116.58                                         362,270       $655,458      $180.93        3,960      $3,228        $81.53      25,200      $27,066    $107.40    452,998     $684,591    $151.12                                            210,840   $121,415      $57.59                     2,114,334                $2,725,697           $128.92
                        COSTA RICA                40,157          $49,393         $123.00     221,140     $287,662        $130.08                                          45,963        $56,372      $122.65                                                                                                                                                                                                               307,259                  $393,427           $128.04
                        DOMINICAN REP                                                          92,439     $112,012        $121.17                                         149,976       $235,477      $157.01                                              1,915       $1,976    $103.15      21,961     $43,116    $196.33                                                                                                 266,292                  $392,580           $147.42
                        ECUADOR                                                               754,132     $601,593         $79.77                                                                                                                                                                                                                                                                                           754,132                  $601,593            $79.77
                        EL SALVADOR                                                           163,315     $145,947         $89.37                                                                                                                                                                                                                                                                                           163,315                  $145,947            $89.37
                        GERMANY                                                                44,072      $35,787         $81.20                                          30,781        $39,799      $129.30                                                                                                                    29,062     $35,055       $120.62                                                           103,914                  $110,642           $106.47
                        GUAM                      18,004          $61,362         $340.83                                                                                 321,690       $462,830      $143.87                                            32,680     $35,902      $109.86     324,660    $481,996    $148.46      97,935   $132,355        $135.15                                                           794,969                $1,174,446           $147.73
                        GUATEMALA                198,412         $277,851         $140.04     341,801     $385,958        $112.92                                                                                183,840   $138,607           $75.40    222,660   $212,287        $95.34      11,627      $24,571   $211.34      81,381   $102,661        $126.15                                                         1,039,720                $1,141,935           $109.83
                        HONDURAS                   3,893           $4,672         $120.00     466,808     $491,204        $105.23                                      1,658,995 $1,462,074            $88.13     61,080     $49,286          $80.69    855,840   $963,458       $112.57     150,879    $205,559    $136.24      41,118     $47,781       $116.20                                                         3,238,613                $3,224,035            $99.55
                        HONG KONG                                                             771,146     $712,650         $92.41                                      1,979,802 $3,125,528           $157.87 41,844,299 $33,813,083          $80.81       ‐570       ‐$669      $117.35   7,289,698   $6,819,847    $93.55     645,250   $995,363        $154.26 22,751,686 $29,650,655      $130.32                    75,281,310               $75,116,456            $99.78
                        INDONESIA                  41,231        $118,298         $286.91                                                                                 44,721    $131,413          $293.85                                             1,020      $1,100      $107.85       9,266      $28,808   $310.89      20,774     $41,352       $199.06                                                           117,012                  $320,970           $274.30
                        JAPAN                  18,256,045      $45,054,964        $246.79 1,245,936 $1,744,754            $140.04    14,678       $62,969     $429.00 67,246,203 $127,165,373         $189.10 42,451,856 $62,315,922         $146.79 59,561,115 $68,867,833      $115.63       2,785      $23,933   $859.33   8,648,904 $16,161,439       $186.86 5,797,196 $8,610,359        $148.53                   203,224,718              $330,007,545           $162.39
                        KAZAKHSTAN                                                            491,688     $573,261        $116.59                                                                                                                                                                                             2,721,414 $3,219,342        $118.30                                                         3,213,101                $3,792,604           $118.04
                        MALAYSIA                                                                                                                                                                                                                                                                                                                                      54,210     $64,994      $119.89                        54,210                   $64,994           $119.89
                        MEXICO                  8,120,484       $9,012,199        $110.98 222,140,267 $173,905,836         $78.29   257,103      $159,172      $61.91    1,995,631     $3,089,131     $154.79 11,073,919       $6,213,498     $56.11    3,885,995   $3,501,961    $90.12   8,177,570   $5,843,163    $71.45   1,004,340   $1,116,403      $111.16 25,438,720 $21,457,057       $84.35                   282,094,030              $224,298,420            $79.51
                        NEW ZEALAND                                                           203,741    $227,680         $111.75                                                                                                                         207,960    $207,376     $99.72                                                                                                                                    411,701                  $435,057           $105.67
                        NICARAGUA                                                             322,767    $300,562          $93.12                                                                                                                                                                                                                                                                                           322,767                  $300,562            $93.12
                        PANAMA                                                                108,085    $137,079         $126.82                                                                                                                                                             10,187     $15,537    $152.52                                                                                                 118,272                  $152,616           $129.04
                        PERU                     103,074         $143,800         $139.51      96,911    $110,063         $113.57                                                                                                                                                                                                                                                                                           199,985                  $253,863           $126.94
                        PHILIPPINES                3,874           $5,173         $133.51     616,806    $695,496         $112.76                                            1,876         $2,898     $154.51      48,510        $45,828      $94.47       72,230     $70,574     $97.71      13,853      $19,818   $143.07    185,950   $194,095         $104.38      54,000      $36,926     $68.38                       997,098                $1,070,809           $107.39
                        PUERTO RICO                                                           132,449    $127,301          $96.11                                          979,191     $1,326,260     $135.44      15,300        $11,550      $75.49    3,988,604 $4,384,295     $109.92   1,030,238   $1,525,815   $148.10 6,472,067 $6,892,352          $106.49     398,550     $454,189    $113.96                    13,016,399               $14,721,762           $113.10
                        RUSSIA                                                             50,420,956 $59,870,486         $118.74                                        5,913,387     $9,335,349     $157.87                                          12,778,171 $14,420,700    $112.85      53,371      $83,871   $157.15 5,104,806 $6,297,380          $123.36                                                        74,270,691               $90,007,785           $121.19
                        SINGAPORE                                                             167,776    $109,356          $65.18                                           99,774      $144,242      $144.57                                                                                    670       $2,156   $321.74                                                                                                 268,220                  $255,753            $95.35
                        SOUTH KOREA              572,574        $1,207,831        $210.95     728,486    $886,360         $121.67                                           11,441        $25,719     $224.81     489,000       $201,204      $41.15    1,569,274   $1,848,141   $117.77     160,855    $267,539    $166.32 41,757,068 $50,662,686        $121.33     397,790     $556,900    $140.00                    45,686,488               $55,656,381           $121.82
                        SURINAME                  53,545           $45,931         $85.78                                                                                                                                                                                                                                                                                                                                    53,545                   $45,931            $85.78
                        TAIWAN                     3,622            $3,896        $107.55                                                                                  44,291        $77,806      $175.67     720,664       $453,634      $62.95     605,040     $649,077    $107.28    511,787     $340,235     $66.48      20,023     $23,308       $116.41 14,042,051     $9,512,589    $67.74                    15,947,478               $11,060,545            $69.36
                        THAILAND                                                                                                                                                                                                                                                                                                                                   5,493,417     $3,267,296    $59.48                     5,493,417                $3,267,296            $59.48
                        TRINIDAD                  53,768             $47,946       $89.17                                                                                                                                                                                                      7,395     $11,354    $153.53                                                                                                  61,163                   $59,300            $96.95
                        UKRAINE                                                                                                                                           175,421       $291,358      $166.09                                                                                                                                                                                                               175,421                  $291,358           $166.09
                        VIETNAM                                                                                                                                                                                                                                                                                                                                     5,313,388 $3,024,551       $56.92                     5,313,388                $3,024,551            $56.92
         EXPORT Total                          27,716,895      $56,301,828        $203.13 304,909,163 $272,208,573         $89.28    271,781   $222,141        $81.74 130,717,555 $242,858,828        $185.79 134,466,172 $128,453,092       $95.53 86,409,152 $97,926,781       $113.33 24,296,547 $26,770,665     $110.18 67,533,102 $86,750,756        $128.46 102,694,187 $97,511,346      $94.95                   879,014,554            $1,009,004,009           $114.79
2012 Total                                    569,025,860     $774,699,207        $136.14 798,586,398 $798,986,025        $100.05 10,044,827 $5,369,142        $53.45 539,943,819 $939,709,282        $174.04 829,821,398 $505,329,418       $60.90 305,389,304 $305,801,250     $100.13 174,711,197 $266,216,911   $152.38 323,966,639 $386,075,665      $119.17 426,398,145 $205,649,598     $48.23                 3,977,887,585            $4,187,836,497           $105.28
   2013 DOMESTIC        UNITED STATES           1,196,056       $1,923,356        $160.81 15,321,082 $15,798,348          $103.12    643,481   $337,161        $52.40 5,313,311 $7,882,319            $148.35 4,968,465 $2,409,795           $48.50 1,491,009 $1,360,805          $91.27 2,854,530 $3,794,382       $132.92 5,424,953 $5,591,690          $103.07 1,556,655 $1,919,969        $123.34                    38,769,541               $41,017,824           $105.80
                        #N/A                  524,632,128     $869,456,736        $165.73 478,146,712 $512,474,571        $107.18 6,869,049 $3,619,140         $52.69 369,993,812 $598,751,780        $161.83 640,962,143 $342,759,449       $53.48 227,422,608 $210,770,135      $92.68 146,612,510 $221,174,047   $150.86 250,060,510 $270,298,254      $108.09 310,869,489 $95,366,497      $30.68                 2,955,568,961            $3,124,670,610           $105.72
         DOMESTIC Total                       525,828,183     $871,380,092        $165.72 493,467,795 $528,272,920        $107.05 7,512,530 $3,956,301         $52.66 375,307,124 $606,634,099        $161.64 645,930,608 $345,169,245       $53.44 228,913,617 $212,130,939      $92.67 149,467,039 $224,968,429   $150.51 255,485,463 $275,889,944      $107.99 312,426,144 $97,286,465      $31.14                 2,994,338,503            $3,165,688,434           $105.72
           EXPORT       ALBANIA                                                             1,132,215     $956,274         $84.46                                                                                                                       429,600     $418,302      $97.37                                         53,889      $52,315       $97.08     755,100     $514,317     $68.11                     2,370,804                $1,941,209            $81.88
                        ANGOLA                                                                108,002     $115,853        $107.27                                                                                                                                                                                                                                                                                           108,002                  $115,853           $107.27
                        ARMENIA                                                                                                                                                                                                                           59,280      $60,474    $102.01                                                                                                                                     59,280                   $60,474           $102.01
                        AUSTRALIA                                                            9,997,001 $11,834,783        $118.38                                             353          $337        $95.61                                                150         $141     $93.73                                                                                                                                  9,997,504               $11,835,261           $118.38
                        BELIZE                    19,248             $26,354      $136.92                                                                                   1,016         $2,160      $212.63                                                                                   983       $1,353    $137.63       9,645     $10,284       $106.63                                                            30,892                   $40,151           $129.97
                        CAMEROON                                                                                                                                                                                 ‐13,680     ‐$9,309          $68.05                                                                                                                                                                        ‐13,680                   ‐$9,309            $68.05
                        CANADA                   180,020         $245,974         $136.64 11,825,765 $14,641,314          $123.81                                       49,175,337 $86,642,953        $176.19 1,366,698     $509,511          $37.28    2,588,344   $2,844,222   $109.89   5,850,259 $10,508,035    $179.62    975,057    $1,029,535      $105.59 5,543,460 $2,717,203         $49.02                    77,504,941              $119,138,747           $153.72
                        CHILE                                                              6,166,866 $7,295,716           $118.31                                          288,515   $449,805         $155.90    175,124   $101,263           $57.82    1,726,158   $1,735,863   $100.56   1,695,617 $2,472,691     $145.83     58,991       $60,593      $102.71                                                        10,111,272               $12,115,930           $119.83
                        CHINA                                                              2,800,635 $3,031,076           $108.23                                           43,334     $55,258        $127.52 45,301,548 $34,775,141          $76.76    1,237,771   $1,326,650   $107.18     171,340    $253,740    $148.09    689,596     $795,269       $115.32 28,384,110 $32,257,754      $113.65                    78,628,334               $72,494,888            $92.20
                        COLOMBIA                 839,588        $1,080,908        $128.74 3,711,068 $3,821,955            $102.99                                           95,941   $131,638         $137.21    634,369   $322,230           $50.80      474,970     $488,930   $102.94     853,810 $1,044,614     $122.35     58,617       $56,746       $96.81    738,900   $386,839        $52.35                     7,407,263                $7,333,860            $99.01
                        COSTA RICA                58,957           $77,253        $131.03 1,468,454 $1,673,654            $113.97                                           59,059     $66,533        $112.65     42,000     $29,820          $71.00      143,370     $156,984   $109.50      33,401     $64,710    $193.74                                                                                               1,805,242                $2,068,955           $114.61
                        DEM REP CONGO                                                         76,860     $44,744           $58.22                                                                                368,580   $220,956           $59.95                                                                                                                                                                        445,440                  $265,700            $59.65
                        DOMINICAN REP                                                        786,169   $906,275           $115.28                                          18,985        $27,566      $145.20 1,544,040 $1,251,233            $81.04                                          18,095     $32,544    $179.85                                                                                               2,367,288                $2,217,617            $93.68
                        ECUADOR                   51,048             $73,786      $144.54    563,727   $480,506            $85.24                                         132,315       $102,720       $77.63     ‐1,000       ‐$500          $50.00                                                                                                                                                                        746,089                  $656,512            $87.99
                        EGYPT                                                                                                                                                                                                                                                                    336       $558     $166.00                                                                                                     336                      $558           $166.00
                        EL SALVADOR                                                           742,513       $755,730      $101.78                                          87,950        $70,280       $79.91          480            $334    $69.58     166,800     $175,620    $105.29      66,445     $67,365    $101.39                                                                                               1,064,188                $1,069,330           $100.48
                        GEORGIA                                                                                                                                                                                                                           57,780      $58,330    $100.95                                                                                                                                     57,780                   $58,330           $100.95
                        GERMANY                                                                60,162        $47,953       $79.71                                          83,837       $100,670      $120.08                                                                                                                                                                                                               143,998                  $148,623           $103.21
                        GUAM                      19,028             $69,084      $363.06                                                                                 366,718       $490,419      $133.73                                              38,813      $41,351   $106.54    368,962     $513,521    $139.18    128,084     $158,832       $124.01                                                           921,606                $1,273,207           $138.15
                        GUATEMALA                 41,801             $67,718      $162.00      456,433      $468,676      $102.68                                                                                544,440   $315,775           $58.00      600,570    $595,733     $99.19                                                                              25,620      $5,553       $21.67                     1,668,864                $1,453,455            $87.09
                        HONDURAS                                                             1,230,147     $1,035,422      $84.17                                      1,255,913 $1,054,383            $83.95     39,000     $25,320          $64.92    1,086,690   $1,160,476   $106.79     538,886    $531,809     $98.69     52,642      $53,444       $101.52                                                         4,203,277                $3,860,853            $91.85
                        HONG KONG                  21,568          $40,086        $185.86      801,983      $690,193       $86.06                                      2,014,947 $2,559,476           $127.02 38,488,930 $32,746,864          $85.08                                       7,313,177   $6,036,212    $82.54    573,467     $960,005       $167.40 14,939,153 $23,426,971      $156.82                    64,153,225               $66,459,808           $103.60
                        INDONESIA                  71,614        $209,583         $292.66                                                                                 15,008      $37,476         $249.71                                               900      $1,042      $115.82                                                                                                                                     87,522                  $248,102           $283.48
                        JAPAN                  19,528,243      $52,717,683        $269.96   1,273,565 $1,881,423          $147.73    14,754       $63,293     $429.00 65,279,085 $121,045,733         $185.43 57,917,325 $76,508,433         $132.10 21,836,902 $24,849,273      $113.79        144         $208    $145.00 11,615,263 $19,772,892        $170.23 5,942,370 $9,461,554        $159.22                   183,407,649              $306,300,493           $167.01
                        KAZAKHSTAN                                                             29,139      $33,609        $115.34                                                                                                                                                                                              397,047   $434,832         $109.52                                                           426,186                  $468,441           $109.91
                        MEXICO                  6,198,815       $7,681,000        $123.91 210,067,187 $166,239,286         $79.14     33,175      $14,265      $43.00    1,987,449     $3,009,568     $151.43    8,291,976     $4,368,672     $52.69    3,855,267   $3,648,059    $94.63   8,576,631   $6,734,353    $78.52 1,308,587 $1,367,872          $104.53 20,485,208 $16,769,658       $81.86                   260,804,295              $209,832,735            $80.46
                        NEW ZEALAND                                                         1,321,773 $1,488,798          $112.64                                                                                                                                                                                                                                                                                         1,321,773                $1,488,798           $112.64
                        NICARAGUA                 11,990          $16,152         $134.71     765,772    $778,065         $101.61                                           4,987         $5,336      $107.00     169,840        $56,421      $33.22      34,980      $33,231     $95.00                                                                                                                                    987,568                  $889,205            $90.04
                        PANAMA                    53,720          $59,313         $110.41     674,114    $775,473         $115.04                                                                                  18,720        $12,752      $68.12      16,980      $16,718     $98.45                                                                                                                                    763,534                  $864,255           $113.19
                        PERU                     168,917         $253,302         $149.96     554,981    $506,119          $91.20                                                                                                                                                                                                12,866      $14,138      $109.89                                                           736,764                  $773,559           $104.99
                        PHILIPPINES                6,810           $8,318         $122.14 1,513,478 $1,561,859            $103.20                                         118,516         $98,856      $83.41                                             129,840    $120,493     $92.80    223,811     $196,490     $87.79     223,251    $231,162       $103.54     373,950     $187,075     $50.03                     2,589,656                $2,404,252            $92.84
                        PUERTO RICO              254,392         $286,418         $112.59      77,463      $67,952         $87.72                                         665,026       $866,966      $130.37     220,080       $123,601      $56.16    1,963,841   $1,719,462    $87.56    340,177     $458,601    $134.81   2,932,325   $2,803,209       $95.60     123,480     $160,164    $129.71                     6,576,785                $6,486,375            $98.63
                        RUSSIA                                                              5,496,931 $6,529,029          $118.78                                         979,934      $1,655,813     $168.97                                           1,015,025   $1,132,158   $111.54                                        640,169    $700,814       $109.47                                                         8,132,059               $10,017,814           $123.19
                        SINGAPORE                                                              52,945      $44,709         $84.45                                          97,274       $138,090      $141.96                                             146,790    $149,347    $101.74      16,990     $15,508     $91.28                                                                                                 313,999                  $347,655           $110.72
                        SOUTH AFRICA                                                          293,682    $321,045         $109.32                                                                                 457,920       $287,032      $62.68                                                                            54,344     $54,400        $100.10                                                           805,946                  $662,477            $82.20
                        SOUTH KOREA                 8,122            $12,751      $156.99                                                                                  34,855        $82,425      $236.48     558,693       $221,683      $39.68    1,300,058   $1,513,443   $116.41      86,832    $129,466    $149.10 28,082,705 $29,869,755        $106.36     479,595     $598,390    $124.77                    30,550,859               $32,427,914           $106.14
                        TAHITI                                                                124,999    $150,866         $120.69                                                                                                                                                                                                                                                                                           124,999                  $150,866           $120.69
                        TAIWAN                      6,910             $7,775      $112.52      63,150      $29,411         $46.57                                          43,222        $83,777      $193.83     175,170       $147,993      $84.49     972,653    $1,103,253   $113.43    465,667     $408,629     $87.75    624,331     $724,879       $116.10 10,049,816     $7,355,871    $73.19                    12,400,919                $9,861,588            $79.52
                        THAILAND                                                                                                                                                                                                                                                                                                                                   6,341,486     $3,653,435    $57.61                     6,341,486                $3,653,435            $57.61
                        TRINIDAD                 111,531         $146,523         $131.37                                                                                                                                                                                                                                                                                                                                   111,531                  $146,523           $131.37
                        UKRAINE                                                              8,891,094     $9,609,550     $108.08                                          58,446        $91,982      $157.38                                            54,960      $52,687      $95.86                                       177,744     $195,363       $109.91                                                         9,182,244                $9,949,583           $108.36
                        URUGUAY                                                                                                                                                                                                                         643,080     $633,699      $98.54                                                                                                                                    643,080                  $633,699            $98.54
                        VIETNAM                                                                                                                                               103          $36         $34.78                                                60           $3       $4.72                                                                            8,198,850 $4,710,583       $57.45                     8,199,013                $4,710,621            $57.45
         EXPORT Total                          27,652,322      $63,079,982        $228.12 273,128,269 $237,817,318         $87.07    47,929    $77,559        $161.82 122,908,125 $218,870,259        $178.08 156,300,252 $152,015,226       $97.26 40,581,632 $44,035,945       $108.51 26,621,564 $29,470,408     $110.70 48,668,621 $59,346,340        $121.94 102,381,098 $102,205,369     $99.83                   798,289,811              $906,918,403           $113.61
2013 Total                                    553,480,505     $934,460,074        $168.83 766,596,064 $766,090,237         $99.93 7,560,459 $4,033,860         $53.35 498,215,248 $825,504,358        $165.69 802,230,860 $497,184,471       $61.98 269,495,248 $256,166,884      $95.05 176,088,604 $254,438,836   $144.49 304,154,083 $335,236,284      $110.22 414,807,242 $199,491,835     $48.09                 3,792,628,313            $4,072,606,837           $107.38
   2014 DOMESTIC        UNITED STATES           3,671,198       $5,907,808        $160.92 17,009,405 $22,727,474          $133.62   193,350   $134,312         $69.47 5,861,676 $10,149,564           $173.15 2,200,845 $1,506,719           $68.46 2,785,922 $3,747,229         $134.51 2,783,441 $4,419,124       $158.76 5,055,917 $6,866,841          $135.82 3,193,770 $4,130,800        $129.34                    42,755,523               $59,589,870           $139.37
                        #N/A                  554,913,982     $892,522,916        $160.84 500,702,961 $677,188,783        $135.25 8,796,221 $5,509,755         $62.64 358,759,243 $652,697,168        $181.93 665,504,208 $491,443,645       $73.85 200,774,299 $265,392,760     $132.18 147,395,643 $249,498,955   $169.27 248,627,799 $361,333,528      $145.33 307,634,143 $90,092,279      $29.29                 2,993,108,498            $3,685,679,788           $123.14
         DOMESTIC Total                       558,585,179     $898,430,723        $160.84 517,712,366 $699,916,257        $135.19 8,989,571 $5,644,067         $62.78 364,620,918 $662,846,732        $181.79 667,705,054 $492,950,364       $73.83 203,560,221 $269,139,989     $132.22 150,179,084 $253,918,079   $169.08 253,683,716 $368,200,368      $145.14 310,827,913 $94,223,079      $30.31                 3,035,864,021            $3,745,269,658           $123.37
           EXPORT       ALBANIA                                                                                                                                                                                                                                                                                                                                        54,960      $48,931     $89.03                        54,960                   $48,931            $89.03
                        ANGOLA                                                                                                                                             165,275   $120,133          $72.69                                                                                                                                                                                                               165,275                  $120,133            $72.69
                        AUSTRALIA                                                           21,300,578 $31,196,226        $146.46                                        6,477,438 $10,039,367        $154.99     414,720       $314,862      $75.92     517,440     $580,235    $112.14                                                                                                                                 28,710,176               $42,130,690           $146.74
                        AUSTRIA                                                                 84,229   $118,173         $140.30                                                                                                                                                                                                                                                                                            84,229                  $118,173           $140.30
                        BERMUDA                                                                                                                                             5,633        $12,824      $227.68                                                                                  1,635      $3,188    $194.96        694        $1,251      $180.34                                                             7,961                   $17,263           $216.83
                        CAMEROON                                                                                                                                                                                   54,960        $28,837      $52.47                                                                                                                                                                         54,960                   $28,837            $52.47
                        CANADA                     48,638             $88,287     $181.52    9,525,169 $14,904,834        $156.48                                       46,783,300 $94,922,651        $202.90     370,007       $311,312      $84.14    4,247,806   $5,957,391   $140.25   4,729,979   $9,229,836   $195.13    822,909    $1,190,230      $144.64 4,146,865 $2,454,064         $59.18                    70,674,674              $129,058,605           $182.61
                        CHILE                     ‐16,560            ‐$26,410     $159.48    3,951,744 $5,251,739         $132.90                                          392,744   $827,442         $210.68                                             107,700    $120,449    $111.84   2,523,533   $3,746,907   $148.48     14,319       $15,740      $109.92                                                         6,973,481                $9,935,867           $142.48
                        CHINA                                                                      700       $607          $86.70                                           49,319     $64,873        $131.54 27,107,820 $20,253,031          $74.71       56,550      $61,288   $108.38     192,231    $269,668    $140.28    335,199     $377,747       $112.69 13,425,471 $13,816,782      $102.91                    41,167,290               $34,843,996            $84.64
                        COLOMBIA                 141,705         $203,767         $143.80    6,965,999 $8,744,312         $125.53                                        1,115,646 $1,551,435         $139.06 1,689,439 $1,398,797            $82.80    2,021,486   $2,330,709   $115.30   5,001,374   $6,419,152   $128.35     78,394     $117,433       $149.80    157,860     $79,304       $50.24                    17,171,901               $20,844,909           $121.39
                                         PRIMAL GROUP
                                         BELLIES
                                                          Values
                                                                                    HAMS
                                                                                                   CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 6 of 10
                                                                                                                       JOWLS                               LOINS                               MISC                                PICNICS                             RIBS                                 SHOULDER                             VMEATS                             Total WEIGHT                   Total FOB $$              Total FOB_PRICE
YEAR    GROUP           EXPCOUNTRYNAME   WEIGHT           FOB $$         FOB_PRICE WEIGHT      FOB $$       FOB_PRICE WEIGHT         FOB $$     FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT      FOB $$       FOB_PRICE    WEIGHT     FOB $$       FOB_PRICE
                        COSTA RICA                159,988       $252,434    $157.78    857,656 $1,149,806      $134.06                                          54,158      $42,025     $77.60      35,336      $25,248     $71.45     124,770     $166,132    $133.15       17,791      $24,806    $139.43                                                                                            1,249,698                $1,660,451           $132.87
                        DOMINICAN REP                                                  556,501     $714,171    $128.33                                          88,268     $131,378    $148.84 1,595,520 $1,276,235         $79.99                                           91,997     $136,584    $148.47                                                                                            2,332,286                $2,258,367            $96.83
                        ECUADOR                                                        297,379     $329,727    $110.88                                         145,485     $208,895    $143.59                                                                               13,666      $17,415    $127.43                                                                                              456,530                  $556,037           $121.80
                        EL SALVADOR                                                    491,378     $555,649    $113.08                                          79,936      $65,250     $81.63                                         126,000     $148,280    $117.68      132,126     $140,195    $106.11                                                                                              829,440                  $909,373           $109.64
                        GERMANY                                                         10,992      $10,210     $92.89                                         284,375     $377,854    $132.87                                                                                                                                                                                                           295,367                  $388,065           $131.38
                        GUAM                       17,758        $66,205    $372.82        373         $865    $232.24                                         333,605     $513,653    $153.97                                          38,537      $47,728    $123.85      369,766     $597,606    $161.62    129,895     $208,177      $160.27                                                         889,934                $1,434,234           $161.16
                        GUATEMALA                  42,184        $59,479    $141.00    682,330     $903,381    $132.40                                          40,135      $46,284    $115.32      48,240      $69,948    $145.00     743,820     $860,999    $115.75           41          $87    $212.16                                          11,940       $2,547     $21.33                    1,568,689                $1,942,725           $123.84
                        HONDURAS                                                                                                                             1,508,807 $1,360,696       $90.18      24,000      $14,400     $60.00     802,710     $979,626    $122.04      728,899     $749,862    $102.88                                                                                            3,064,416                $3,104,584           $101.31
                        HONG KONG                   19,026        $13,466    $70.77     642,619    $644,618     $100.31                                      1,761,799 $3,608,144      $204.80 55,351,700 $39,947,964       $72.17         301         $298     $98.95 2,973,182 $2,767,455          $93.08    582,905 $1,359,530        $233.23 23,453,848 $39,115,028     $166.77                   84,785,380               $87,456,502           $103.15
                        INDONESIA                   11,991        $36,497   $304.37       6,960       $7,264    $104.37                                         27,054      $60,403    $223.27                                                                                                                   4,035       $5,341      $132.37                                                          50,040                  $109,506           $218.84
                        JAPAN                   10,992,965    $29,892,573   $271.92 2,209,347 $3,914,761        $177.19     10,316      $44,257    $429.00 77,281,099 $156,956,707     $203.10 86,526,271 $136,116,475     $157.31 16,228,529 $28,262,105      $174.15         ‐609        ‐$624    $102.44 16,390,888 $32,757,122       $199.85 6,172,145 $11,006,935      $178.33                  215,810,951              $398,950,311           $184.86
                        MEXICO                   7,447,687    $10,038,754   $134.79 198,538,802 $207,740,329    $104.63    107,681      $59,405     $55.17     838,957 $1,132,816      $135.03 9,732,941 $5,635,475         $57.90 2,810,465 $3,284,955        $116.88 9,736,243 $11,566,963        $118.80 1,172,633 $1,648,826         $140.61 27,753,284 $21,791,292      $78.52                  258,138,692              $262,898,815           $101.84
                        NEW ZEALAND                                                   4,049,513 $5,684,886      $140.38                                        277,780     $390,440    $140.56                                                                                                                                                                                                         4,327,293                $6,075,326           $140.40
                        NICARAGUA                                                       280,689    $325,128     $115.83                                                                                                                                                                                                                                                                                  280,689                  $325,128           $115.83
                        PANAMA                                                          709,073    $893,416     $126.00                                                                           345,660     $293,458     $84.90     329,340     $353,663    $107.39      53,640       $91,212   $170.05                                                                                              1,437,712                $1,631,749           $113.50
                        PERU                      108,598       $142,747    $131.44      53,006      $63,134    $119.11                                          40,110      $47,371   $118.10                                                                             ‐4,890       ‐$2,816    $57.58                                                                                                196,825                  $250,436           $127.24
                        PHILIPPINES                                                     211,813    $330,141     $155.86                                         519,034    $342,917     $66.07                                                                            209,163     $169,003     $80.80     28,829     $29,420        $102.05      54,000      $43,352     $80.28                    1,022,839                  $914,832            $89.44
                        PUERTO RICO               151,047       $160,446    $106.22     139,196    $194,454     $139.70                                       2,347,229   $4,452,762   $189.70                                        730,141    $1,070,613   $146.63     955,531    $1,682,518   $176.08 2,632,752 $4,189,286          $159.12      54,030      $70,998    $131.40                    7,009,927               $11,821,077           $168.63
                        SINGAPORE                                                                                                                                32,266      $41,806   $129.56                                         51,900       $57,340   $110.48      54,238       $47,409    $87.41                                                                                                138,405                  $146,555           $105.89
                        SOUTH KOREA                                                                                                                             150,757    $295,517    $196.02                                        403,325     $546,243    $135.43     556,003     $840,658    $151.20 32,405,669 $43,595,424        $134.53     301,905     $378,754    $125.45                   33,817,659               $45,656,596           $135.01
                        SRI LANKA                                                                                                                               110,538    $164,507    $148.82                                                                                                                                                                                                           110,538                  $164,507           $148.82
                        TAHITI                                                           39,466      $48,882    $123.86                                                                                                                                                                                                                                                                                   39,466                   $48,882           $123.86
                        TAIWAN                       3,416         $3,746   $109.69                                                                             38,051      $87,273    $229.36    415,710     $174,916     $42.08    1,210,788   $1,493,153   $123.32     772,689     $631,144     $81.68    516,185     $587,191       $113.76 12,897,460     $8,877,013    $68.83                   15,854,298               $11,854,436            $74.77
                        THAILAND                                                                                                                                                                                                                                                                                                                 8,155,376     $4,396,697    $53.91                    8,155,376                $4,396,697            $53.91
                        TRINIDAD                  229,974       $313,712    $136.41                                                                                                                                                                                                                                                                                                                      229,974                  $313,712           $136.41
                        UKRAINE                                                        5,390,775   $6,487,605   $120.35                                         53,458      $63,862    $119.46    537,780     $387,052     $71.97                                                                                                                                                                      5,982,013                $6,938,518           $115.99
                        UZBEKISTAN                                                        32,057      $44,514   $138.86                                          4,212       $6,766    $160.63                                          4,200       $4,727    $112.55                                                                                                                                     40,469                   $56,007           $138.40
                        VIETNAM                                                                                                                                                                                                                                                                                                                   4,155,875 $2,197,367       $52.87                    4,155,875                $2,197,367            $52.87
         EXPORT Total                           19,358,416    $41,245,704   $213.06 257,028,342 $290,258,833    $112.93   117,997   $103,661        $87.85 141,006,467 $277,936,049    $197.11 184,250,104 $206,248,011   $111.94 30,555,808 $46,325,932      $151.61 29,108,228 $39,128,227      $134.42 55,115,305 $86,082,718        $156.19 100,795,018 $104,279,065    $103.46                  817,335,685            $1,091,608,201           $133.56
2014 Total                                     577,943,595   $939,676,427   $162.59 774,740,707 $990,175,090    $127.81 9,107,568 $5,747,728        $63.11 505,627,385 $940,782,781    $186.06 851,955,158 $699,198,375    $82.07 234,116,028 $315,465,922    $134.75 179,287,312 $293,046,306    $163.45 308,799,021 $454,283,086      $147.11 411,622,931 $198,502,143     $48.22                3,853,199,706            $4,836,877,859           $125.53
   2015 DOMESTIC        UNITED STATES            3,342,091     $4,201,538   $125.72 12,042,736 $10,535,325       $87.48    88,600    $64,832        $73.17 4,177,966 $6,620,841        $158.47 2,750,793 $1,545,390        $56.18 4,035,167 $4,190,731        $103.86 4,191,561 $6,514,045        $155.41 7,561,417 $7,953,606          $105.19 2,495,485 $2,178,688         $87.31                   40,685,816               $43,804,996           $107.67
                        #N/A                   588,430,470   $731,090,649   $124.24 549,611,130 $545,997,067     $99.34 7,380,517 $3,362,853        $45.56 395,807,963 $651,355,380    $164.56 720,038,725 $347,194,133    $48.22 226,784,634 $211,946,683     $93.46 156,616,241 $283,413,443    $180.96 265,822,059 $313,714,796      $118.02 329,119,062 $82,625,791      $25.11                3,239,610,801            $3,170,700,795            $97.87
         DOMESTIC Total                        591,772,561   $735,292,187   $124.25 561,653,867 $556,532,391     $99.09 7,469,117 $3,427,686        $45.89 399,985,930 $657,976,221    $164.50 722,789,518 $348,739,523    $48.25 230,819,801 $216,137,414     $93.64 160,807,802 $289,927,489    $180.29 273,383,476 $321,668,402      $117.66 331,614,547 $84,804,479      $25.57                3,280,296,617            $3,214,505,792            $97.99
           EXPORT       AUSTRALIA                                                    27,976,112 $33,569,180     $119.99                                        467,695     $691,360    $147.82                                        103,290      $88,687     $85.86                                                                                                                                 28,547,097               $34,349,228           $120.32
                        BERMUDA                                                                                                                                 26,020      $49,073    $188.59                                          3,683       $3,466     $94.09       3,498       $6,738    $192.64       3,025       $3,560      $117.68                                                           36,227                   $62,837           $173.45
                        CAMBODIA                                                                                                                                                                                                                                                                                                                     107,581      $29,340    $27.27                      107,581                   $29,340            $27.27
                        CANADA                     80,658        $60,942     $75.56    4,629,188   $5,314,444   $114.80                                      52,304,429 $98,495,848    $188.31    297,654     $225,267     $75.68    5,889,288   $6,790,861   $115.31    3,592,863   $7,245,612   $201.67    778,617     $939,086       $120.61    6,462,000   $2,969,736    $45.96                   74,034,698              $122,041,797           $164.84
                        CHILE                                                          1,970,006   $2,322,031   $117.87                                         149,917   $398,007     $265.49                                                                           1,102,824   $1,685,900   $152.87                                             69,566    $130,074    $186.98                    3,292,312                $4,536,012           $137.78
                        CHINA                                                                                                                                                                                                                                                                                                                      1,247,071   $1,696,571   $136.04                    1,247,071                $1,696,571           $136.04
                        COLOMBIA                  273,711       $165,266     $60.38    4,494,698   $5,265,504   $117.15                                        474,668     $661,972    $139.46    220,680     $140,504     $63.67     558,609     $656,329    $117.49 11,662,020 $11,090,291       $95.10                                            317,280      $99,937    $31.50                   18,001,666               $18,079,804           $100.43
                        COSTA RICA                556,599       $494,376     $88.82      409,917    $444,566    $108.45                                         41,565      $35,746     $86.00                                        401,910     $336,209     $83.65     40,649     $68,905      $169.51                                             21,960       $5,710    $26.00                    1,472,599                $1,385,511            $94.09
                        CUBA                          335          $360     $107.36                                                                                                                                                                                          129       $223       $172.90                                                                                                    464                      $583           $125.58
                        DOMINICAN REP                                                  1,900,536   $2,102,153   $110.61                                        160,245     $218,084    $136.09                                        267,690     $252,174     $94.20     18,775     $30,334      $161.57                                                                                              2,347,245                $2,602,745           $110.89
                        ECUADOR                    40,310        $37,956     $94.16       93,179      $74,653    $80.12                                                                                                                                                                                                                                                                                  133,489                  $112,608            $84.36
                        EL SALVADOR                                                                                                                             209,184    $167,269     $79.96                                        42,000     $37,800       $90.00       51,986      $39,412    $75.81                                                                                                303,170                  $244,481            $80.64
                        GUAM                       24,799        $85,318    $344.03       2,610       $6,004    $230.03                                         332,210     $485,061   $146.01                                        34,728     $42,898      $123.53      371,781    $674,858    $181.52    162,762   $243,547         $149.63                                                          928,890                $1,537,686           $165.54
                        GUATEMALA                                                       479,923    $503,122     $104.83                                          47,695      $76,652   $160.71    364,709    $260,204      $71.35    585,192   $583,040        $99.63        3,004       $4,627   $154.00                                                                                              1,480,523                $1,427,645            $96.43
                        HONDURAS                   ‐40,844       ‐$59,224   $145.00      79,038      $67,219     $85.05                                         901,837    $826,824     $91.68     81,960      $46,841     $57.15    414,005   $463,138       $111.87      495,965    $560,174    $112.95                                           17,940      $8,432       $47.00                    1,949,900                $1,913,404            $98.13
                        HONG KONG                   26,682        $34,469   $129.18     228,370    $222,365      $97.37                                       1,501,712 $2,696,424     $179.56 71,953,217 $35,482,131      $49.31                                        2,808,323   $2,800,224    $99.71    567,061 $1,076,466         $189.83 21,260,855 $30,882,450      $145.25                   98,346,219               $73,194,528            $74.43
                        JAPAN                   14,180,864    $29,331,655   $206.84   4,020,360 $7,044,287      $175.22                                      62,075,741 $108,963,219   $175.53 81,672,824 $117,434,596    $143.79 13,236,149 $16,323,636      $123.33          604       $1,025   $169.69 13,360,617 $22,608,021        $169.21 5,317,879 $7,582,909        $142.59                  193,865,038              $309,289,346           $159.54
                        MALAYSIA                                                         15,358      $15,702    $102.24                                                                                                                                                      8,845       $7,008    $79.24                                           15,930     $13,477       $84.60                       40,132                   $36,187            $90.17
                        MEXICO                   4,478,398     $3,217,975    $71.86 189,288,046 $139,362,558     $73.62    121,665      $75,091     $61.72    1,881,030   $2,599,568   $138.20 11,356,881    $4,803,708    $42.30    6,582,016   $6,155,389    $93.52    7,087,529   $7,174,248   $101.22    953,661   $966,318         $101.33 34,211,833 $18,060,216       $52.79                  255,961,059              $182,415,071            $71.27
                        NEW ZEALAND                                                   2,797,896 $3,353,038      $119.84                                                                                                                                                                                                                                                                                2,797,896                $3,353,038           $119.84
                        NICARAGUA                                                     1,922,931 $1,987,509      $103.36                                                                                                                                                                                                                                                                                1,922,931                $1,987,509           $103.36
                        PANAMA                                                        1,163,893 $1,400,691      $120.35                                                                           264,900      $82,775     $31.25                                          29,011      $17,759     $61.22                                                                                              1,457,804                $1,501,225           $102.98
                        PERU                      191,517       $217,359    $113.49     325,783    $473,568     $145.36                                                                                                                                                    44,877      $84,151    $187.51                                           54,960        $10,660    $19.40                      617,138                  $785,737           $127.32
                        PHILIPPINES                                                                                                                              39,028      $28,822    $73.85                                       1,625,040   $1,335,934    $82.21                                          4,925      $7,202        $146.23    261,660      $157,507     $60.20                    1,930,653                $1,529,465            $79.22
                        PUERTO RICO                                                     456,060     $551,324    $120.89                                       5,033,095   $7,823,990   $155.45    303,013     $196,204     $64.75    3,676,745   $4,313,299   $117.31    1,357,061   $2,407,596   $177.41 3,333,005 $3,965,947          $118.99     17,280        $11,553    $66.86                   14,176,257               $19,269,914           $135.93
                        SINGAPORE                                                                                                                               105,837    $153,897    $145.41    673,326     $410,605     $60.98                                          211,187    $190,904     $90.40                                          207,180        $68,155    $32.90                    1,197,530                  $823,562            $68.77
                        SOUTH KOREA                                                           0        $274                                                     181,770    $377,364    $207.61     ‐1,122      ‐$2,102    $187.31     651,855     $627,550     $96.27      574,268    $930,937    $162.11 36,560,199 $49,151,224        $134.44    361,870      $342,941     $94.77                   38,328,840               $51,428,188           $134.18
                        TAIWAN                        149           $425    $284.62     206,990     $126,741     $61.23                                           2,254       $2,415   $107.13    777,840     $290,436     $37.34      94,080      $86,893     $92.36      836,844    $547,494     $65.42                                       14,830,604     $8,439,784    $56.91                   16,748,761                $9,494,187            $56.69
                        THAILAND                                                                                                                                                                                                                                                                                                                13,132,458     $4,581,214    $34.88                   13,132,458                $4,581,214            $34.88
                        TRINIDAD                   54,203        $56,525    $104.28                                                                                                                 15,000       $6,000    $40.00                                                                                                                                                                         69,203                   $62,525            $90.35
                        VIETNAM                                                                                                                                  8,999      $11,991    $133.25     207,030      $54,943    $26.54                                          12,947      $25,796    $199.24                                           184,378      $52,455     $28.45                      413,354                  $145,185            $35.12
         EXPORT Total                           19,867,382    $33,643,400   $169.34 242,460,894 $204,206,931     $84.22   121,665    $75,091        $61.72 125,944,929 $224,763,585    $178.46 168,187,912 $159,432,112    $94.79 34,166,280 $38,097,303      $111.51 30,314,989 $35,594,219      $117.41 55,723,872 $78,961,371        $141.70 98,100,285 $75,143,121       $76.60                  774,888,206              $849,917,133           $109.68
2015 Total                                     611,639,943   $768,935,587   $125.72 804,114,761 $760,739,323     $94.61 7,590,782 $3,502,777        $46.15 525,930,858 $882,739,806    $167.84 890,977,429 $508,171,635    $57.04 264,986,081 $254,234,717     $95.94 191,122,791 $325,521,708    $170.32 329,107,347 $400,629,773      $121.73 429,714,832 $159,947,600     $37.22                4,055,184,823            $4,064,422,925           $100.23
   2016 DOMESTIC        UNITED STATES           11,257,621    $15,159,004   $134.66 9,910,185 $6,785,220         $68.47    85,709    $46,741        $54.53 2,874,628 $3,553,775        $123.63 4,032,039 $1,872,507        $46.44 3,157,557 $2,783,413         $88.15 4,327,515 $5,944,494        $137.37 7,013,603 $6,741,286           $96.12 3,145,346 $2,560,099         $81.39                   45,804,202               $45,446,539            $99.22
                        #N/A                   560,806,358   $833,589,402   $148.64 556,935,638 $508,605,789     $91.32 5,908,217 $2,704,323        $45.77 404,816,315 $612,393,632    $151.28 732,631,983 $316,983,866    $43.27 252,007,442 $210,474,054     $83.52 157,627,484 $262,613,079    $166.60 267,412,467 $293,533,447      $109.77 312,621,185 $75,599,875      $24.18                3,250,767,089            $3,116,497,467            $95.87
         DOMESTIC Total                        572,063,979   $848,748,406   $148.37 566,845,823 $515,391,009     $90.92 5,993,926 $2,751,065        $45.90 407,690,943 $615,947,406    $151.08 736,664,022 $318,856,374    $43.28 255,164,998 $213,257,467     $83.58 161,954,999 $268,557,573    $165.82 274,426,069 $300,274,733      $109.42 315,766,531 $78,159,974      $24.75                3,296,571,290            $3,161,944,006            $95.92
           EXPORT       AUSTRALIA                                                    20,365,354 $20,574,836     $101.03                                      5,055,348 $5,130,331      $101.48                                                                                                                                                         ‐946      ‐$1,353    $143.00                   25,419,756               $25,703,814           $101.12
                        BERMUDA                                                                                                                                 69,237     $128,240    $185.22                                           7,180       $6,501    $90.54       10,798     $18,648    $172.70     12,397     $14,689        $118.49                                                           99,612                  $168,077           $168.73
                        CANADA                    576,010       $932,556    $161.90    3,901,588   $4,538,689   $116.33                                     45,409,514 $74,994,803     $165.15 1,209,380       $539,084    $44.58    4,450,864   $4,400,720    $98.87    4,046,423 $7,291,923     $180.21    225,597   $278,616         $123.50 5,554,821 $2,477,212         $44.60                   65,374,197               $95,453,604           $146.01
                        CHILE                                                          3,851,497   $4,228,542   $109.79                                         54,314      $71,826    $132.24                                          54,060      $53,461    $98.89      563,432   $795,663     $141.22                                                                                              4,523,303                $5,149,491           $113.84
                        CHINA                                                          1,301,879   $1,015,092    $77.97                                         21,960      $22,608    $102.95     553,941     $503,714    $90.93                                          447,062   $602,363     $134.74     30,171     $35,586        $117.95    3,338,431   $5,095,020   $152.62                    5,693,444                $7,274,384           $127.77
                        COLOMBIA                  163,307       $102,718     $62.90      877,976    $765,455     $87.18                                        225,297     $256,899    $114.03 1,733,280 $1,246,974        $71.94      616,623    $579,000     $93.90   13,717,659 $10,530,651     $76.77                                            214,619      $82,416    $38.40                   17,548,762               $13,564,113            $77.29
                        COSTA RICA                524,717       $586,827    $111.84      790,661    $715,461     $90.49                                        178,858     $107,937     $60.35                                         112,710   $107,087      $95.01       25,797     $53,799    $208.55         14         $15        $109.05                                                        1,632,756                $1,571,126            $96.23
                        DOMINICAN REP                                                    887,926    $882,224     $99.36                                        173,114     $209,745    $121.16     107,940      $53,021    $49.12      323,550   $297,158      $91.84      529,299   $414,354      $78.28                                                                                              2,021,829                $1,856,501            $91.82
                        EL SALVADOR                                                       89,936      $81,944    $91.11                                        167,302     $166,225     $99.36                                          67,020     $58,047     $86.61      119,304   $111,355      $93.34     33,389     $36,641        $109.74                                                          476,951                  $454,212            $95.23
                        GUAM                       24,778        $90,268    $364.30                                                                            368,308     $458,448    $124.47                                          37,962     $35,231     $92.81      392,937    $640,175    $162.92    194,084   $261,525         $134.75                                                        1,018,069                $1,485,647           $145.93
                        GUATEMALA                 204,737       $220,889    $107.89     367,081    $327,827      $89.31                                        835,586     $634,569     $75.94     371,610     $213,917    $57.56      493,665   $443,562      $89.85       11,951     $18,321    $153.29      1,515      $1,581        $104.37                                                        2,286,145                $1,860,665            $81.39
                        HONDURAS                                                          4,380       $3,416     $78.00                                      1,209,683     $823,385     $68.07                                       1,330,021 $1,232,429      $92.66    2,624,082 $2,302,420      $87.74     30,433     $31,327        $102.94                                                        5,198,599                $4,392,977            $84.50
                        HONG KONG                    2,424         $2,716   $112.02     429,411    $292,751      $68.18                                      1,683,320 $3,157,864      $187.60 87,080,704 $46,946,424      $53.91          169        $135     $80.25    1,535,978 $1,138,239      $74.11 1,034,952 $1,941,767          $187.62 24,056,911 $27,144,560      $112.83                  115,823,868               $80,624,456            $69.61
                        JAPAN                   17,489,087    $39,402,167   $225.30   4,617,304 $7,614,709      $164.92                                     65,394,456 $107,504,084    $164.39 56,454,515 $65,558,991     $116.13   19,564,587 $24,412,397    $124.78      360,605   $436,576     $121.07 17,643,506 $27,552,710        $156.16 5,101,862 $6,247,445        $122.45                  186,625,922              $278,729,078           $149.35
                        MALAYSIA                                                          2,289       $1,941     $84.80                                         35,450      $32,667     $92.15                                                                              99,943   $115,178     $115.24                                                                                                137,681                  $149,785           $108.79
                        MEXICO                   3,927,191     $3,488,881    $88.84 190,456,538 $131,571,573     $69.08 1,895,718      $944,775     $49.84 1,455,527 $1,758,801        $120.84 17,238,846 $6,092,270       $35.34    6,160,237   $5,160,711    $83.77    6,839,152 $5,436,498      $79.49    471,033   $473,568         $100.54 32,974,095 $17,177,544       $52.09                  261,418,337              $172,104,622            $65.83
                        NEW ZEALAND                                                   1,816,981 $1,822,863      $100.32                                        206,652     $158,288     $76.60                                             600        $653    $108.85                                                                                                                                  2,024,233                $1,981,805            $97.90
                        NICARAGUA                                                     2,961,355 $2,696,944       $91.07                                         80,960      $34,813     $43.00                                          61,740      $57,775    $93.58                                                                                                                                  3,104,055                $2,789,532            $89.87
                        PANAMA                     51,509        $68,506    $133.00 1,408,982 $1,550,455        $110.04                                                                            479,280     $322,933    $67.38       53,940      $52,095    $96.58     147,435     $134,605     $91.30                                                                                              2,141,146                $2,128,593            $99.41
                        PERU                       52,875        $76,537    $144.75         ‐61         ‐$69    $112.91                                          26,397      $33,153   $125.60                                                                            ‐14,770     ‐$23,495    $159.08                                                                                                 64,441                   $86,127           $133.65
                        PHILIPPINES                12,768         $9,752     $76.38                                                                              10,906       $8,833    $80.99                                       1,200,780    $985,162     $82.04                                          14,765      $11,551       $78.23     806,340     $486,940     $60.39                    2,045,558                $1,502,237            $73.44
                        PUERTO RICO                                                     238,056    $208,176      $87.45                                       4,820,663   $6,749,673   $140.02      31,020       $9,717    $31.32      866,551    $740,481     $85.45    1,347,178   $2,147,094   $159.38   1,911,206   $2,039,947      $106.74      99,000     $101,685    $102.71                    9,313,675               $11,996,774           $128.81
                        SAUDI ARABIA                                                                                                                                                                                                    10,050      $8,854     $88.09                                                                                                                                     10,050                    $8,854            $88.09
                        SINGAPORE                                                                                                                                                                                                       50,580     $47,018     $92.96     281,907     $241,582     $85.70                                            25,995      $25,666     $98.73                      358,482                  $314,266            $87.67
                        SOUTH AFRICA                                                                                                                                96          $19     $19.46                                                                                 52          $35     $68.02                                                                                                    148                       $54            $36.52
                        SOUTH KOREA                                                                                                                             48,540     $122,677    $252.73        ‐132       ‐$154    $116.04     951,292     $838,971     $88.19     628,585     $894,117    $142.24 23,203,232 $23,661,740        $101.98      40,120      $32,523     $81.06                   24,871,636               $25,549,875           $102.73
                        SURINAME                                                                                                                                                                    26,040     $21,735     $83.47                                                                                                                                                                         26,040                   $21,735            $83.47
                        TAIWAN                                                          570,240     $326,670     $57.29                                                                                750      $2,329    $310.58                                         447,088     $410,679     $91.86                                         11,590,990   $5,130,607    $44.26                   12,609,067                $5,870,285            $46.56
                        THAILAND                                                                                                                                                                                                                                                                                                                  14,524,500   $4,935,695    $33.98                   14,524,500                $4,935,695            $33.98
                        TRINIDAD                  109,630       $131,132    $119.61                                                                                                                                                    53,700      $54,929    $102.29                                                                                                                                    163,330                  $186,061           $113.92
                        UKRAINE                                                              48          $37     $78.41                                             50          $78    $157.40                                             90          $82     $91.54       1,177       $2,566    $218.06          76          $72       $94.01                                                            1,440                    $2,835           $196.85
                        VIETNAM                                                                                                                                104,960      $47,460     $45.22                                                                             31,019      $49,967    $161.09                                                                                                135,979                   $97,426            $71.65
         EXPORT Total                           23,139,033    $45,112,947   $194.96 234,939,421 $179,219,536     $76.28   1,895,718   $944,775      $49.84 127,636,497 $202,613,425    $158.74 165,287,174 $121,510,955    $73.52 36,467,972 $39,572,461      $108.51 34,194,091 $33,763,311       $98.74 44,806,370 $56,341,335        $125.74 98,326,738 $68,935,960       $70.11                  766,693,013              $748,014,706            $97.56
2016 Total                                     595,203,012   $893,861,353   $150.18 801,785,244 $694,610,546     $86.63   7,889,644 $3,695,839      $46.84 535,327,440 $818,560,831    $152.91 901,951,196 $440,367,329    $48.82 291,632,970 $252,829,928     $86.69 196,149,090 $302,320,884    $154.13 319,232,439 $356,616,068      $111.71 414,093,269 $147,095,934     $35.52                4,063,264,303            $3,909,958,712            $96.23
   2017 DOMESTIC        UNITED STATES           13,200,687    $22,052,894   $167.06 12,555,559 $11,347,234       $90.38     848,273   $420,915      $49.62 3,519,903 $4,498,556        $127.80 6,359,143 $2,675,500        $42.07 5,516,423 $5,596,892        $101.46 3,869,291 $4,811,430        $124.35 6,329,797 $6,458,236          $102.03 3,649,260 $3,310,600         $90.72                   55,848,338               $61,172,258           $109.53
                        #N/A                   551,557,881   $967,939,597   $175.49 548,930,741 $529,966,594     $96.55   5,134,977 $2,613,132      $50.89 396,060,304 $575,261,125    $145.25 735,933,415 $349,165,844    $47.45 233,781,979 $218,349,731     $93.40 159,320,690 $234,769,458    $147.36 259,871,523 $286,656,870      $110.31 313,047,532 $88,005,385      $28.11                3,203,639,041            $3,252,727,738           $101.53
         DOMESTIC Total                        564,758,569   $989,992,491   $175.29 561,486,300 $541,313,828     $96.41   5,983,250 $3,034,047      $50.71 399,580,207 $579,759,681    $145.09 742,292,558 $351,841,345    $47.40 239,298,402 $223,946,623     $93.58 163,189,981 $239,580,888    $146.81 266,201,320 $293,115,106      $110.11 316,696,792 $91,315,986      $28.83                3,259,487,379            $3,313,899,995           $101.67
           EXPORT       ALBANIA                                                                                                                                                                                                       212,040     $223,014    $105.18                                                                                                                                    212,040                  $223,014           $105.18
                        AUSTRALIA                                                     25,435,693 $31,213,667    $122.72                                       2,627,176 $2,973,926     $113.20                                        207,360     $221,744    $106.94                                                                                                                                 28,270,228               $34,409,338           $121.72
                        BARBADOS                                                                                                                                  6,786     $15,268    $224.99                                                                              5,635       $6,930    $122.99                                                                                                 12,421                   $22,199           $178.72
                        BERMUDA                                                                                                                                 208,883   $297,662     $142.50                                          16,504      $13,777    $83.48      21,664      $31,339    $144.66      56,193      $61,260      $109.02                                                          303,244                  $404,038           $133.24
                        CANADA                      3,664        $10,433    $284.71    5,681,111   $7,162,237   $126.07                                      42,846,325 $67,443,649    $157.41   1,044,458    $406,666     $38.94    3,473,584   $3,706,403   $106.70 4,627,024 $7,252,896        $156.75   1,296,959   $1,802,507      $138.98    8,287,336   $4,403,057    $53.13                   67,260,463               $92,187,848           $137.06
                        CHILE                     210,757       $320,555    $152.10    8,001,068   $9,719,538   $121.48                                          53,707     $47,504     $88.45                                         318,357    $315,456     $99.09     732,814 $1,052,042      $143.56                                                                                              9,316,704               $11,455,094           $122.95
                        CHINA                                                          2,988,848   $1,927,873    $64.50                                         476,187   $466,336      $97.93   3,973,237   $3,207,143    $80.72      558,510    $545,480     $97.67 2,495,560 $3,417,718        $136.95    674,991     $756,700       $112.11    7,923,563 $13,624,035    $171.94                   19,090,897               $23,945,285           $125.43
                        COLOMBIA                  480,169       $565,390    $117.75    3,235,473   $3,141,317    $97.09                                       2,418,871 $2,615,518     $108.13   4,241,294   $2,664,088    $62.81    1,999,816   $1,995,234    $99.77 15,619,226 $15,249,733       $97.63                                             53,940     $22,238     $41.23                   28,048,788               $26,253,518            $93.60
                        COSTA RICA                466,060       $549,168    $117.83                                                                              14,999     $16,020    $106.81     196,380    $111,937     $57.00      555,810    $600,012    $107.95     150,766     $200,401    $132.92    108,059     $125,842       $116.46                                                        1,492,074                $1,603,381           $107.46
                        DOMINICAN REP                                                  1,011,899   $1,193,682   $117.96                                         516,812    $495,959     $95.96   2,412,840   $1,677,081    $69.51                                         110,188     $144,894    $131.50                                                                                              4,051,740                $3,511,615            $86.67
                        EL SALVADOR                                                       15,768      $11,984    $76.00                                         572,885   $461,721      $80.60      81,720      $64,206    $78.57      81,840      $87,204    $106.55      98,450      $97,750     $99.29     17,111      $18,993       $111.00                                                          867,774                  $741,858            $85.49
                        GUAM                       30,393       $115,195    $379.02                                                                             349,589   $434,568     $124.31                                         40,079      $38,564     $96.22     416,198     $609,735    $146.50    207,142     $285,605       $137.88                                                        1,043,400                $1,483,666           $142.20
                                        PRIMAL GROUP
                                        BELLIES
                                                           Values
                                                                                     HAMS
                                                                                                     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 7 of 10
                                                                                                                         JOWLS                           LOINS                               MISC                                PICNICS                              RIBS                                 SHOULDER                              VMEATS                              Total WEIGHT                   Total FOB $$              Total FOB_PRICE
YEAR    GROUP           EXPCOUNTRYNAME WEIGHT              FOB $$         FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT FOB $$         FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE    WEIGHT      FOB $$       FOB_PRICE
                        GUATEMALA                  272,382       $393,236    $144.37      45,320      $39,604     $87.39                                     172,312     $170,873     $99.16     417,111     $352,019     $84.39 1,585,680 $1,682,592         $106.11       39,844      $46,617    $117.00                                           168,540      $93,449     $55.45                    2,701,189                $2,778,391           $102.86
                        HONDURAS                                                         354,625     $247,168     $69.70                                   2,404,117 $1,721,509       $71.61     140,520      $85,929     $61.15 1,633,560 $1,741,104         $106.58 1,853,300 $1,913,857         $103.27       5,004       $6,255      $125.00                                                        6,391,126                $5,715,823            $89.43
                        HONG KONG                                                        275,324     $265,116     $96.29                                   1,958,136 $3,401,589      $173.72 88,226,181 $68,236,829       $77.34          486         $653    $134.38 1,221,164 $1,181,200          $96.73 1,352,027 $2,851,450          $210.90 23,870,517 $32,150,825      $134.69                  116,903,835              $108,087,661            $92.46
                        INDONESIA                                                                                                                              3,894       $7,301    $187.47                                                                                 3,120       $5,714    $183.17       4,801       $5,476      $114.06                                                           11,815                   $18,491           $156.51
                        JAPAN                   17,363,463    $42,036,782    $242.10 5,825,065 $9,356,664        $160.63                                  65,504,873 $108,264,124    $165.28 72,783,906 $90,262,411      $124.01 17,859,835 $21,384,998       $119.74       53,177     $101,824    $191.48 20,364,177 $33,204,855        $163.06 5,138,272 $6,828,408        $132.89                  204,892,767              $311,440,068           $152.00
                        KRYGYZSTAN                                                                                                                                                                                                                                                                             375,253     $448,520      $119.52                                                          375,253                  $448,520           $119.52
                        MACEDONIA‐FYROM                                                                                                                                                                                               385,440     $396,628    $102.90                                                                                                                                     385,440                  $396,628           $102.90
                        MALAYSIA                                                                                                                              91,444      $98,567    $107.79                                                                                48,558      $64,237    $132.29                                                                                                140,001                  $162,804           $116.29
                        MEXICO                   2,199,214     $2,643,928    $120.22 193,523,408 $133,330,052     $68.90 1,671,286   $764,804     $45.76 2,847,486 $3,375,103        $118.53 18,640,835 $8,217,368        $44.08 4,332,187 $4,308,313          $99.45 4,731,116 $4,836,179         $102.22 1,370,567 $1,518,123          $110.77 19,863,238 $15,835,598       $79.72                  249,179,338              $174,829,468            $70.16
                        MYANMAR                        236           $547    $231.90                                                                           2,569       $3,550    $138.19                                                                                   804       $1,221    $151.90       2,116       $1,939       $91.65                                                            5,725                    $7,258           $126.78
                        NEW ZEALAND                                                                                                                          461,272     $464,936    $100.79                                                                                                                                                                                                              461,272                  $464,936           $100.79
                        NICARAGUA                                                         78,270      $43,049     $55.00                                     121,696      $94,923     $78.00      81,620      $32,648     $40.00      573,540     $618,727    $107.88                                                                                                                                     855,126                  $789,346            $92.31
                        PANAMA                     160,643       $225,311    $140.26     536,115     $623,476    $116.30                                                                         110,880      $62,216     $56.11      431,700     $463,662    $107.40      106,157     $114,371    $107.74                                                                                              1,345,494                $1,489,035           $110.67
                        PERU                        56,050        $83,086    $148.23                                                                                                                                                                                        44,981      $53,033    $117.90                                                                                                101,032                  $136,119           $134.73
                        PHILIPPINES              1,243,538     $1,436,355    $115.51     556,292     $678,655    $122.00     2,500     $1,328     $53.10     216,156     $204,843     $94.77                                        1,835,700 $1,813,570       $98.79      ‐62,914     ‐$56,664     $90.07      25,971      $32,307      $124.40 3,103,320 $2,285,419         $73.64                    6,920,562                $6,395,812            $92.42
                        PUERTO RICO                 10,191        $15,596    $153.04     382,324     $346,684     $90.68                                   4,483,817 $6,173,716      $137.69       2,000       $1,905     $95.24 1,488,664 $1,348,257          $90.57 1,901,786 $2,730,289         $143.56 2,022,854 $2,077,759          $102.71     231,450     $198,937     $85.95                   10,523,085               $12,893,143           $122.52
                        SINGAPORE                   13,058        $37,438    $286.70      56,895      $54,778     $96.28                                   1,140,512 $1,204,494      $105.61                                          517,920     $542,790    $104.80      365,036     $370,912    $101.61       8,846      $20,940      $236.70     362,475     $376,905    $103.98                    2,464,742                $2,608,256           $105.82
                        SOUTH KOREA                314,375       $667,397    $212.29           0      ‐$2,844                                                                                                                             129        $166     $128.18      906,494 $1,080,797      $119.23 29,422,658 $32,958,941        $112.02                                                       30,643,656               $34,704,457           $113.25
                        TAIWAN                      97,521       $116,771    $119.74     204,060     $105,144     $51.53                                      75,778     $148,141    $195.49     467,040     $296,852     $63.56      171,810     $169,788     $98.82 1,169,446 $1,182,798         $101.14         378         $347       $91.85 4,940,239 $2,878,264         $58.26                    7,126,272                $4,898,105            $68.73
                        THAILAND                                                                                                                                                                                                                                                                                                                   7,585,444 $3,464,288       $45.67                    7,585,444                $3,464,288            $45.67
                        TRINIDAD                   106,752       $107,088    $100.31                                                                                                                                                  216,240     $208,658     $96.49                                                                                                                                     322,992                  $315,747            $97.76
                        UKRAINE                                                                                                                                  115         $292    $253.50                                               60         $147    $244.33        1,084       $3,254    $300.23                                                                                                  1,259                    $3,692           $293.29
                        UNKNOWN COUNTRY                                                                                                                       10,181      $11,170    $109.71                                                                                                                                                                                                               10,181                   $11,170           $109.71
                        VIETNAM                                                                                                                                                                                                       161,880     $160,652     $99.24                                                                                                                                     161,880                  $160,652            $99.24
         EXPORT Total                           23,028,464    $49,324,277    $214.19 248,207,558 $199,457,843     $80.36 1,673,786   $766,131     $45.77 129,586,578 $200,613,261    $154.81 192,820,023 $175,679,298     $91.11 38,658,730 $42,587,594       $110.16 36,660,676 $41,693,078      $113.73 57,315,107 $76,177,818         $132.91 81,528,333 $82,161,422     $100.78                   809,479,256              $868,460,722           $107.29
2017 Total                                     587,787,033 $1,039,316,769    $176.82 809,693,858 $740,771,671     $91.49 7,657,036 $3,800,178     $49.63 529,166,785 $780,372,942    $147.47 935,112,580 $527,520,642     $56.41 277,957,132 $266,534,217      $95.89 199,850,657 $281,273,967     $140.74 323,516,427 $369,292,924      $114.15 398,225,126 $173,477,408     $43.56                4,068,966,634            $4,182,360,717           $102.79
   2018 DOMESTIC        UNITED STATES           10,059,594    $13,901,645    $138.19 11,155,105 $9,867,703        $88.46    77,355    $32,168     $41.58 3,005,086 $3,334,886        $110.97 6,454,468 $2,600,434         $40.29 4,432,061 $4,059,530          $91.59 3,564,406 $4,946,434         $138.77 3,435,644 $3,700,275          $107.70 3,487,694 $3,653,334        $104.75                   45,671,412               $46,096,409           $100.93
                        #N/A                   562,778,737 $831,850,171      $147.81 553,132,891 $487,614,005     $88.15 7,083,271 $3,554,080     $50.18 388,538,401 $536,805,506    $138.16 733,730,790 $331,574,101     $45.19 224,406,511 $198,502,018      $88.46 146,843,898 $222,666,173     $151.63 233,145,186 $263,708,884      $113.11 308,753,236 $93,904,862      $30.41                3,158,412,920            $2,970,179,800            $94.04
         DOMESTIC Total                        572,838,330 $845,751,816      $147.64 564,287,996 $497,481,708     $88.16 7,160,626 $3,586,248     $50.08 391,543,487 $540,140,391    $137.95 740,185,258 $334,174,535     $45.15 228,838,572 $202,561,548      $88.52 150,408,304 $227,612,607     $151.33 236,580,830 $267,409,159      $113.03 312,240,930 $97,558,196      $31.24                3,204,084,331            $3,016,276,209            $94.14
           EXPORT       AMERICAS                     2,814         $2,697     $95.87      41,596      $21,433     $51.53         0         $0                247,715     $292,522    $118.09                                          142,967     $125,515     $87.79      222,484     $319,040    $143.40      52,312      $57,839      $110.56      96,180      $74,987     $77.97                      806,067                  $894,033           $110.91
                        AUSTRALIA                                                     31,540,837 $34,383,211     $109.01                                   5,337,356 $5,935,845      $111.21                                        2,092,770 $2,057,993       $98.34                                                                                                                                  38,970,963               $42,377,049           $108.74
                        AZERBAIJAN                                                                                                                            15,058      $16,302    $108.26                                                                                                                                                                                                               15,058                   $16,302           $108.26
                        BARBADOS                     1,470         $2,029    $138.08                                                                          20,171      $37,181    $184.33                                                                                16,862      $24,011    $142.39                                                                                                 38,503                   $63,221           $164.20
                        BERMUDA                                                                                                                              218,387     $314,185    $143.87                                           19,976      $16,934     $84.77       24,827      $39,449    $158.90      68,481      $80,221      $117.14                                                          331,671                  $450,790           $135.91
                        CANADA                     375,679       $713,634    $189.96 5,449,561 $6,374,343        $116.97                                  37,475,649 $54,110,194     $144.39 2,711,543 $1,215,151         $44.81 2,956,071 $2,994,528         $101.30 2,663,247 $4,275,152         $160.52 1,622,835 $2,255,005          $138.95 7,767,120 $3,003,360         $38.67                   61,021,705               $74,941,368           $122.81
                        CHILE                                                          5,328,640 $5,412,891      $101.58                                     161,188     $181,200    $112.42      40,020      $14,499     $36.23      748,830     $672,722     $89.84 1,075,187 $1,402,119         $130.41                                                                                              7,353,865                $7,683,431           $104.48
                        CHINA                                                            351,966     $166,668     $47.35                                      26,189      $46,848    $178.88 3,639,047 $2,648,970         $72.79       50,730      $49,408     $97.39 1,212,023 $1,606,711         $132.56      99,513     $216,443      $217.50 7,683,784 $22,107,255       $287.71                   13,063,252               $26,842,303           $205.48
                        COLOMBIA                   392,102       $318,535     $81.24 1,141,428 $1,067,298         $93.51                                   2,989,076 $3,119,846      $104.37 3,147,054 $1,937,428         $61.56 1,714,563 $1,590,677          $92.77 19,967,957 $18,298,411        $91.64     107,940     $101,765       $94.28     323,340     $102,621     $31.74                   29,783,461               $26,536,581            $89.10
                        COSTA RICA                 647,398       $871,574    $134.63                                                                                                              84,000      $57,120     $68.00      205,654     $194,080     $94.37      115,925     $208,025    $179.45                                                                                              1,052,976                $1,330,799           $126.38
                        DOMINICAN REP               53,430        $46,006     $86.11 1,323,696 $1,634,244        $123.46                                       4,911       $6,006    $122.31 3,800,642 $2,587,806         $68.09      490,170     $413,024     $84.26      107,294      $87,062     $81.14                                                                                              5,780,142                $4,774,148            $82.60
                        EL SALVADOR                                                       88,374      $97,095    $109.87                                     196,103     $195,764     $99.83     111,363      $75,180     $67.51       94,890      $83,950     $88.47                                           74,055      $87,974      $118.80                                                          564,784                  $539,963            $95.61
                        GUAM                        41,680       $131,902    $316.46                                                                         326,923     $393,884    $120.48                                           37,369      $36,379     $97.35      457,666     $702,804    $153.56     199,546     $280,953      $140.80                                                        1,063,185                $1,545,923           $145.40
                        GUATEMALA                  209,443       $291,392    $139.13     121,737      $69,061     $56.73                                      97,171     $114,123    $117.45     983,087     $627,845     $63.86      468,952     $429,637     $91.62        1,979       $3,014    $152.28                                            40,980      $14,138     $34.50                    1,923,349                $1,549,210            $80.55
                        HONDURAS                    17,294        $25,135    $145.34           0           $0                                              2,665,473 $2,108,114       $79.09     124,440      $71,835     $57.73 1,979,040 $1,999,827         $101.05 4,705,402 $4,528,415          $96.24                                                                                              9,491,650                $8,733,327            $92.01
                        HONG KONG                   30,039        $42,738    $142.28                                                                       2,010,330 $3,374,461      $167.86 92,552,566 $59,846,388       $64.66                                           481,196     $506,008    $105.16 1,684,485 $3,663,638          $217.49 15,916,366 $27,032,262      $169.84                  112,674,983               $94,465,495            $83.84
                        JAPAN                   16,770,663    $38,739,165    $230.99 3,862,429 $5,996,088        $155.24                                  63,472,229 $102,238,723    $161.08 76,712,647 $95,209,056      $124.11 16,039,084 $18,473,768       $115.18      289,127     $374,201    $129.42 21,861,879 $36,055,416        $164.92 5,880,106 $8,455,732        $143.80                  204,888,164              $305,542,149           $149.13
                        MALAYSIA                    52,802        $70,201    $132.95                                                                         214,676     $240,530    $112.04                                            1,230         $821     $66.71      165,834     $224,653    $135.47       4,231       $5,249      $124.04                                                          438,773                  $541,453           $123.40
                        MEXICO                   1,661,948     $1,644,847     $98.97 200,443,314 $128,415,817     $64.07   270,048   $116,647     $43.19 2,045,282 $2,375,202        $116.13 15,703,355 $6,381,943        $40.64 1,882,472 $1,824,245          $96.91 3,369,189 $3,135,544          $93.07     609,571     $657,773      $107.91 23,714,670 $14,464,161       $60.99                  249,699,849              $159,016,178            $63.68
                        MYANMAR                                                                                                                                4,095       $7,873    $192.23                                                                                 3,669       $6,834    $186.26         108         $127      $117.26                                                            7,873                   $14,834           $188.42
                        NEW ZEALAND                                                      106,147     $120,497    $113.52                                                                                                                                                                                                                                                                                  106,147                  $120,497           $113.52
                        NICARAGUA                                                                                                                                                                                                      77,760      $66,090     $84.99                                                                                                                                      77,760                   $66,090            $84.99
                        PANAMA                     215,322       $265,406    $123.26     378,240     $364,500     $96.37                                     217,741     $206,700     $94.93 1,331,500       $515,199     $38.69      387,834     $412,923    $106.47       54,335      $89,738    $165.16                                                                                              2,584,971                $1,854,467            $71.74
                        PERU                       461,469       $423,906     $91.86     375,618     $328,919     $87.57                                     120,928     $155,215    $128.35                                                                               105,759     $194,676    $184.08                                                                                              1,063,775                $1,102,715           $103.66
                        PHILIPPINES                 36,031        $69,540    $193.00                                           200        $24     $12.06      63,373      $64,837    $102.31                                          121,410     $117,604     $96.86       47,252      $63,640    $134.68     ‐24,694     ‐$30,980      $125.45 1,733,700 $1,400,150         $80.76                    1,977,271                $1,684,816            $85.21
                        PUERTO RICO                                                      231,584     $219,679     $94.86                                   3,385,399 $4,407,116      $130.18                                          568,661     $491,463     $86.42 1,119,863 $1,767,036         $157.79 1,916,717 $2,019,770          $105.38      59,310      $61,357    $103.45                    7,281,534                $8,966,421           $123.14
                        SINGAPORE                   48,615        $45,730     $94.07                                                                          30,835      $37,056    $120.17                                           52,020      $53,335    $102.53      308,432     $312,279    $101.25                                           460,290     $709,919    $154.23                      900,193                $1,158,318           $128.67
                        SOUTH KOREA                302,211       $714,314    $236.36                                                                         321,282     $623,576    $194.09     146,672      $83,348     $56.83 1,308,926 $1,237,896          $94.57 1,897,038 $2,498,164         $131.69 40,804,365 $48,726,497        $119.41      48,131      $86,367    $179.44                   44,828,624               $53,970,162           $120.39
                        TAIWAN                     374,139       $370,571     $99.05                                                                          51,127     $123,862    $242.26 1,126,458       $637,103     $56.56      364,430     $353,291     $96.94 1,110,787 $1,196,485         $107.72                                         1,630,944 $2,444,988      $149.91                    4,657,886                $5,126,301           $110.06
                        TRINIDAD                   447,352       $485,990    $108.64                                                                                                                                                                                                                                                                                                                      447,352                  $485,990           $108.64
                        UKRAINE                                                                                                                                                                                                                                              2,344       $4,947    $211.07                                                                                                  2,344                    $4,947           $211.07
                        VIETNAM                                                                                                                                                                                                        54,870      $42,799     $78.00                                                                                                                                      54,870                   $42,799            $78.00
         EXPORT Total                           22,141,901    $45,275,314    $204.48 250,785,166 $184,671,744     $73.64   270,248   $116,671     $43.17 121,718,666 $180,727,166    $148.48 202,214,394 $171,908,871     $85.01 31,860,679 $33,738,909       $105.90 39,525,679 $41,868,419      $105.93 69,081,343 $94,177,689         $136.33 65,354,921 $79,957,296     $122.34                   802,952,998              $832,442,080           $103.67
2018 Total                                     594,980,232 $891,027,130      $149.76 815,073,162 $682,153,452     $83.69 7,430,874 $3,702,919     $49.83 513,262,153 $720,867,558    $140.45 942,399,652 $506,083,406     $53.70 260,699,251 $236,300,457      $90.64 189,933,982 $269,481,026     $141.88 305,662,173 $361,586,848      $118.30 377,595,851 $177,515,492     $47.01                4,007,037,329            $3,848,718,288            $96.05
   2019 DOMESTIC        UNITED STATES           10,166,911    $16,305,880    $160.38 8,355,868 $7,602,970         $90.99       200       $124     $61.90 4,459,770 $4,789,689        $107.40 4,304,440 $1,965,931         $45.67 12,370,261 $12,861,380       $103.97 4,919,374 $5,722,880         $116.33 2,970,958 $3,114,066          $104.82 6,466,793 $5,562,591         $86.02                   54,014,576               $57,925,510           $107.24
                        #N/A                   561,390,092 $906,624,477      $161.50 552,618,853 $509,469,485     $92.19 5,904,067 $3,720,264     $63.01 387,700,380 $550,261,451    $141.93 752,429,596 $346,872,584     $46.10 227,244,454 $207,256,167      $91.20 149,985,315 $227,650,573     $151.78 238,353,479 $263,718,002      $110.64 294,864,450 $92,549,192      $31.39                3,170,490,686            $3,108,122,196            $98.03
         DOMESTIC Total                        571,557,003 $922,930,357      $161.48 560,974,721 $517,072,454     $92.17 5,904,267 $3,720,388     $63.01 392,160,151 $555,051,140    $141.54 756,734,036 $348,838,515     $46.10 239,614,716 $220,117,547      $91.86 154,904,689 $233,373,453     $150.66 241,324,438 $266,832,068      $110.57 301,331,243 $98,111,783      $32.56                3,224,505,262            $3,166,047,706            $98.19
           EXPORT       ALBANIA                    108,564        $57,756     $53.20     199,210     $142,563     $71.56                                                                                                                                                                                                                              53,520      $32,767     $61.22                      361,294                  $233,086            $64.51
                        AMERICAS                                                         702,000     $552,446     $78.70                                     305,197     $329,734    $108.04     137,680      $54,417     $39.52      208,450     $186,375     $89.41      160,870     $218,885    $136.06      59,303      $65,025      $109.65     179,400     $129,136     $71.98                    1,752,899                $1,536,018            $87.63
                        AUSTRALIA                        0             $0             23,881,832 $23,790,467      $99.62                                   7,902,548 $9,515,370      $120.41                                                0      ‐$3,259                                                                                                                                             31,784,380               $33,302,579           $104.78
                        AZERBAIJAN                                                         1,701       $1,529     $89.90                                      19,520      $28,063    $143.76                                            3,785       $3,024     $79.90        9,866      $14,987    $151.90       3,143       $4,146      $131.90                                                           38,016                   $51,748           $136.12
                        BARBADOS                                                                                                                               3,350       $3,744    $111.76                                                                                 5,511       $7,380    $133.92                                                                                                  8,861                   $11,124           $125.54
                        BERMUDA                                                                                                                              100,317     $164,846    $164.33                                            5,410       $4,859     $89.82       13,193      $21,602    $163.73      34,013      $44,140      $129.77                                                          152,933                  $235,447           $153.95
                        CANADA                   2,278,473     $4,795,884    $210.49 6,434,832 $7,129,973        $110.80                                  39,855,763 $57,998,324     $145.52 9,843,025 $7,892,658         $80.19 1,465,668 $1,327,621          $90.58 3,575,419 $5,679,713         $158.85 2,385,868 $3,226,030          $135.21 8,507,880 $3,295,820         $38.74                   74,346,927               $91,346,022           $122.86
                        CHILE                                                         11,893,505 $11,982,057     $100.74                                      77,492      $60,459     $78.02     291,660      $91,653     $31.42      270,000     $318,600    $118.00      178,688     $229,119    $128.22      15,513      $18,424      $118.77                                                       12,726,858               $12,700,313            $99.79
                        CHINA                        1,134          ‐$154    ‐$13.60 4,237,943 $4,720,632        $111.39                                     232,912     $336,094    $144.30 3,387,767 $2,092,165         $61.76      751,721     $796,637    $105.98 1,129,540 $2,095,973         $185.56     103,295     $222,921      $215.81 10,251,555 $26,245,625      $256.02                   20,095,867               $36,509,892           $181.68
                        COLOMBIA                   810,280       $591,478     $73.00 5,465,102 $3,891,937         $71.21                                   9,092,341 $9,411,030      $103.51 6,573,580 $3,998,765         $60.83 3,823,333 $3,351,755          $87.67 15,922,049 $14,011,100        $88.00                                           486,060     $242,331     $49.86                   42,172,744               $35,498,396            $84.17
                        COSTA RICA                 470,615       $532,232    $113.09                                                                          82,688      $57,882     $70.00      52,260       $8,234     $15.75      213,450     $186,146     $87.21      172,792     $192,833    $111.60                                                                                                991,805                  $977,326            $98.54
                        DOMINICAN REP               81,564        $98,563    $120.84 5,113,146 $4,494,915         $87.91                                      28,219      $29,450    $104.36     469,470     $264,605     $56.36      277,620     $324,977    $117.06      298,958     $252,155     $84.34                                                                                              6,268,977                $5,464,665            $87.17
                        ECUADOR                                                                                                                               42,201      $32,883     $77.92                                                                                                                                                                                                               42,201                   $32,883            $77.92
                        EGYPT                                                                                                                                                                                                                                               ‐1,519      ‐$2,332    $153.54                                                                                                 ‐1,519                   ‐$2,332           $153.54
                        EL SALVADOR                 52,798        $44,776     $84.81     205,398     $143,365     $69.80                                     175,585     $157,313     $89.59                                           89,850      $71,921     $80.05       15,617      $17,168    $109.93      37,149      $42,187      $113.56                                                          576,398                  $476,730            $82.71
                        GEORGIA                                                          164,722      $78,952     $47.93                                                                                                                                                                                                                                                                                  164,722                   $78,952            $47.93
                        GUAM                        37,334       $137,632    $368.65                                                                         328,950     $388,605    $118.14                                           36,716      $36,969    $100.69      457,244     $687,540    $150.37     208,855     $292,490      $140.04                                                        1,069,098                $1,543,236           $144.35
                        GUATEMALA                   10,000        $14,701    $147.00     690,642     $648,323     $93.87                                     227,359     $203,582     $89.54     410,160     $302,822     $73.83      537,300     $472,206     $87.89                                                                                                                                   1,875,462                $1,641,633            $87.53
                        HONDURAS                                                         526,564     $509,908     $96.84                                   3,567,045 $2,639,088       $73.99     382,417     $222,620     $58.21 1,997,688 $2,018,043         $101.02 4,867,996 $4,352,085          $89.40                                                                                             11,341,709                $9,741,745            $85.89
                        HONG KONG                    7,283        $10,337    $141.95         593         $745    $125.62                                   2,019,180 $3,559,913      $176.30 55,080,452 $17,970,618       $32.63          540         $575    $106.54      645,444     $818,529    $126.82 2,295,005 $4,979,510          $216.97 13,026,414 $15,684,159      $120.40                   73,074,911               $43,024,387            $58.88
                        INDONESIA                                                                                                                               ‐255        ‐$250     $98.00                                                                                                                                                                                                                 ‐255                     ‐$250            $98.00
                        JAPAN                   17,771,099    $42,299,594    $238.02 3,004,165 $4,540,651        $151.15    54,081    $45,189     $83.56 62,522,669 $102,194,190     $163.45 61,594,502 $68,891,834      $111.85 12,859,901 $17,091,638       $132.91       11,889      $18,736    $157.59 20,223,471 $33,687,872        $166.58 5,137,245 $8,200,867        $159.64                  183,179,020              $276,970,571           $151.20
                        KAZAKHSTAN                                                                                                                               194         $546    $281.81                                                                                   595       $1,069    $179.65                                                                                                    789                    $1,615           $204.73
                        MALAYSIA                     6,450         $4,004     $62.07                                                                         146,684     $173,681    $118.40                                                                                83,988     $104,774    $124.75      11,231      $13,849      $123.31       4,440       $3,978     $89.59                      252,793                  $300,285           $118.79
                        MEXICO                   4,002,923     $4,425,191    $110.55 195,747,603 $129,662,309     $66.24   821,141   $460,306     $56.06 3,660,407 $4,705,747        $128.56 24,736,476 $8,216,472        $33.22      891,681     $808,120     $90.63 6,702,336 $5,612,570          $83.74     500,345     $533,078      $106.54 28,911,904 $13,955,151       $48.27                  265,974,816              $168,378,944            $63.31
                        MYANMAR                                                                                                                                3,107       $4,973    $160.06                                                                                 3,463       $6,070    $175.29       3,402       $4,230      $124.34                                                            9,972                   $15,273           $153.16
                        NEW ZEALAND                                                       53,040      $53,544    $100.95                                   1,267,712 $1,370,028      $108.07      52,920      $57,683    $109.00      160,890     $163,762    $101.78                                                                                                                                   1,534,562                $1,645,016           $107.20
                        NICARAGUA                                                                                                                            121,489     $118,296     $97.37                                                                                39,120      $51,294    $131.12                                                                                                160,608                  $169,590           $105.59
                        PANAMA                     425,317       $365,441     $85.92 1,081,674       $959,227     $88.68                                     107,242     $105,377     $98.26 1,984,766       $529,349     $26.67      399,870     $399,688     $99.95       53,513      $93,383    $174.51                                                                                              4,052,381                $2,452,465            $60.52
                        PERU                       493,450       $398,042     $80.66     217,003     $215,029     $99.09                                      76,169      $63,598     $83.50                                                                                45,838      $83,654    $182.50                                                                                                832,461                  $760,322            $91.33
                        PHILIPPINES                 11,537        $21,213    $183.87         300         $335    $111.56                                      30,093      $30,867    $102.57       1,655         $624     $37.68        3,228       $3,726    $115.42       57,682      $74,957    $129.95      20,074      $22,717      $113.17 1,942,260 $1,303,736         $67.12                    2,066,828                $1,458,173            $70.55
                        PUERTO RICO                 44,452        $53,121    $119.50     366,839     $307,067     $83.71                                   4,951,796 $6,073,209      $122.65       1,220         $925     $75.79 2,276,038 $1,914,487          $84.11 1,068,223 $1,624,154         $152.04 1,495,036 $1,469,711           $98.31      76,460      $24,245     $31.71                   10,280,064               $11,466,919           $111.55
                        SINGAPORE                    2,882         $2,882    $100.00                                                                           9,867      $10,221    $103.60         217         $158     $72.96                                           440,123     $465,692    $105.81       5,655       $5,655      $100.00      51,570     $102,955    $199.64                      510,314                  $587,564           $115.14
                        SOUTH KOREA              1,726,329     $4,058,580    $235.10                                            16        $44    $267.20 1,265,738 $2,364,568        $186.81     640,013     $354,342     $55.36 3,904,469 $3,507,383          $89.83      581,118     $748,153    $128.74 38,967,902 $46,199,539        $118.56     568,210 $1,244,746      $219.06                   47,653,794               $58,477,355           $122.71
                        TAIWAN                      42,714        $39,135     $91.62         106         $248    $235.24                                     184,535     $173,569     $94.06 1,588,700       $426,982     $26.88      204,368     $181,087     $88.61 1,469,703 $1,326,414          $90.25           0           $0                  935,505 $1,345,199      $143.79                    4,425,631                $3,492,635            $78.92
                        UNIT. ARAB EMR                                                    53,310      $42,862     $80.40                                                                                                                                                                                                                                                                                   53,310                   $42,862            $80.40
                        VENEZUELA                                                         39,717      $31,774     $80.00                                                                                                                                                                                                                                                                                   39,717                   $31,774            $80.00
                        VIETNAM                         47           $179    $380.42                                                                                                           2,539,022     $627,532     $24.72      100,060     $138,616    $138.53       14,037      $16,760    $119.40                                                30          $13     $41.80                    2,653,196                  $783,099            $29.52
         EXPORT Total                           28,385,244    $57,950,585    $204.16 260,080,947 $193,900,859     $74.55   875,238   $505,539     $57.76 138,408,111 $202,305,000    $146.17 169,767,963 $112,004,456     $65.98 30,482,034 $33,304,955       $109.26 38,023,294 $38,824,417      $102.11 66,369,259 $90,831,523         $136.86 70,132,453 $71,810,729     $102.39                   802,524,544              $801,438,064            $99.86
2019 Total                                     599,942,247 $980,880,942      $163.50 821,055,668 $710,973,313     $86.59 6,779,505 $4,225,928     $62.33 530,568,261 $757,356,140    $142.74 926,501,999 $460,842,971     $49.74 270,096,749 $253,422,503      $93.83 192,927,983 $272,197,870     $141.09 307,693,697 $357,663,591      $116.24 371,463,696 $169,922,512     $45.74                4,027,029,806            $3,967,485,770            $98.52
   2020 DOMESTIC        UNITED STATES           13,775,930    $16,864,339    $122.42 5,037,240 $5,347,869        $106.17                                   5,592,955 $6,054,461      $108.25 5,948,853 $3,916,201         $65.83 7,836,009 $7,594,675          $96.92 3,771,980 $5,081,480         $134.72 4,064,952 $3,814,967           $93.85 2,907,121 $2,737,937         $94.18                   48,935,040               $51,411,928           $105.06
                        #N/A                   559,187,170 $760,917,433      $136.08 553,966,814 $536,204,495     $96.79 3,124,417 $1,856,701     $59.43 402,426,948 $616,844,729    $153.28 743,432,497 $353,700,461     $47.58 207,315,862 $212,774,241     $102.63 155,852,939 $254,173,287     $163.09 245,602,088 $267,234,315      $108.81 294,779,338 $108,128,709     $36.68                3,165,688,072            $3,111,834,371            $98.30
         DOMESTIC Total                        572,963,100 $777,781,772      $135.75 559,004,055 $541,552,364     $96.88 3,124,417 $1,856,701     $59.43 408,019,903 $622,899,190    $152.66 749,381,350 $357,616,662     $47.72 215,151,871 $220,368,916     $102.42 159,624,918 $259,254,766     $162.41 249,667,040 $271,049,282      $108.56 297,686,459 $110,866,646     $37.24                3,214,623,112            $3,163,246,299            $98.40
           EXPORT       AFGHANISTAN                                                       40,320      $42,336    $105.00                                                                                                                                                                                                                              40,320      $20,966     $52.00                       80,640                   $63,302            $78.50
                        ALBANIA                          0             $0                                                                                                                                                             484,501     $381,542     $78.75                                            6,433       $6,523      $101.40                                                          490,934                  $388,065            $79.05
                        AMERICAS                    97,676       $154,836    $158.52     166,235     $192,892    $116.04                                     499,736     $573,873    $114.84     172,011      $68,997     $40.11      821,040     $496,223     $60.44      459,426     $685,209    $149.14     232,777     $262,885      $112.93     119,705     $102,986     $86.03                    2,568,606                $2,537,901            $98.80
                        AUSTRALIA                  155,279        $84,702     $54.55 12,568,755 $16,529,220      $131.51                                   6,566,726 $6,941,307      $105.70                                        1,597,711 $1,754,322      $109.80       ‐1,555      ‐$1,400     $90.00                                                                                             20,886,915               $25,308,151           $121.17
                        AUSTRIA                                                        1,003,665 $1,336,024      $133.11                                                                                                                                                                                                                                                                                1,003,665                $1,336,024           $133.11
                        BERMUDA                                                                                                                              106,754     $173,688    $162.70                                           13,890      $13,910    $100.15       13,380      $23,897    $178.61      31,763      $38,073      $119.87                                                          165,786                  $249,569           $150.54
                        CAMBODIA                                                               0        ‐$314                                                                                                                                                                                                                                                                                                   0                     ‐$314
                        CANADA                   8,237,951    $11,265,387    $136.75 9,814,147 $6,371,132         $64.92                                  41,433,007 $70,630,160     $170.47 8,659,919 $8,542,076         $98.64 1,897,456 $2,102,897         $110.83 4,792,175 $9,887,948         $206.34 6,587,147 $8,776,550          $133.24 7,971,737 $4,693,426         $58.88                   89,393,539              $122,269,575           $136.78
                        CHILE                      881,491       $788,265     $89.42 11,254,377 $13,163,087      $116.96                                     809,104     $864,248    $106.82     159,960      $78,645     $49.17 2,596,950 $2,630,526         $101.29      880,677 $1,291,299      $146.63                                                                                             16,582,558               $18,816,070           $113.47
                                        PRIMAL GROUP
                                        BELLIES
                                                           Values
                                                                                     HAMS
                                                                                                     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 8 of 10
                                                                                                                         JOWLS                           LOINS                               MISC                                PICNICS                              RIBS                                 SHOULDER                              VMEATS                              Total WEIGHT                   Total FOB $$              Total FOB_PRICE
YEAR    GROUP           EXPCOUNTRYNAME WEIGHT              FOB $$         FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT FOB $$         FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT        FOB $$       FOB_PRICE WEIGHT       FOB $$       FOB_PRICE    WEIGHT      FOB $$       FOB_PRICE
                        CHINA                    2,050,630     $2,833,566    $138.18 68,437,429 $48,724,797       $71.20                                   2,271,228 $2,497,793      $109.98 47,858,471 $35,258,496       $73.67 8,255,699 $8,498,174         $102.94 4,932,158 $6,772,749         $137.32     242,147     $232,153       $95.87 25,699,195 $43,232,302      $168.22                  159,746,958              $148,050,029            $92.68
                        COLOMBIA                   534,079       $373,336     $69.90 1,385,101       $830,598     $59.97                                   3,790,047 $3,139,651       $82.84 2,156,402 $1,331,011         $61.72                                       11,568,157 $11,167,742       $96.54                                           270,000     $155,620     $57.64                   19,703,786               $16,997,959            $86.27
                        COSTA RICA                 547,613       $471,810     $86.16     118,842      $43,509     $36.61                                       5,822      $12,402    $213.00      40,320      $30,240     $75.00                                            66,053     $114,141    $172.80                                           162,000      $74,520     $46.00                      940,650                  $746,622            $79.37
                        DOMINICAN REP                                                  3,214,523 $2,804,648       $87.25                                                                          54,000      $12,960     $24.00 1,558,270 $1,894,784         $121.60                                          112,711     $136,415      $121.03                                                        4,939,504                $4,848,807            $98.16
                        ECUADOR                                                                                                                                1,078       $1,106    $102.62      41,829      $22,506     $53.80                                                                                                                                                                           42,907                   $23,612            $55.03
                        EL SALVADOR                 40,758        $37,905     $93.00     216,406     $181,824     $84.02                                                                                                                                                                                                                                                                                  257,164                  $219,729            $85.44
                        GEORGIA                                                                                                                                                                   54,000      $27,818     $51.51                                                                                                                                                                           54,000                   $27,818            $51.51
                        GUAM                        64,746       $167,516    $258.73                                                                         355,650     $470,984    $132.43                                           38,869      $39,351    $101.24      492,620     $776,527    $157.63     244,343     $317,853      $130.08        ‐385        ‐$261     $67.94                    1,195,843                $1,771,969           $148.18
                        GUATEMALA                  577,251       $536,586     $92.96     525,602     $235,863     $44.87                                     287,114     $232,350     $80.93      40,860      $26,845     $65.70      300,900     $327,716    $108.91       64,010      $61,024     $95.33         519         $568      $109.48                                                        1,796,256                $1,420,952            $79.11
                        HONDURAS                                                         453,340     $244,209     $53.87     9,400     $6,556     $69.75 3,322,176 $2,576,777         $77.56     323,310     $157,995     $48.87      807,780     $888,312    $109.97 4,945,399 $4,900,052          $99.08      11,128      $11,974      $107.61                                                        9,872,533                $8,785,876            $88.99
                        HONG KONG                  321,717       $396,162    $123.14         120         $252    $209.78                                   2,166,358 $3,582,252      $165.36 13,808,957 $4,308,346        $31.20       46,095      $38,073     $82.60      427,152     $550,285    $128.83 2,652,431 $5,719,950          $215.65 6,655,324 $7,417,089        $111.45                   26,078,154               $22,012,409            $84.41
                        JAPAN                   21,038,339    $46,218,687    $219.69 3,566,156 $5,387,906        $151.08                                  72,512,536 $124,041,279    $171.06 70,822,652 $94,607,032      $133.58 17,965,979 $23,951,393       $133.32      104,757     $254,094    $242.56 18,925,900 $31,820,840        $168.13 4,194,261 $6,925,155        $165.11                  209,130,579              $333,206,385           $159.33
                        MACEDONIA‐FYROM                                                    4,740       $3,596     $75.85                                                                          50,340      $38,502     $76.48                                                                                                                                                                           55,080                   $42,098            $76.43
                        MALAYSIA                    51,483        $54,291    $105.46      20,491      $15,224     $74.30                                     178,375     $195,484    $109.59                                            4,650       $4,007     $86.18       47,688      $75,046    $157.37      11,352      $14,901      $131.26         720         $663     $92.08                      314,759                  $359,616           $114.25
                        MEXICO                   3,466,700     $3,151,645     $90.91 176,995,686 $118,796,790     $67.12   200,545   $116,648     $58.17 3,093,664 $2,491,113         $80.52 18,693,515 $6,043,216        $32.33      402,506     $370,494     $92.05 10,013,727 $8,966,526         $89.54     294,303     $316,528      $107.55 23,486,493 $13,739,996       $58.50                  236,647,140              $153,992,956            $65.07
                        NICARAGUA                                                         55,803      $59,232    $106.14                                                                            ‐240         ‐$96     $40.00       40,890      $40,620     $99.34      ‐15,265     ‐$30,987    $203.00                                                                                                 81,188                   $68,768            $84.70
                        PANAMA                   1,541,293     $1,201,749     $77.97     579,015     $514,889     $88.92                                     786,385     $761,585     $96.85     365,550      $82,971     $22.70                                                                                                                                                                        3,272,244                $2,561,193            $78.27
                        PERU                       323,407       $339,416    $104.95     642,096     $754,181    $117.46                                      20,584      $34,132    $165.81                                                                                96,070     $193,613    $201.53                                                                                              1,082,158                $1,321,342           $122.10
                        PHILIPPINES              2,218,811     $1,869,673     $84.26 2,169,708       $929,304     $42.83                                      79,234     $110,652    $139.65     158,135     $112,678     $71.25      550,817     $441,576     $80.17       20,596      $33,698    $163.61      61,023      $70,401      $115.37                                                        5,258,324                $3,567,982            $67.85
                        PUERTO RICO                                                      211,490     $217,456    $102.82                                   4,512,441 $6,135,400      $135.97      41,420      $32,202     $77.75 2,413,535 $2,232,775          $92.51 1,374,588 $2,046,421         $148.88 3,117,441 $2,771,465           $88.90      30,420      $29,384     $96.59                   11,701,335               $13,465,103           $115.07
                        SOUTH KOREA              1,235,830     $2,907,651    $235.28                                        15,251    $42,570    $279.13     721,917 $1,628,835      $225.63      93,179      $38,645     $41.47      241,110     $258,335    $107.14      660,532     $740,789    $112.15 27,170,270 $31,512,702        $115.98 2,312,250 $4,467,331        $193.20                   32,450,339               $41,596,859           $128.19
                        TAHITI                                                            36,000      $39,600    $110.00                                                                                                                                                                                                                                                                                   36,000                   $39,600           $110.00
                        TAIWAN                     231,230       $148,681     $64.30      31,072       $9,740     $31.35                                     559,339     $688,274    $123.05                                          637,200     $652,950    $102.47 1,566,431 $1,028,673          $65.67      29,259      $62,580      $213.88     245,910     $295,896    $120.33                    3,300,440                $2,886,793            $87.47
                        TRINIDAD                   356,264       $253,268     $71.09      53,648      $24,299     $45.29                                                                                                                                                                                                                                                                                  409,912                  $277,566            $67.71
                        UKRAINE                         56            $98    $174.59 1,204,060       $429,160     $35.64                                         356         $526    $147.83                                                                                   651       $1,131    $173.68                                                                                              1,205,123                  $430,915            $35.76
                        UNIT. ARAB EMR                                                    55,997      $25,754     $45.99                                                                                                                                                                                                                                                                                   55,997                   $25,754            $45.99
                        UNKNOWN COUNTRY                                                                                                                                                                                                18,942      $13,000     $68.63                                                                                                                                      18,942                   $13,000            $68.63
                        URUGUAY                                                                                                                               13,145      $27,831    $211.73                                                                                90,527     $148,173    $163.68                                                                                                103,671                  $176,004           $169.77
                        VIETNAM                    730,465       $576,885     $78.98     463,705     $256,012     $55.21                                      63,160      $61,287     $97.03 1,863,005       $575,002     $30.86      318,540     $426,134    $133.78 2,300,071 $2,268,191          $98.61      10,073       $8,230       $81.70                                                        5,749,018                $4,171,742            $72.56
         EXPORT Total                           44,703,069    $73,832,116    $165.16 295,288,528 $218,163,218     $73.88   225,196   $165,774     $73.61 144,155,936 $227,872,990    $158.07 165,457,595 $151,396,087     $91.50 41,013,330 $47,457,112       $115.71 44,900,024 $51,954,841      $115.71 59,741,018 $82,080,589         $137.39 71,187,951 $81,155,073     $114.00                   866,672,647              $934,077,801
2020 Total                                     617,666,169 $851,613,888      $137.88 854,292,582 $759,715,582     $88.93 3,349,613 $2,022,475     $60.38 552,175,839 $850,772,181    $154.08 914,838,945 $509,012,749     $55.64 256,165,201 $267,826,028     $104.55 204,524,943 $311,209,607     $152.16 309,408,057 $353,129,872      $114.13 368,874,410 $192,021,719     $52.06                4,081,295,759            $4,097,324,100
   2021 DOMESTIC        UNITED STATES           14,146,627    $30,187,029    $213.39 3,175,616 $3,481,672        $109.64                                   8,108,492 $9,623,139      $118.68 7,541,584 $6,384,604         $84.66 4,845,459 $5,932,400         $122.43 3,312,797 $6,126,105         $184.92 4,323,470 $5,966,730          $138.01 4,234,150 $4,074,314         $96.23                   49,688,196               $71,775,993           $144.45
                        #N/A                   543,129,562 $1,102,823,410    $203.05 486,716,518 $620,173,591    $127.42 1,266,560 $1,186,392     $93.67 387,491,636 $682,794,943    $176.21 723,633,481 $495,519,713     $68.48 213,618,629 $265,623,558     $124.34 146,509,077 $305,742,051     $208.68 255,903,587 $339,705,776      $132.75 278,116,988 $122,001,736     $43.87                3,036,386,040            $3,935,571,169           $129.61
         DOMESTIC Total                        557,276,190 $1,133,010,439    $203.31 489,892,135 $623,655,263   $127.30 1,266,560 $1,186,392      $93.67 395,600,128 $692,418,082    $175.03 731,175,065 $501,904,316     $68.64 218,464,089 $271,555,958     $124.30 149,821,874 $311,868,156     $208.16 260,227,058 $345,672,505      $132.83 282,351,139 $126,076,050     $44.65                3,086,074,236            $4,007,347,162           $129.85
           EXPORT       AFGHANISTAN                                                       40,320      $44,352    $110.00                                                                                                                                                                                                                                                                                   40,320                   $44,352           $110.00
                        AMERICAS                     4,049         $6,056    $149.56 2,509,280 $1,636,423         $65.21                                     427,267     $570,440    $133.51      98,648     $104,817    $106.25      236,934     $260,053    $109.76      239,100     $382,912    $160.15      76,271      $84,683      $111.03     197,241     $270,899    $137.34                    3,788,791                $3,316,282            $87.53
                        AUSTRALIA                                                     18,171,198 $26,748,694     $147.20                                   5,696,048 $6,702,271      $117.67                                          542,160     $526,518     $97.11                                                                                                                                  24,409,405               $33,977,483           $139.20
                        BARBADOS                                                                                                                               1,998       $3,450    $172.66                                                                                 7,892      $12,302    $155.88                                                                                                  9,890                   $15,752           $159.27
                        BERMUDA                                                                                                                               85,602     $165,972    $193.89                                            3,774       $4,454    $118.03       16,401      $38,788    $236.49      25,081      $40,719      $162.35                                                          130,858                  $249,932           $190.99
                        CANADA                   5,660,240    $13,576,246    $239.85 1,432,840 $2,389,028        $166.73                                  43,714,345 $87,085,884     $199.22 7,489,332 $10,153,080       $135.57 2,112,842 $2,703,549         $127.96 4,402,359 $13,163,029        $299.00 6,810,848 $10,797,472         $158.53 5,818,105 $4,176,801         $71.79                   77,440,911              $144,045,089           $186.01
                        CHILE                          ‐66          ‐$101    $152.80 1,515,962 $1,786,028        $117.81                                      49,382      $86,443    $175.05     ‐39,960     ‐$35,564     $89.00 1,544,040 $1,731,215         $112.12      156,930     $283,938    $180.93      94,862      $99,452      $104.84                                                        3,321,150                $3,951,411           $118.98
                        CHINA                    4,068,961     $5,441,615    $133.73 67,216,327 $50,057,580       $74.47                                   4,029,741 $4,417,136      $109.61 80,235,090 $76,857,268       $95.79 2,021,268 $1,387,941          $68.67 8,930,902 $12,623,810        $141.35     512,214 $1,136,131        $221.81 30,964,902 $51,914,033      $167.65                  197,979,406              $203,835,513           $102.96
                        COLOMBIA                    14,750        $32,923    $223.21 2,061,525 $1,675,038         $81.25                                   2,051,800 $2,055,660      $100.19     310,625     $100,401     $32.32      136,158     $178,613    $131.18 12,186,325 $14,830,069       $121.69      12,722      $14,559      $114.44     198,600      $94,551     $47.61                   16,972,504               $18,981,814           $111.84
                        COSTA RICA                 343,884       $573,244    $166.70     123,509      $76,446     $61.90                                     147,953     $201,371    $136.10      38,502      $34,267     $89.00      538,740     $617,022    $114.53       87,051     $104,443    $119.98     246,990     $277,207      $112.23      55,020      $84,731    $154.00                    1,581,648                $1,968,731           $124.47
                        DOMINICAN REP              341,773       $541,148    $158.34 8,386,635 $9,852,725        $117.48                                     174,653     $205,127    $117.45     937,274     $418,638     $44.67      496,810     $580,173    $116.78       55,887      $78,189    $139.91     282,753     $322,634      $114.10      34,890      $33,576     $96.23                   10,710,675               $12,032,210           $112.34
                        ECUADOR                                                                                                                               22,037      $20,363     $92.41                                                                                56,013      $74,374    $132.78                                                                                                 78,049                   $94,737           $121.38
                        EL SALVADOR                 12,864        $22,394    $174.09 1,884,346 $1,621,307         $86.04                                     489,098     $465,891     $95.26      39,960      $35,564     $89.00       38,520      $42,757    $111.00                                          107,608     $152,049      $141.30                                                        2,572,395                $2,339,962            $90.96
                        GEORGIA                                                                                                                                  629       $1,760    $279.97                                                                                   252        $989     $393.34         134         $393      $292.33                                                            1,015                    $3,142           $309.71
                        GUAM                        54,067       $215,528    $398.63                                                                         277,784     $367,261    $132.21                                           30,198      $31,166    $103.21      421,885     $832,749    $197.39     235,588     $358,494      $152.17                                                        1,019,521                $1,805,198           $177.06
                        GUATEMALA                  467,647       $707,557    $151.30 7,072,729 $5,105,092         $72.18                                   1,319,536 $1,324,706      $100.39     218,175     $178,030     $81.60      772,289     $943,130    $122.12      128,578     $186,103    $144.74       7,774      $11,171      $143.69      54,000      $83,160    $154.00                   10,040,727                $8,538,948            $85.04
                        HAITI                                                             25,636      $39,070    $152.41                                                                                                              443,690     $553,505    $124.75                                           52,508      $87,772      $167.16                                                          521,833                  $680,347           $130.38
                        HONDURAS                    15,983        $21,578    $135.00 1,949,104 $1,860,514         $95.45                                   4,573,574 $4,121,282       $90.11                                        1,104,597 $1,299,002      $117.60 6,820,659 $7,949,052         $116.54      24,798      $25,023      $100.90                                                       14,488,715               $15,276,449           $105.44
                        HONG KONG                  227,273       $297,598    $130.94      50,320      $89,157    $177.18                                   2,320,963 $4,619,391      $199.03                                           76,265     $129,636    $169.98      275,575     $502,253    $182.26 2,401,797 $5,511,126          $229.46      49,824      $55,445    $111.28                    5,402,017               $11,204,605           $207.42
                        JAPAN                   20,507,931    $51,122,236    $249.28 2,505,106 $4,310,759        $172.08                                  67,955,453 $117,329,656    $172.66 70,491,966 $100,416,653     $142.45 10,133,684 $14,949,436       $147.52      389,159 $1,243,095      $319.43 15,301,997 $27,302,135        $178.42 5,141,440 $8,534,539        $166.00                  192,426,735              $325,208,509           $169.00
                        MALAYSIA                                                                                                                             128,659     $131,155    $101.94                                                                                21,565      $37,971    $176.08                                                                                                150,224                  $169,126           $112.58
                        MEXICO                   3,543,427     $5,691,670    $160.63 200,517,705 $159,326,043     $79.46   300,333   $332,674    $110.77 4,043,019 $5,259,271        $130.08 16,462,954 $5,724,932        $34.77      227,962     $216,926     $95.16 8,924,819 $10,777,472        $120.76     939,836 $1,015,351        $108.03 16,740,702 $18,556,897      $110.85                  251,700,757              $206,901,235            $82.20
                        NEW ZEALAND                                                      475,930     $693,841    $145.79                                                                                                                                                                                                                                                                                  475,930                  $693,841           $145.79
                        NICARAGUA                                                        397,864     $302,298     $75.98                                     113,792     $140,777    $123.71                                           41,803      $48,400    $115.78                                                                                                                                     553,459                  $491,475            $88.80
                        PANAMA                   1,181,530     $1,193,631    $101.02 1,439,962       $930,819     $64.64                                           0      ‐$3,255                                                     829,380 $1,036,021      $124.92                                                                                                                                   3,450,873                $3,157,216            $91.49
                        PERU                       108,394        $90,328     $83.33                                                                                                                                                                                        42,766      $74,676    $174.61                                                                                                151,160                  $165,004           $109.16
                        PHILIPPINES              1,394,253     $1,658,049    $118.92 1,535,896 $1,768,448        $115.14                                     194,295     $205,022    $105.52                                          143,339     $150,804    $105.21       12,564      $22,853    $181.89      13,057      $16,030      $122.77     369,810     $351,701     $95.10                    3,663,213                $4,172,906           $113.91
                        PUERTO RICO                 53,651       $108,871    $202.92     113,203     $140,600    $124.20     1,100     $1,511    $137.37 5,225,231 $8,209,911        $157.12     266,783     $237,938     $89.19      981,618 $1,221,381      $124.43 2,045,955 $4,433,261         $216.68 3,207,604 $3,401,096          $106.03     239,009     $297,855    $124.62                   12,134,154               $18,052,425           $148.77
                        SINGAPORE                      132           $209    $157.68                                                                          32,631      $34,200    $104.81                                                                                88,049     $140,316    $159.36          33          $69      $207.67                                                          120,845                  $174,793           $144.64
                        SOUTH KOREA              3,169,753     $8,839,108    $278.86        ‐857        ‐$606     $70.70                                     902,486 $2,550,327      $282.59     192,640      $85,438     $44.35       47,283      $57,424    $121.45       64,905      $82,905    $127.73 13,722,685 $17,534,243        $127.78 1,443,060 $2,029,709        $140.65                   19,541,955               $31,178,548           $159.55
                        TAIWAN                      57,669        $77,472    $134.34                                                                          62,716      $59,986     $95.65                                                                               302,965     $332,328    $109.69      22,805      $52,133      $228.61 1,443,408 $1,975,065        $136.83                    1,889,562                $2,496,985           $132.15
                        TRINIDAD                   220,516       $257,891    $116.95                                                                                                                                                  162,000     $168,858    $104.23                                                                                                                                     382,516                  $426,749           $111.56
                        UNKNOWN COUNTRY                                                                                                                                                                                                35,522      $28,773     $81.00                                                                                                                                      35,522                   $28,773            $81.00
                        VIETNAM                     70,752        $68,970     $97.48                                                                           5,100       $5,627    $110.33       9,090       $7,208     $79.30       52,020      $60,212    $115.75       18,523      $21,290    $114.94      54,640      $75,552      $138.27                                                          210,125                  $238,860           $113.67
         EXPORT Total                           41,519,432    $90,544,221    $218.08 319,424,538 $270,453,654     $84.67   301,433   $334,185    $110.87 144,045,789 $246,337,084    $171.01 176,751,079 $194,318,670    $109.94 22,752,893 $28,926,968       $127.14 45,697,080 $68,229,167      $149.31 44,154,606 $68,315,493         $154.72 62,750,010 $88,458,962     $140.97                   857,396,861            $1,055,918,404           $123.15
2021 Total                                     598,795,622 $1,223,554,659    $204.34 809,316,673 $894,108,917   $110.48 1,567,993 $1,520,577      $96.98 539,645,917 $938,755,166    $173.96 907,926,144 $696,222,986     $76.68 241,216,982 $300,482,926     $124.57 195,518,953 $380,097,324     $194.40 304,381,664 $413,987,998      $136.01 345,101,149 $214,535,012     $62.17                3,943,471,097            $5,063,265,566           $128.40
   2022 DOMESTIC        UNITED STATES            2,655,135     $5,798,922    $218.40 2,411,423 $1,936,040         $80.29                                   7,363,782 $6,325,059       $85.89 3,918,385 $3,005,864         $76.71 2,486,904 $2,521,025         $101.37 2,649,744 $4,472,321         $168.78 2,849,823 $3,663,872          $128.56 2,330,055 $2,709,053        $116.27                   26,665,251               $30,432,156           $114.13
                        #N/A                   341,936,494 $739,095,434      $216.15 251,651,950 $294,283,190    $116.94   290,035   $240,254     $82.84 231,443,013 $422,594,535    $182.59 390,121,143 $236,522,413     $60.63 128,607,389 $144,185,399     $112.11 96,455,168 $191,465,124      $198.50 168,889,964 $214,559,307      $127.04 155,942,995 $81,762,107      $52.43                1,765,338,151            $2,324,707,765           $131.69
         DOMESTIC Total                        344,591,629 $744,894,356      $216.17 254,063,373 $296,219,230   $116.59    290,035   $240,254     $82.84 238,806,795 $428,919,594    $179.61 394,039,528 $239,528,278     $60.79 131,094,293 $146,706,424     $111.91 99,104,912 $195,937,446      $197.71 171,739,787 $218,223,179      $127.07 158,273,050 $84,471,160      $53.37                1,792,003,401            $2,355,139,921           $131.42
           EXPORT       AMERICAS                    55,965        $70,560    $126.08 11,059,912 $5,070,887        $45.85         0         $0                970,898     $879,610     $90.60     163,563     $157,536     $96.32      287,331     $264,793     $92.16      277,766     $474,910    $170.98     129,734     $134,217      $103.46      50,160      $75,785    $151.09                   12,995,328                $7,128,297            $54.85
                        AUSTRALIA                   ‐1,920        ‐$4,224    $220.00 6,940,558 $9,755,400        $140.56                                     149,954     $207,642    $138.47                                                                                                                                                                                                            7,088,592                $9,958,819           $140.49
                        BARBADOS                     2,857         $7,618    $266.62                                                                           5,230      $13,341    $255.10                                                                                 6,853      $10,190    $148.69                                                                                                 14,940                   $31,149           $208.49
                        BERMUDA                                                                                                                               46,013      $83,492    $181.45                                            2,088       $2,249    $107.69        7,332      $15,031    $205.00      15,754      $24,409      $154.94                                                           71,188                  $125,181           $175.85
                        CANADA                   1,607,211     $4,536,936    $282.29 1,346,198 $1,401,322        $104.09                                  25,543,126 $46,170,993     $180.76 4,295,509 $5,297,867        $123.34 1,025,197 $1,408,364         $137.37 2,386,971 $7,537,429         $315.77 3,144,988 $5,469,937          $173.93 5,219,100 $3,576,486         $68.53                   44,568,300               $75,399,334           $169.18
                        CHILE                                                                                                                                254,029     $694,263    $273.30                                                                               307,325     $453,368    $147.52                                                                                                561,354                $1,147,630           $204.44
                        CHINA                         ‐288          ‐$357    $123.85      50,626       $4,459      $8.81                                       3,008      $11,404    $379.18 43,182,935 $48,908,627      $113.26         ‐240        ‐$312    $129.85      149,738     $222,748    $148.76                                        16,226,930 $31,397,108     $193.49                   59,612,709               $80,543,676           $135.11
                        COLOMBIA                                                       1,426,900 $1,123,959       $78.77                                   1,675,451 $1,647,542       $98.33                                          289,557     $340,826    $117.71 7,258,486 $8,580,856         $118.22      67,160      $81,555      $121.43     100,080      $68,769     $68.71                   10,817,634               $11,843,507           $109.48
                        COSTA RICA                                                                                                                           208,217     $296,075    $142.20                                          461,091     $541,595    $117.46      197,070     $511,950    $259.78     277,146     $273,284       $98.61                                                        1,143,524                $1,622,903           $141.92
                        DOMINICAN REP               53,939        $95,291    $176.66 6,113,126 $5,622,013         $91.97                                     578,095     $692,261    $119.75 1,107,486       $877,724     $79.25 2,615,844 $2,978,403         $113.86      163,973     $194,245    $118.46     564,839     $569,600      $100.84                                                       11,197,303               $11,029,536            $98.50
                        ECUADOR                                                                                                                                                                                                                                                                                 39,263      $39,468      $100.52                                                           39,263                   $39,468           $100.52
                        EL SALVADOR                 48,161        $85,346    $177.21     489,067     $375,915     $76.86                                     191,642     $194,671    $101.58                                           98,640     $143,534    $145.51                                          487,926     $449,701       $92.17                                                        1,315,436                $1,249,167            $94.96
                        GUAM                        27,052       $116,895    $432.11                                                                         147,329     $210,621    $142.96                                           15,039      $15,255    $101.44      221,331     $398,426    $180.01     101,031     $156,441      $154.85                                                          511,781                  $897,638           $175.39
                        GUATEMALA                  102,752       $156,101    $151.92 3,654,936 $2,364,890         $64.70                                     340,215     $509,328    $149.71       2,100       $2,198    $104.68       58,020      $56,046     $96.60       73,077      $93,017    $127.29                                                                                              4,231,100                $3,181,580            $75.20
                        HAITI                                                                                                                                162,180     $163,088    $100.56                                                                                                                                                                                                              162,180                  $163,088           $100.56
                        HONDURAS                                                       1,911,920 $1,455,572       $76.13                                   2,883,235 $3,278,782      $113.72      40,980      $28,259     $68.96      202,749     $230,348    $113.61 4,313,972 $4,887,365         $113.29      93,249     $128,127      $137.40                                                        9,446,105               $10,008,452           $105.95
                        HONG KONG                   67,125        $78,596    $117.09      54,552      $71,053    $130.25                                     906,559 $1,691,951      $186.63                                           63,593      $45,495     $71.54       90,275     $242,660    $268.80     619,198 $1,467,382        $236.98                                                        1,801,302                $3,597,137           $199.70
                        JAPAN                    8,796,452    $23,090,237    $262.49     559,571     $981,034    $175.32                                  46,959,995 $74,531,205     $158.71 40,606,082 $58,216,719      $143.37 6,094,504 $9,041,024         $148.35       68,111     $242,033    $355.35 6,467,823 $14,060,779         $217.40 2,744,446 $4,804,478        $175.06                  112,296,983              $184,967,510           $164.71
                        KAZAKHSTAN                                                                                                                             1,015       $1,498    $147.54                                              300         $453    $150.87          523         $988    $188.87         281         $294      $104.87                                                            2,119                    $3,233           $152.56
                        MALAYSIA                                                                                                                              71,857      $64,510     $89.78                                                                                25,040      $40,751    $162.74                                                                                                 96,897                  $105,261           $108.63
                        MEXICO                   2,208,421     $4,197,788    $190.08 225,864,771 $128,771,939     $57.01    92,962    $82,368     $88.60 1,438,849 $2,041,160        $141.86 8,625,097 $2,918,412         $33.84      539,482     $271,963     $50.41 5,056,863 $5,835,842         $115.40 1,282,099 $1,368,475          $106.74 5,900,057 $7,204,203        $122.10                  251,008,601              $152,692,149            $60.83
                        NICARAGUA                                                      1,328,854     $876,771     $65.98                                                                                                              117,793     $154,710    $131.34                                           55,449      $61,036      $110.08                                                        1,502,097                $1,092,517            $72.73
                        PANAMA                     646,582       $911,378    $140.95                                                                       1,445,952 $1,658,345      $114.69           0           $0                 309,465     $314,373    $101.59                                           81,897      $71,061       $86.77                                                        2,483,896                $2,955,157           $118.97
                        PERU                                                                   0        ‐$787                                                                                                                                                               10,113      $12,365    $122.27                                                                                                 10,113                   $11,577           $114.48
                        PHILIPPINES                      0             $0                                                                                      3,543       $2,073     $58.51                                                                                39,288      $55,436    $141.10      18,564      $25,388      $136.76         120         $148    $123.68                       61,514                   $83,044           $135.00
                        PUERTO RICO                                                       66,769      $70,580    $105.71                                   1,629,722 $2,955,343      $181.34      48,180      $68,234    $141.62      286,986     $301,929    $105.21      608,844 $1,245,839      $204.62     391,973     $532,443      $135.84     116,839     $223,349    $191.16                    3,149,313                $5,397,716           $171.39
                        SINGAPORE                                                                                                                                                                                                                                           10,997      $15,060    $136.95      22,037      $36,790      $166.95                                                           33,034                   $51,851           $156.96
                        SOUTH KOREA                254,098       $749,311    $294.89                                                                         923,415 $2,035,173      $220.40                                        1,237,731 $1,480,488      $119.61      622,478     $831,961    $133.65 6,731,224 $10,642,759         $158.11     146,115     $212,505    $145.44                    9,915,061               $15,952,196           $160.89
                        TAIWAN                       4,454         $6,354    $142.68           0        ‐$833                                                                                      2,516      ‐$6,969   ‐$277.02                                           254,249     $296,487    $116.61                                                                                                261,218                  $295,040           $112.95
                        TRINIDAD                    56,099        $71,254    $127.01                                                                                                                                                                                                                                                                                                                       56,099                   $71,254           $127.01
                        VIETNAM                                                                                                                                   ‐9         ‐$59    $636.99                                           50,940      $65,414    $128.41                                              ‐12         ‐$50      $414.00                                                           50,919                   $65,305           $128.25
         EXPORT Total                           13,928,960    $34,169,083    $245.31 260,867,759 $157,944,171     $60.55    92,962    $82,368     $88.60 86,539,517 $140,034,309     $161.82 98,074,447 $116,468,606     $118.76 13,756,110 $17,656,950       $128.36 22,150,675 $32,198,956      $145.36 20,591,624 $35,593,096         $172.85 30,503,847 $47,562,831      $155.92                  546,505,902              $581,710,369           $106.44
2022 Total                                     358,520,589 $779,063,439      $217.30 514,931,132 $454,163,402     $88.20   382,997   $322,622     $84.24 325,346,312 $568,953,902    $174.88 492,113,975 $355,996,883     $72.34 144,850,403 $164,363,373     $113.47 121,255,588 $228,136,402    $188.15 192,331,410 $253,816,276       $131.97 188,776,897 $132,033,991     $69.94                2,338,509,304            $2,936,850,290           $125.59
TYSON FRESH MEATS
BOXED PORK (DIV 31) AND PORK VARIETY MEATS (DIV 32)
                                                                                  CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 9 of 10
INCLUDES BOTH ORIGINAL BILLING AND CREDIT AND REBILLS
FISCAL 2015 ‐ YTD F2022 THRU APRIL
WEIGHT (LBS) AND FOB $$
        FOB $$ ARE THE GROSS INVOICED DOLLARS LESS ACCRUALS AND REBATES AND LESS EXPENSED FREIGHT (NOT THE REVENUE RATE THAT WE CHARGED THE CUSTOMER BUT THE ACTUAL EXPENSED FREIGHT)
Boxed Pork and Pork variety meats 2005 ‐ ytd 2022 export vs domestic sales

                      GROUP         Values
                      DOMESTIC                EXPORT                Total WEIGHT Total % of Row
YEAR PRIMAL GROUP     WEIGHT        % of Row WEIGHT       % of Row
  2005 BELLIES          462,451,986       96% 19,213,349         4%    481,665,335         100%
        HAMS            574,602,183       78% 159,619,553       22%    734,221,736         100%
        JOWLS            24,389,398       71% 9,977,518         29%     34,366,916         100%
        LOINS           399,101,132       84% 78,736,743        16%    477,837,875         100%
        MISC            543,479,277       94% 31,743,791         6%    575,223,068         100%
        PICNICS         202,103,178       71% 83,627,744        29%    285,730,922         100%
        RIBS            136,503,178       90% 14,360,818        10%    150,863,996         100%
        SHOULDER        237,611,743       92% 19,540,720         8%    257,152,463         100%
        VMEATS          213,630,056       74% 76,703,066        26%    290,333,122         100%
2005 Total            2,793,872,130       85% 493,523,301       15% 3,287,395,432          100%
  2006 BELLIES          456,048,137       94% 28,393,172         6%    484,441,309         100%
        HAMS            545,250,037       74% 195,214,887       26%    740,464,924         100%
        JOWLS            22,154,472       64% 12,717,634        36%     34,872,106         100%
        LOINS           371,981,956       81% 88,811,686        19%    460,793,642         100%
        MISC            542,322,588       92% 44,433,071         8%    586,755,659         100%
        PICNICS         208,265,774       77% 62,780,101        23%    271,045,875         100%
        RIBS            132,054,211       89% 15,663,923        11%    147,718,134         100%
        SHOULDER        224,956,130       88% 29,372,145        12%    254,328,275         100%
        VMEATS          204,160,040       73% 74,776,940        27%    278,936,980         100%
2006 Total            2,707,193,345       83% 552,163,559       17% 3,259,356,904          100%
  2007 BELLIES          473,295,414       95% 24,359,339         5%    497,654,753         100%
        HAMS            581,433,301       77% 173,629,172       23%    755,062,473         100%
        JOWLS            22,098,879       64% 12,665,071        36%     34,763,950         100%
        LOINS           372,877,428       77% 109,822,383       23%    482,699,812         100%
        MISC            559,051,547       91% 57,811,075         9%    616,862,622         100%
        PICNICS         208,876,123       81% 50,567,891        19%    259,444,013         100%
        RIBS            137,775,618       90% 15,152,874        10%    152,928,493         100%
        SHOULDER        239,836,082       88% 34,096,751        12%    273,932,834         100%
        VMEATS          213,159,068       73% 80,760,587        27%    293,919,654         100%
2007 Total            2,808,403,459       83% 558,865,144       17% 3,367,268,603          100%
  2008 BELLIES          497,278,956       94% 30,540,921         6%    527,819,877         100%
        HAMS            576,707,757       74% 203,311,414       26%    780,019,171         100%
        JOWLS            22,030,428       64% 12,128,072        36%     34,158,500         100%
        LOINS           408,888,547       77% 119,751,813       23%    528,640,360         100%
        MISC            587,650,862       85% 102,575,009       15%    690,225,871         100%
        PICNICS         190,476,171       72% 74,220,402        28%    264,696,573         100%
        RIBS            146,612,255       87% 21,964,055        13%    168,576,310         100%
        SHOULDER        262,059,106       86% 42,699,461        14%    304,758,567         100%
        VMEATS          239,865,298       73% 90,360,707        27%    330,226,005         100%
2008 Total            2,931,569,380       81% 697,551,854       19% 3,629,121,234          100%
  2009 BELLIES          503,960,393       94% 32,468,063         6%    536,428,456         100%
        HAMS            593,672,405       77% 176,884,186       23%    770,556,592         100%
        JOWLS            24,653,638       73% 9,166,041         27%     33,819,679         100%
        LOINS           404,973,352       78% 114,899,170       22%    519,872,522         100%
        MISC            643,371,530       83% 128,957,501       17%    772,329,031         100%
        PICNICS         190,373,096       72% 72,419,142        28%    262,792,238         100%
        RIBS            159,877,111       90% 17,734,890        10%    177,612,001         100%
        SHOULDER        274,567,356       89% 35,452,126        11%    310,019,482         100%
        VMEATS          258,602,321       73% 95,812,443        27%    354,414,764         100%
2009 Total            3,054,051,201       82% 683,793,562       18% 3,737,844,763          100%
  2010 BELLIES          489,943,037       93% 36,806,974         7%    526,750,011         100%
        HAMS            533,434,344       70% 233,214,068       30%    766,648,411         100%
        JOWLS            21,634,113       84% 3,981,465         16%     25,615,578         100%
        LOINS           396,671,674       77% 117,954,699       23%    514,626,373         100%
        MISC            610,095,893       84% 118,018,800       16%    728,114,693         100%
        PICNICS         199,446,784       69% 91,154,763        31%    290,601,547         100%
        RIBS            150,545,803       89% 19,512,765        11%    170,058,567         100%
        SHOULDER        264,373,502       88% 35,540,775        12%    299,914,277         100%
        VMEATS          296,874,177       76% 93,839,680        24%    390,713,856         100%
2010 Total            2,963,019,326       80% 750,023,988       20% 3,713,043,314          100%
  2011 BELLIES          529,283,852       94% 30,829,753         6%    560,113,605         100%
        HAMS            529,973,176       67% 256,362,272       33%    786,335,448         100%
        JOWLS            16,199,125       83% 3,325,655         17%     19,524,780         100%
        LOINS           390,143,436       74% 138,186,586       26%    528,330,022         100%
        MISC            654,608,473       85% 115,188,462       15%    769,796,935         100%
        PICNICS         214,984,573       71% 86,829,409        29%    301,813,983         100%
        RIBS            163,247,733       90% 18,775,034        10%    182,022,767         100%
        SHOULDER        257,934,411       81% 60,123,141        19%    318,057,552         100%
        VMEATS          325,417,360       76% 100,645,779       24%    426,063,140         100%
2011 Total            3,081,792,140       79% 810,266,091       21% 3,892,058,232          100%
  2012 BELLIES          541,308,964       95% 27,716,895         5%    569,025,860         100%
        HAMS            493,677,234       62% 304,909,163       38%    798,586,398         100%
        JOWLS             9,773,046       97%     271,781        3%     10,044,827         100%
        LOINS           409,226,264       76% 130,717,555       24%    539,943,819         100%
        MISC            695,355,226       84% 134,466,172       16%    829,821,398         100%
        PICNICS         218,980,152       72% 86,409,152        28%    305,389,304         100%
        RIBS            150,414,651       86% 24,296,547        14%    174,711,197         100%
        SHOULDER        256,433,537       79% 67,533,102        21%    323,966,639         100%
        VMEATS          323,703,957       76% 102,694,187       24%    426,398,145         100%
2012 Total            3,098,873,031       78% 879,014,554       22% 3,977,887,585          100%
  2013 BELLIES          525,828,183       95% 27,652,322         5%    553,480,505         100%
        HAMS            493,467,795       64% 273,128,269       36%    766,596,064         100%
        JOWLS             7,512,530       99%      47,929        1%      7,560,459         100%
        LOINS           375,307,124       75% 122,908,125       25%    498,215,248         100%
        MISC            645,930,608       81% 156,300,252       19%    802,230,860         100%
        PICNICS         228,913,617       85% 40,581,632        15%    269,495,248         100%
        RIBS            149,467,039       85% 26,621,564        15%    176,088,604         100%
                    GROUP
                    DOMESTIC
                                  Values
                                            EXPORT
                                                                              CASE 0:18-cv-01776-JRT-JFD Doc. 1442-42 Filed 08/24/22 Page 10 of 10
                                                                  Total WEIGHT Total % of Row
YEAR PRIMAL GROUP   WEIGHT        % of Row WEIGHT       % of Row
  2013 SHOULDER       255,485,463       84% 48,668,621        16%    304,154,083         100%
        VMEATS        312,426,144       75% 102,381,098       25%    414,807,242         100%
2013 Total          2,994,338,503       79% 798,289,811       21% 3,792,628,313          100%
  2014 BELLIES        558,585,179       97% 19,358,416         3%    577,943,595         100%
        HAMS          517,712,366       67% 257,028,342       33%    774,740,707         100%
        JOWLS           8,989,571       99%     117,997        1%      9,107,568         100%
        LOINS         364,620,918       72% 141,006,467       28%    505,627,385         100%
        MISC          667,705,054       78% 184,250,104       22%    851,955,158         100%
        PICNICS       203,560,221       87% 30,555,808        13%    234,116,028         100%
        RIBS          150,179,084       84% 29,108,228        16%    179,287,312         100%
        SHOULDER      253,683,716       82% 55,115,305        18%    308,799,021         100%
        VMEATS        310,827,913       76% 100,795,018       24%    411,622,931         100%
2014 Total          3,035,864,021       79% 817,335,685       21% 3,853,199,706          100%
  2015 BELLIES        591,772,561       97% 19,867,382         3%    611,639,943         100%
        HAMS          561,653,867       70% 242,460,894       30%    804,114,761         100%
        JOWLS           7,469,117       98%     121,665        2%      7,590,782         100%
        LOINS         399,985,930       76% 125,944,929       24%    525,930,858         100%
        MISC          722,789,518       81% 168,187,912       19%    890,977,429         100%
        PICNICS       230,819,801       87% 34,166,280        13%    264,986,081         100%
        RIBS          160,807,802       84% 30,314,989        16%    191,122,791         100%
        SHOULDER      273,383,476       83% 55,723,872        17%    329,107,347         100%
        VMEATS        331,614,547       77% 98,100,285        23%    429,714,832         100%
2015 Total          3,280,296,617       81% 774,888,206       19% 4,055,184,823          100%
  2016 BELLIES        572,063,979       96% 23,139,033         4%    595,203,012         100%
        HAMS          566,845,823       71% 234,939,421       29%    801,785,244         100%
        JOWLS           5,993,926       76% 1,895,718         24%      7,889,644         100%
        LOINS         407,690,943       76% 127,636,497       24%    535,327,440         100%
        MISC          736,664,022       82% 165,287,174       18%    901,951,196         100%
        PICNICS       255,164,998       87% 36,467,972        13%    291,632,970         100%
        RIBS          161,954,999       83% 34,194,091        17%    196,149,090         100%
        SHOULDER      274,426,069       86% 44,806,370        14%    319,232,439         100%
        VMEATS        315,766,531       76% 98,326,738        24%    414,093,269         100%
2016 Total          3,296,571,290       81% 766,693,013       19% 4,063,264,303          100%
  2017 BELLIES        564,758,569       96% 23,028,464         4%    587,787,033         100%
        HAMS          561,486,300       69% 248,207,558       31%    809,693,858         100%
        JOWLS           5,983,250       78% 1,673,786         22%      7,657,036         100%
        LOINS         399,580,207       76% 129,586,578       24%    529,166,785         100%
        MISC          742,292,558       79% 192,820,023       21%    935,112,580         100%
        PICNICS       239,298,402       86% 38,658,730        14%    277,957,132         100%
        RIBS          163,189,981       82% 36,660,676        18%    199,850,657         100%
        SHOULDER      266,201,320       82% 57,315,107        18%    323,516,427         100%
        VMEATS        316,696,792       80% 81,528,333        20%    398,225,126         100%
2017 Total          3,259,487,379       80% 809,479,256       20% 4,068,966,634          100%
  2018 BELLIES        572,838,330       96% 22,141,901         4%    594,980,232         100%
        HAMS          564,287,996       69% 250,785,166       31%    815,073,162         100%
        JOWLS           7,160,626       96%     270,248        4%      7,430,874         100%
        LOINS         391,543,487       76% 121,718,666       24%    513,262,153         100%
        MISC          740,185,258       79% 202,214,394       21%    942,399,652         100%
        PICNICS       228,838,572       88% 31,860,679        12%    260,699,251         100%
        RIBS          150,408,304       79% 39,525,679        21%    189,933,982         100%
        SHOULDER      236,580,830       77% 69,081,343        23%    305,662,173         100%
        VMEATS        312,240,930       83% 65,354,921        17%    377,595,851         100%
2018 Total          3,204,084,331       80% 802,952,998       20% 4,007,037,329          100%
  2019 BELLIES        571,557,003       95% 28,385,244         5%    599,942,247         100%
        HAMS          560,974,721       68% 260,080,947       32%    821,055,668         100%
        JOWLS           5,904,267       87%     875,238       13%      6,779,505         100%
        LOINS         392,160,151       74% 138,408,111       26%    530,568,261         100%
        MISC          756,734,036       82% 169,767,963       18%    926,501,999         100%
        PICNICS       239,614,716       89% 30,482,034        11%    270,096,749         100%
        RIBS          154,904,689       80% 38,023,294        20%    192,927,983         100%
        SHOULDER      241,324,438       78% 66,369,259        22%    307,693,697         100%
        VMEATS        301,331,243       81% 70,132,453        19%    371,463,696         100%
2019 Total          3,224,505,262       80% 802,524,544       20% 4,027,029,806          100%
  2020 BELLIES        572,963,100       93% 44,703,069         7%    617,666,169         100%
        HAMS          559,004,055       65% 295,288,528       35%    854,292,582         100%
        JOWLS           3,124,417       93%     225,196        7%      3,349,613         100%
        LOINS         408,019,903       74% 144,155,936       26%    552,175,839         100%
        MISC          749,381,350       82% 165,457,595       18%    914,838,945         100%
        PICNICS       215,151,871       84% 41,013,330        16%    256,165,201         100%
        RIBS          159,624,918       78% 44,900,024        22%    204,524,943         100%
        SHOULDER      249,667,040       81% 59,741,018        19%    309,408,057         100%
        VMEATS        297,686,459       81% 71,187,951        19%    368,874,410         100%
2020 Total          3,214,623,112       79% 866,672,647       21% 4,081,295,759          100%
  2021 BELLIES        557,276,190       93% 41,519,432         7%    598,795,622         100%
        HAMS          489,892,135       61% 319,424,538       39%    809,316,673         100%
        JOWLS           1,266,560       81%     301,433       19%      1,567,993         100%
        LOINS         395,600,128       73% 144,045,789       27%    539,645,917         100%
        MISC          731,175,065       81% 176,751,079       19%    907,926,144         100%
        PICNICS       218,464,089       91% 22,752,893         9%    241,216,982         100%
        RIBS          149,821,874       77% 45,697,080        23%    195,518,953         100%
        SHOULDER      260,227,058       85% 44,154,606        15%    304,381,664         100%
        VMEATS        282,351,139       82% 62,750,010        18%    345,101,149         100%
2021 Total          3,086,074,236       78% 857,396,861       22% 3,943,471,097          100%
  2022 BELLIES        344,591,629       96% 13,928,960         4%    358,520,589         100%
        HAMS          254,063,373       49% 260,867,759       51%    514,931,132         100%
        JOWLS             290,035       76%      92,962       24%        382,997         100%
        LOINS         238,806,795       73% 86,539,517        27%    325,346,312         100%
        MISC          394,039,528       80% 98,074,447        20%    492,113,975         100%
        PICNICS       131,094,293       91% 13,756,110         9%    144,850,403         100%
        RIBS           99,104,912       82% 22,150,675        18%    121,255,588         100%
        SHOULDER      171,739,787       89% 20,591,624        11%    192,331,410         100%
        VMEATS        158,273,050       84% 30,503,847        16%    188,776,897         100%
2022 Total          1,792,003,401       77% 546,505,902       23% 2,338,509,304          100%
